     Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 1 of 143



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


AUGUST CABRERA, et al.,

                  Plaintiffs,
                                             Case No. 19-cv-3835-JDB
            v.

ISLAMIC REPUBLIC OF IRAN,

                  Defendant.


MARK ZAMBON, et al.,

                  Plaintiffs,
                                             Case No. 18-cv-02065-JDB
            v.

ISLAMIC REPUBLIC OF IRAN,

                  Defendant.




                   Expert Witness Report
                        Dr. Colin Clarke
      Director of Policy and Research at The Soufan Group
                       September 19, 2021
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 2 of 143



                                                 TABLE OF CONTENTS

I.      Scope of Engagement and Opinion..................................................................................... 1
II.     Qualifications ...................................................................................................................... 1
III.    Background on the Taliban in the Afghan Conflict ............................................................ 6
IV.     Background on the Taliban’s Haqqani Network in the Afghan Conflict ......................... 16
V.      The Structure of the Taliban Post-2001 ............................................................................ 23
VI.     Taliban Tactics and Claims of Responsibility .................................................................. 35
VII.    Taliban Areas of Operations Dominance and Attack Zones ............................................ 43
VIII.   Iranian Support of the Taliban through Drug Trafficking ................................................ 74




                                                                     i
       Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 3 of 143



                                     Index of Exhibits

Exhibit                                          Description
  A        Leading Council of the Islamic Emirate of Afghanistan, press release, “Declaration of
           the Leading Council of the Islamic Emirate regarding the appointment of new Amir
           (leader) of the Islamic Emirate,” July 31, 2015,
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           2012, https://ent.siteintelgroup.com/Jihadist-News/afghan-taliban-claims-kabul-
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           Intelligence, February 7, 2011, https://ent.siteintelgroup.com/Jihadist-News/site-
           intel-group-2-7-11-at-sb-kandahar-14.html.
  K        “Afghan Taliban Claims Killing 33 in Chinook Downing in Kandahar,” SITE
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                                              ii
    Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 4 of 143




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                                           iii
     Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 5 of 143




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JJ       “Harvest of Taliban Military Operations, October 19-20, 2007,” SITE Intelligence,
         October 22, 2007, https://ent.siteintelgroup.com/Jihadist-News/harvest-of-taliban-
         military-operations-october-19-20-2007.html
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LL       “Afghan Taliban Claims Killing 17 in Kunar Suicide Bombings,” SITE Intelligence
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         Intelligence Group, June 27, 2011, https://ent.siteintelgroup.com/Jihadist-
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NN       “Afghan Taliban Claims its Infiltrator in Afghan Forces Killed 4 U.S. Troops,” SITE
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         afghan-forces-killed-4-u-s-troops.html



                                            iv
 Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 6 of 143




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     April 27, 2011, https://ent.siteintelgroup.com/Jihadist-News/site-intel-group-4-27-
     11-at-sbs-kabul-khost.html
QQ   Afghan Taliban Gives Biography of Kabul Suicide Bomber, Claims Attacks,” SITE
     Intelligence, October 31, 2011, https://ent.siteintelgroup.com/Jihadist-
     News/afghan-taliban-gives-biography-of-kabul-suicide-bomber-claims-attacks.html
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     SITE Intelligence Group, January 30, 2015,
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XX   “Afghan Taliban Claims Killing 28 in Faryab Suicide Bombing,” SITE Intelligence
     Group, April 4, 2012, https://ent.siteintelgroup.com/Jihadist-News/afghan-taliban-
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                                        v
         Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 7 of 143



I.        Scope of Engagement and Opinion

I have been retained by the Plaintiffs to provide an expert opinion on the evolution of the Taliban;
the evolution of the Haqqani Network as a component of the Taliban; Taliban tactics and operations;
Taliban areas of operation in Afghanistan; and direct and indirect Iranian support for the Taliban
through drug trafficking.

Relying on substantial evidence commonly used by experts in the relevant fields, it is my expert
opinion that:

      1. The Taliban, which includes the Haqqani Network, is a cohesive organization. In this
         organizational structure, the Taliban’s central leadership sets high-level objectives for fighters,
         leverages a set of tools to influence the behavior of Taliban fighters throughout Afghanistan,
         and generally avoids micromanaging operations around the country. At the same time, the
         Taliban’s councils and commanders have pledged allegiance to the Taliban’s central leadership
         and coordinate with other elements of the Taliban. Command-and-control facilitates financial
         and resources sharing vertically and horizontally throughout the organization. As a result,
         despite some tactical authority being devolved, the Taliban is a singular, coherent entity.

      2. The Taliban, including the Haqqani Network, has used IEDs, small arms, RPGs, anti-aircraft
         weapons, suicide bombings, complex attacks, and insider attacks to kill and wound American
         servicemembers in Afghanistan.

      3. In the provinces where the attacks described in the complaint in this case occurred, and during
         the time periods in which they occurred, the Taliban likely or very likely maintained area of
         operations dominance and were the primary actor establishing a monopoly on the use of
         violence. It is, therefore, more likely than not, indeed very likely, that the Taliban carried out
         each attack listed in the complaint.

      4. During the period in question, Iran provided both direct and indirect support to the Taliban
         through its involvement in drug trafficking. Iran has allowed drugs from Taliban-held areas to
         pass through Iran, used drug traffickers to transport arms to the Taliban, and worked with
         drug smugglers to coordinate Taliban attacks on NATO troops.

II.       Qualifications

This section describes my professional background. It highlights my experience that is directly relevant
to this case and then discusses the methodology that I employ in this report.

Professional Background
My career has been devoted to studying terrorist groups and state sponsors of terrorism, and analyzing
the complex dynamics of insurgencies, particularly in the Middle East and South Asia. I have
conducted extensive research on terrorist groups in Afghanistan and their nation-state supporters. I
earned my Ph.D. from the University of Pittsburgh’s Graduate School of Public and International
Affairs (GSPIA), where my dissertation focused on why some insurgent groups enter negotiations
while others continue to fight. The dissertation included an analysis of factors and variables related to
state support of terrorist and insurgent groups, and one of the five case studies in my dissertation was



                                                      1
         Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 8 of 143



the Afghan Taliban.1 During my decade-long career at the RAND Corporation, where I remain an
adjunct senior political scientist, I worked on numerous projects for the Office of the Secretary of
Defense (OSD), the U.S. military’s combatant commands (COCOMs), and the U.S. intelligence
community that were related to Afghanistan, terrorism, and state sponsors of terrorism. In 2011,
RAND sent me to Kabul, Afghanistan, where I served as a senior analyst with U.S. Forces-
Afghanistan’s Combined Joint Interagency Task Force (CJIATF) Shafafiyat. The task force --– led by
then-Brigadier General H.R. McMaster, who would later go on to become the U.S. National Security
Adviser in 2017-18 --– analyzed the links between corruption, organized crime, and insurgency. That
experience allowed me to work in a conflict setting and conduct real-time analysis about the Taliban
and Haqqani Network.

Some of my work at the RAND Corporation, where I was the author or co-author of dozens of
research reports on a range of topics related to national and international security, looked specifically
at Afghanistan and nation-state support for terrorists and insurgents. Victory Has a Thousand Fathers:
Sources of Success in Counterinsurgency (2010) was a two-volume research report that examined thirty
separate cases of counterinsurgency between 1978 and 2008 and discerned best practices and lessons
learned for counterinsurgents. Several years later, a team I worked on at RAND produced Paths to
Victory: Lessons from Modern Insurgencies (2013), which analyzed all insurgencies (71 in total) between the
end of World War II and 2008. This research was briefed at the highest levels of the Department of
Defense, as well as at numerous war colleges throughout the United States, and at several combatant
and component commands. We published several spin-off projects from this research, including
Counterinsurgency Scorecard: Afghanistan in Early 2013 Relative to Insurgencies Since World War II (2013), From
Stalemate to Settlement: Lessons for Afghanistan from Historical Insurgencies That Have Been Resolved Through
Negotiations (2014), and Counterinsurgency Scorecard Update: Afghanistan in Early 2015 Relative to Insurgencies
Since World War II (2016).

During this period, I also published Terrorism Inc.: The Financing of Terrorism, Insurgency, and Irregular
Warfare (Praeger, 2015), which examined seven case studies of how terrorist and insurgent groups fund
their organizations and operations. One of the case studies was of the Afghan Taliban, which also
included a robust analysis of how the Haqqani Network operates and its interactions with both violent
non-state actors and state sponsors of terrorism.

After moving to adjunct status at RAND in 2018, I joined Carnegie Mellon University’s Institute for
Politics and Strategy (IPS) as an assistant teaching professor, where I taught courses on terrorism,
insurgency, and political violence at both the undergraduate and graduate level. Around the same time,
I joined The Soufan Center, a non-profit organization which examines global security challenges and
foreign policy issues, as a senior research fellow, where my work has focused closely on terrorist and
insurgent groups, including the Afghan Taliban and the Haqqani Network. At the Soufan Center, I
helped lead a team that published a report in the summer of 2019 titled Iran’s Playbook: Deconstructing
Iran’s Regional Strategy, which looks closely at Iranian support for militant groups across the world. In
the past, I’ve taught as a professor at the University of Pittsburgh, Duquesne University, the RAND


1 I use the term “Afghan Taliban” here to emphasize that my dissertation focused on the Taliban group which emerged in

Afghanistan following the Afghan-Soviet War and the civil war that gripped Afghanistan after the fall of the country’s
communist regime. This is the same group that was responsible for the attacks at issue in this case, and the group to which
I am referring throughout the report when I use the term “Taliban.” There exists another Taliban group, the Tehrik-i-
Taliban Pakistan, sometimes known as the Pakistani Taliban, which emerged in the 2000s and is based in Pakistan. I do
not discuss this group throughout the report.


                                                            2
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 9 of 143



Pardee Graduate School, and the University of Texas El Paso (UTEP) on terrorism, insurgency, and
state sponsors of terrorism. As of January 4, 2021, I became the Director of Policy and Research at
The Soufan Group, resigning my position at Carnegie Mellon University on January 1, 2021.

I am also an Associate Fellow at the International Centre for Counter-Terrorism (ICCT) – The Hague,
a non-resident Senior Fellow in the Program on National Security at the Foreign Policy Research
Institute (FPRI), an Associate Fellow at the Global Network on Extremism and Technology (GNET),
and a member of the “Network of Experts” at the Global Initiative Against Transnational Organized
Crime. In addition, I am a member of the research advisory council at the RESOLVE Network, a
global network of researchers and policymakers led by the United States Institute of Peace that focuses
on violent extremism, and a member of the advisory board at the International Counter-Terrorism
Review (ICTR), a leading student publication on terrorism. Moreover, I serve on the editorial board
of three of the leading scholarly journals in the field of terrorism studies: Studies in Conflict and Terrorism,
Terrorism and Political Violence, and Perspectives on Terrorism.

I have also testified before Congress on numerous occasions as an expert witness on a range of
terrorism-related issues, including:

       Testimony presented before the House Financial Services Committee, Subcommittee on
        Terrorism and Illicit Finance, “An Overview of Current Trends in Terrorism and Illicit
        Finance: Lessons from the Islamic State in Iraq and Syria and Other Emerging Threats,” 9/18.
       Testimony presented before a joint hearing of the House Foreign Affairs Subcommittee on
        Terrorism, Nonproliferation, and Trade and Subcommittee on Europe, Eurasia, and
        Emerging Threats titled “Russia: Counterterrorism Partner or Fanning the Flames?” 11/17.
       Testimony presented before the House Homeland Security Committee Task Force on
        Denying Terrorists Entry into the United States, 7/17.

In addition to Terrorism Inc., I have published several other books on terrorism, including:

       Colin P. Clarke, After the Caliphate: The Islamic State and the Future of the Terrorist Diaspora, Polity
        Press, 2019.
       Colin P. Clarke, ed., Terrorism: The Essential Reference Guide, Santa Barbara: ABC-CLIO,
        Praeger Security International, 2018.

I am a frequent contributor to academic publications, newspapers, and policy reports. My full
curriculum vitae is attached as Appendix A to this report, but here are a few selected publications
related to Iran and Afghanistan:

       Colin P. Clarke and Ariane Tabatabai, “What Iran Wants in Afghanistan,” Foreign Affairs (July
        8, 2020.
       Colin P. Clarke and Phillip Smyth, “The Implications of Iran’s Expanding Shi’a Foreign
        Fighter Network,” CTC Sentinel, November 2017.
       Colin P. Clarke, “Drugs & Thugs: Funding Terrorism through Narcotics Trafficking,” Journal
        of Strategic Security 9:3 (2016).




                                                       3
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 10 of 143




        RR-1273-OSD. 2015. Christopher Paul, Colin P. Clarke. Counterinsurgency Scorecard Update:
         Afghanistan In Early 2015 Relative to Insurgencies Since World War II.2
        Colin P. Clarke, 2014. “An Assessment of the Taliban Insurgency in Afghanistan,” Italian
         Institute for International Political Studies (ISPI), Analysis No.258, June 2014.

I have also presented my research at a range of national and international security forums, including
the U.S. Army War College, US Air Force Special Operations School, Society for Terrorism Research
International Conference, the Global Counterterrorism Forum (GCTF) and the Counter ISIS
Financing Group (CIFG), which is part of the Global Coalition to Defeat ISIS. Some relevant
presentations include the following:

        “Iran’s Proxies After Soleimani,” presentation to the Defense Threat Reduction Agency,
         Reston, VA, 2/20
        “Implications of the Islamic Revolutionary Guard Corps (IRGC) Foreign Terrorist
         Organization (FTO) Designation,” presentation to 1st Information Operations Battalion,
         Washington, D.C., 5/19
        “An Overview of U.S. Counterterrorism Efforts against the Global Jihadist Movement,”
         keynote address presented to the Defense Intelligence Agency Defense Combating Terrorism
         Intelligence Conference (DCIC), Reston, VA, 4/19
        “Organized Crime and Terrorism Finance Networks,” presentation to the course on Malicious
         Networks, part of the Australian National University’s National Security College, 9/17

Methodology
I employ a comparative analysis method for understanding violent non-state actors. The comparative
analysis method has been validated multiple times in written opinions by U.S. courts.3 Over the years,
including a decade at the RAND Corporation, I’ve employed various methodological tools to answer
difficult research questions. For several studies sponsored by the Office of the Secretary of Defense
(OSD), I employed qualitative comparative analysis (QCA), which is a method popularized by
sociologist Charles Ragin. I have even published in peer-reviewed methodological journals, such as
Historical Methods, a journal of quantitative and interdisciplinary history, where I co-authored an article
titled “Between Large-N and Small-N Analyses: Historical Comparison of Thirty Case Studies.” In
short, I am comfortable applying social research methods, including mixed-methods or qualitative
approaches, to a range of problem sets, including the issue under study in this case.

To apply my comparative analysis method, I rely mainly on primary-source information, including
statements and social media postings by violent extremist groups and their supporters, and the
intercepted internal documents of these organizations. I also rely on U.S. Government sources, such
as press releases from the U.S. Department of the Treasury, which offer novel and highly credible
insights. These are documents commonly relied upon by experts in the field. I cross-check all primary
sources I read against other primary-source information, against information about events on the
ground in relevant theaters, and against relevant secondary-source literature that allows me to
determine whether my conclusions are consistent with those of other scholars and practitioners. My

2 Citation system simply indicated “RAND Report,” for RR, along with the numbering system used by the Office of the

Secretary of Defense and the year.
3 See, e.g., United States v. Young, 916 F.3d 368, 380 (4th Circ. 2019); United States v. Farhane, 634 F.3d 127, 159 (2d Cir.

2011); Order, United States v. Hausa, 12 Cr. 0134 (E.D.N.Y., February 10, 2017), p. 4.


                                                             4
         Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 11 of 143



knowledge of Afghanistan has also been complemented by time spent in the country, including several
months based in Kabul in 2011, where I conducted field research and served as an analyst with the
United States military. In-country experience, even if somewhat limited, can help a researcher get a
better feel for the culture, context, and issues at play.

Though I generally rely on primary sources, secondary sources also serve useful purposes. First,
secondary sources can provide important historical information, adding rich context to a topic.
Second, some secondary sources do a strong job of synthesizing large amounts of information,
including primary-source information. One secondary source that was of notable value in both of
these ways as I produced the present expert report is Vahid Brown and Don Rassler’s Fountainhead of
Jihad: The Haqqani Nexus, published by Oxford University Press in 2013, which both provided
important historical detail about the Haqqani Network and also assessed and synthesized information
from a rich array of primary sources that were written in several different languages.4 Antonio
Giustozzi’s book, The Taliban at War: 2001-2018, also drew on extensive interviews with Taliban
leaders across Afghanistan. While Giustozzi correctly acknowledges that information gleaned through
interviews with Taliban figures merits a degree of skepticism, these interviews offer substantially more
detail than other sources on the inner workings of the Taliban. As a result, I tried to independently
verify Giustozzi’s information where possible, and I have noted a few areas where I disagree with his
characterization of events. A third important purpose is that some secondary sources contain the
intrepid work of journalists who doggedly pursue leads and uncover new, original information. All
secondary sources deserve scrutiny, but for this report, I was able to cross-check all the secondary
sources I utilized against primary sources, other secondary sources, and on-the-ground events before
deciding to rely on any single secondary source, in addition to assessing the reputation and reliability
of the author.

Based on my knowledge, experience, training, and education, and based on a comprehensive review
of relevant primary and secondary source materials, I now turn to my expert opinion on the issues
outlined above. Section III details the evolution of the Taliban while Section IV overviews the history
of the Taliban’s notorious Haqqani Network. Section V details the broader structure of the Taliban
and the rationale for that structure. Section VI turns to the Taliban’s tactics, techniques, and
procedures, as well as their claims of responsibility for attacks. Section VII examines the Taliban’s
areas of operations in Afghanistan. Section VIII describes Iran’s substantial support for the Taliban
through drug trafficking. Finally, Section IX concludes this expert report.

In preparing this expert report, I have reviewed the Second Amended Complaint (“Complaint”) in
this case; statements by terrorists themselves; official U.S. government designations, reports, and
findings; and an array of other primary and secondary sources. A full list of materials I considered in
forming my opinions is attached as Appendix B.

I am compensated at an hourly rate of $200 for the time I spend working on this case. My
compensation does not depend on the outcome of this case. Staff members at the private firm Valens
Global have assisted me in preparing this report, and they are being compensated at hourly rates
ranging from $85 to $135. Their compensation does not affect mine.


4 Vahid Brown & Don Rassler, Fountainhead of Jihad: The Haqqani Nexus, 1973-2012 (New York: Oxford University Press,

2013).



                                                         5
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 12 of 143



III.     Background on the Taliban in the Afghan Conflict5

The Taliban, which translates to students in Pashto, is a Sunni terrorist group that operates primarily in
Afghanistan and Pakistan. The group has been the primary insurgent faction fighting against the
United States in Afghanistan since the first American troops arrived in 2001. During that time, the
Taliban has frequently launched attacks against U.S. and allied forces.

Three main ideas undergird the Taliban’s ideology. First, the group embraces Deobandism, a revivalist,
Sunni Islamic school of thought that initially emerged in India. During the Afghan-Soviet War that
raged from 1979-89, hardline mosques and madrassas in Afghanistan and Pakistan lionized fighting
against the Soviets and emphasized the need for an Islamic state devoid of Western influence.6 Those
teachings yielded the two other pillars of the Taliban’s ideology: opposition to Western influence, and
a willingness to use violence to realize its religious, political, and ideological vision. Much of the
Taliban’s leadership, including its founder Mullah Omar, studied at the aforementioned madrassas.7
When the Taliban was initially formed, it drew on this militant brand of Deobandi teachings, calling
for the elimination of Western influence in Afghanistan and the creation of a state based on a strict
interpretation of Islamic law (sharia).

The Afghan-Soviet War and the Fall of Mohammad Najibullah. The Taliban emerged following the Afghan-
Soviet War and the civil war that gripped Afghanistan after the fall of the country’s communist regime.
The Afghan-Soviet War began when the Soviet Union invaded Afghanistan in December 1979. The
Soviet invasion was prompted by multiple factors, including an Islamist insurgency that threatened
the country’s pro-Soviet regime, concern that the United States might deepen its role in Afghanistan
after Iran’s Islamic revolution had undermined U.S. regional interests, and infighting among
Afghanistan’s communists that culminated in bloody internecine clashes and the assassination of the
Afghan president, Nur Mohammed Taraki.8 Although the Soviet general staff opposed the invasion,
Leonid Brezhnev, the general secretary of the Communist Party, insisted that military operations in
Afghanistan would end successfully in three to four weeks.9

The war, to put it mildly, did not turn out as Brezhnev predicted. Afghanistan became the Soviets’
equivalent of what the United States experienced in Vietnam—a quagmire. The Soviets withdrew
following nine years of costly occupation, during which they experienced stiff resistance from Afghan




5 The research team for this report also worked on an expert report prepared by Daveed Gartenstein-Ross, Ph.D. as part

of the Selig v. Islamic Republic of Iran case. The research team and I assessed that the background information on the Taliban
has not changed since the submission of Dr. Gartenstein-Ross’s report in the Selig case. I determined that drawing on his
work would be the most efficient way to encapsulate relevant background information on the Taliban. As a result, some
sections of my report heavily draw on some of the sections from Dr. Gartenstein-Ross’s testimony. I have independently
reviewed each assertion in this testimony and fully support each assertion.
6 Celia Dugger, “Indian Town’s Seed Grew into the Taliban’s Code,” The New York Times, February 23, 2002.
7 Luv Puri, “The Past and Future of Deobandi Islam,” CTC Sentinel 2:11 (November 2009).
8 For discussion of what is known about Soviet thinking on the invasion, see Gregory Feifer, The Great Gamble: The Soviet

War in Afghanistan (New York: Harper Perennial, 2009), pp. 9–54.
9 Seth G. Jones, In the Graveyard of Empires: America’s War in Afghanistan (New York: W. W. Norton, 2010), p. 18.




                                                              6
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 13 of 143



mujahedin backed by the United States,
Saudi Arabia, and Pakistan. A contingent
of Arab fighters, including al-Qaeda
founder Osama bin Laden, participated in
the insurgency.

Bin Laden traveled to Pakistan in the early
1980s, soon after the Afghan-Soviet War
began. The Brookings Institution’s Bruce
Riedel, a former CIA analyst, notes that in
Pakistan, bin Laden became “a major
financier of the mujahedin, providing cash to the relatives of wounded or martyred fighters, building
hospitals, and helping the millions of Afghan refugees fleeing to the border region of Pakistan.”10 Bin
Laden and Abdullah Azzam founded an organization known as the Services Bureau (maktab al-khidmat,
or MAK), which was dedicated to integrating Arabs into the anti-Soviet struggle by placing them with
relief organizations or alongside Afghan factions on the battlefield.11 Bin Laden’s wealth and financial
generosity earned him many friends, and many people wanted to curry the rich young Saudi’s favor.
Those included Jalaluddin Haqqani, the founder and longtime leader of the Haqqani Network, an
Islamist terrorist group that joined forces with the Taliban and features prominently in subsequent
sections of this report.

                                                                   The Afghan Arabs, ultimately, were arguably
                                                                   insignificant to the military defeat that the
                                                                   Soviets experienced in Afghanistan. But that
                                                                   factor makes the Soviet defeat no less real, and
                                                                   the final Soviet forces left the country in 1989.

                                                          Though most outside observers expected the
                                                          regime of Afghan communist president
                                                          Mohammad         Najibullah     to     collapse
                                                          immediately after the Soviets withdrew, it in
                                                          fact appeared surprisingly strong for about
                                                          three years. The Soviets “continued large-scale
military assistance” after leaving Afghanistan, and “the combat effectiveness of Kabul’s security forces
increased after the Soviet withdrawal, when the fight for survival became wholly their own.”12




10 Bruce Riedel, The Search for al Qaeda: Its Leadership, Ideology, and Future (Washington, DC: Brookings Institution Press,

2008), p. 42.
11 For more on the origins of the MAK, see Thomas Hegghammer, The Caravan: Abdallah Azzam and the Rise of the Global

Jihad, (Cambridge: Cambridge University Press, 2020).
12 Thom Shanker, “With U.S. Set to Leave Afghanistan, Echoes of 1989,” New York Times, January 1, 2013.




                                                             7
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 14 of 143



Nevertheless, Najibullah’s strategy depended on continuing Russian support. When the Soviet Union
dissolved in December 1991, that support dried up, and
Najibullah’s regime collapsed quickly. As competing factions—
including those of Ahmad Shah Masud, Gulbuddin Hekmatyar,
and Abdul Haq—descended on Kabul, Najibullah’s generals
and even defense minister conspired with his enemies. After
losing power, Najibullah fled to and remained holed up in the
U.N. compound for years, looking for safe passage out of the
country before finally being lured out and killed in gruesome
fashion.

The mujahedin captured the capital of Kabul as Najibullah’s
government collapsed. Various warlords and former mujahedin
vied for power in the capital and other strategic areas.

The Taliban’s Rise and Fall from Power. It was in the context of this
anarchic struggle for power that the Taliban became a potent
fighting force. There are a number of different stories about
how the group formed in 1994, but the respected journalist
Ahmed Rashid finds one account to be most credible. In this
recounting, two neighbors approached the Taliban’s founder Mullah Mohammed Omar to inform
him that a warlord “had abducted two teenage girls, their heads had been shaved and they had been
taken to a military camp and repeatedly raped.”13 Omar mobilized thirty talibs. They “attacked the base,
freeing the girls and hanging the commander from the barrel of a tank.”14

Mullah Omar had been born into a Pashtun tribe in 1959. As a young man, “he moved to Singesar
village in the Mewand district of Kandahar province, where he became the village mullah, or local
cleric, and opened a small madrassa.”15 His studies were interrupted by the Soviet invasion. He
participated in the fighting and was wounded four times. The most notable injury was to Mullah
Omar’s right eye, which was blinded permanently.

Following Mullah Omar’s 1994 founding of the Taliban, the group proved to be effective fighters.
They offered an alternative to Afghanistan’s lawlessness by ruthlessly imposing order in areas they
controlled. The group’s advance was rapid, and within two years of the Taliban’s founding, it had
captured both the city of Kandahar and much of Kandahar province, as well as the capital city of
Kabul. But the Taliban did not make these gains on its own. Prior to seizing Kabul, the group managed
to enlist the Haqqani Network’s military expertise, which proved critical, as “it is likely that the
Taliban’s capture of Kabul would not have been possible without securing an alliance with [Jalaluddin
Haqqani, who is] the man with the most military influence in Afghanistan’s southeast.”16 When the
Taliban formed a government, it recompensed Jalaluddin Haqqani for his military assistance by

13 Ahmed Rashid, Taliban: Militant Islam, Oil and Fundamentalism in Central Asia (New Haven, CT: Yale University Press,

2000), p. 25.
14 Ibid.
15 Ibid., p. 24.
16 Brown & Rassler, Fountainhead of Jihad, Kindle ed., loc. 2715; see also National Counterterrorism Center,

“Counterterrorism       Guide:         Haqqani        Network”          (n.d.,     accessed     July      29,      2020),
https://www.dni.gov/nctc/groups/haqqani_network.html (describing how the Taliban won Jalaluddin Haqqani’s
support).


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        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 15 of 143



naming him the minister of borders and tribal affairs. This demonstrates the history and strong bonds
of this relationship, which makes it little surprise that the Haqqani Network and the Taliban continue
to work so closely together to the present day.

The Taliban referred to the so-called government it established as the “Islamic Emirate of
Afghanistan.” One way the group imposed order in the areas it had conquered was by implementing
its strict brand of sharia. The Taliban’s religious police enforced provisions that, for example, required
women to wear head-to-toe burqas and made men grow beards that were deemed sufficiently long.
Peter Bergen has humorously referred to the Taliban’s voluminous restrictions as a “Tali-bans,”
explaining:

Soccer, kite-flying, music, television, and the presence of females in schools and offices were all
banned. Some of the decrees had a Monty Python-esque quality, like the rule banning the use of paper
bags on the remote chance the paper might include recycled pages of the Koran. Behavior the Taliban
deemed deviant was met with inventive punishments. Taliban religious scholars labored over the vital
question of how to deal with homosexuals: “Some say we should take these sinners to a high roof and
throw them down, while others say we should dig a big hole beside a wall, bury them, then push the
wall on top of them.”17

As the Taliban was gaining power in Afghanistan, al-Qaeda was expelled from Sudan in 1996.
International pressure compelled the Sudanese government to stop providing al-Qaeda with safe
haven due to the group’s terrorist activities. But following al-Qaeda’s flight from Sudan, bin Laden
and his organization didn’t remain in a weak position for long. The Taliban invited al-Qaeda to relocate
from Sudan to Afghanistan, where al-Qaeda rebuilt its finances and significantly expanded its network.
Though its new base was in one of the most remote places in the world, al-Qaeda became an appealing
organization for aspiring militants thanks to its well-developed infrastructure for training operatives
and planning attacks. Al-Qaeda was not the only transnational militant group in Taliban-run
Afghanistan, but it had the most to offer foreign jihadists. From this new Afghan safe haven, bin
Laden issued two declarations of war against America, in 1996 and 1998.18 His overarching grievance
was America’s military presence in Saudi Arabia (where the U.S. remained as a defensive measure,
after pushing Saddam Hussein’s Iraqi military from Kuwait in the first Gulf War), but he also cited
American support for Israel and U.S.-led sanctions against Iraq as justifications for his fight.19

Al-Qaeda helped provide the Taliban with crucial funds during the 1990s, and bolstered the Taliban’s
fighting ranks. In return, al-Qaeda enjoyed a safe haven in Afghanistan. For example, after al-Qaeda
executed the 1998 bombings of U.S. embassies in Kenya and Tanzania and the 2000 bombing of the
U.S.S. Cole, the Taliban refused to hand bin Laden over to U.S. authorities. A July 2001 report from
the U.S. State Department indicated that U.S. diplomats and officials had pressed the Taliban to
extradite, expel, or render bin Laden on thirty different occasions.20 The Taliban refused every time.

17 Peter Bergen, Holy War, Inc.: Inside the Secret World of Osama bin Laden (New York: The Free Press, 2001), p. 9.
18 Osama bin Laden, “Declaration of Jihad against the Americans Occupying the Land of the Two Holiest Sites,” 1996,

https://ctc.usma.edu/harmony-program/declaration-of-jihad-against-the-americans-occupying-the-land-of-the-two-
holiest-sites-original-language-2/; Osama bin Laden, Ayman al-Zawahiri, Ahmad Taha, Mir Hamzah, and Fazlur Rahman,
“Jihad against Jews and Crusaders,” 1998, https://fas.org/irp/world/para/docs/980223-fatwa.htm.
19 Osama bin Laden, “Declaration of Jihad Against the Americans Occupying the Land of the Two Holy Mosques

[Arabic],” September 2, 1996.
20 U.S. Department of State, “U.S. Engagement with the Taliban on Usama bin Laden,” June 2001,

https://nsarchive2.gwu.edu/NSAEBB/NSAEBB343/osama_bin_laden_file11.pdf.


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        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 16 of 143




Even after al-Qaeda executed the devastating September 11, 2001 attacks, the Taliban still refused to
give up bin Laden. The United States thus invaded Afghanistan to apprehend bin Laden and topple
the group providing safe haven to al-Qaeda: the Taliban.

The United States began a bombing campaign against the Taliban and al-Qaeda on October 7, 2001.
When it inserted troops later that month, America did not enter Afghanistan with a heavy footprint.
Rather, the United States attacked with a light force, consisting of about 300 Special Forces soldiers
and 110 CIA officers who established a liaison with tens of thousands of fighters from the Northern
Alliance, a group based in northern Afghanistan that opposed the Taliban.21 The Taliban had no
response to American airpower, which proved devastating to its ranks. The combination of U.S.
airpower and the light counterattack toppled the Taliban from power within weeks.

Early Years of the Taliban Insurgency: 2002-2008. After the United States drove the Taliban out of the key
cities of Kabul and Kandahar and inflicted substantial damage on the organization, many of the
Taliban’s leaders crossed the border into Pakistan. News reports of Iran arresting suspected Taliban
members in February 2002 suggest that some may have continued on to Iran.22 Although Iran allegedly
placed these members under arrest, in reality it gave them significant freedom to regenerate the
insurgency from Afghanistan – a tactic Iran has used with Taliban and al-Qaeda leaders frequently
over the years. A few, small fronts (mahaz) of Taliban fighters remained in Afghanistan.23 However,
most Taliban leaders, reeling from their recent defeat and initially fearing arrest by Pakistani
authorities, did not begin to reorganize until mid-2002.24 At that time, some Taliban leaders began to
convene and plot their next move. Some leaders began to coordinate operations in the Taliban’s
historical homeland of Greater Kandahar, including Helmand, Kandahar, Zabul, and Uruzgan
Provinces.25 Once again, the Haqqani Network would prove valuable to the Taliban. In North
Waziristan, near the Afghanistan-Pakistan border, Jalaluddin Haqqani and his allies set up the
Miranshah Shura, named for a Pakistani city and Haqqani stronghold near the border with
Afghanistan.26 Outside of these councils, the Taliban insurgency lacked a central organizing body at
this time.

By 2003, the Taliban’s leadership began to reorganize and formally launch an anti-American
insurgency in Afghanistan. On March 14, 2003, senior Taliban leaders announced the formation of a
leadership council to oversee the Taliban’s insurgency referred to as the Rahbari Shura.27 Based in
Quetta, many analysts refer to the Rahbari Shura as the Quetta Shura. The Rabhari Shura included
several prominent military commanders and former ministers from the Taliban’s ousted government,
such as the Taliban’s former Deputy Minister of Defense, Mullah Baradar; the former Minister of
Civil Aviation, Mullah Mansour; and Mullah Dadullah, a top Taliban military commander.28 Mullah



21 Bergen, The Longest War, Kindle ed., loc. 1237.
22 “Report: Iran Arrests al Qaeda, Taliban Suspects,” CNN, February 14, 2002.
23 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 408.
24 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 380-389.
25 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 573.
26 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 599, 611.
27 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 689.
28 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 689.




                                                           10
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 17 of 143



Omar, who remained the official Taliban leader, endorsed the shura’s formation, lending legitimacy
to the council as the Taliban’s supreme organizing body.29

The Rahbari Shura quickly worked to entrench its control over the incipient Taliban insurgency. The
Rahbari Shura began appointing provincial and district governors to oversee activities in the Taliban’s
areas of operations.30 Soon after the formation of the Rahbari Shura, the Miranshah Shura recognized
the Rahbari Shura as the Taliban’s top leadership council.31 In exchange for funding and two seats on
the Rahbari Shura, the Miranshah Shura reportedly agreed to ask the Rahbari Shura’s permission to
launch major operations, recognize the authority of Rahbari Shura-appointed governors in Miranshah
Shura territory, and help collect funds for the Rahbari Shura.32 This agreement demonstrated the
Haqqanis’ acceptance of the Rahbari Shura’s role as the insurgency’s supreme governing body, and
set the tone for the nature of the relationship that continues to this day. While the Rahbari Shura
cemented its role as the high command of the insurgency, the Shura did not micromanage the
operations of commanders around Afghanistan for reasons detailed later in this section. This
arrangement broadly aligned with the Taliban leadership’s decision to empower its commanders as
they conduct their local operations.33

The rise of the Rahbari Shura
coincided with substantial Taliban
advances. In 2003, the Rahbari
Shura’s forces mainly operated in
the former Taliban strongholds of
Kandahar Province and Helmand
Province and the Haqqani
strongholds of Paktia Province
and Khost Province.34 By the end
of 2004, Taliban forces gained
substantial ground in Paktika
Province, Logar Province, Zabul
Province, Uruzgan Province, and
Ghazni Province.35

2004 also marked the start of the
Taliban’s efforts to attack targets
in Kabul. That year, the Haqqani
Network and elements of the
Taliban established the Kabul Attack Network (KAN) to carry out attacks on NATO and Afghan
government targets in Kabul.36 The KAN included elements from the Haqqani Network, other
Taliban units, and the Islamist group Hezb-e-Islami Gulbuddin (HIG), led by Gulbuddin Hekmatyar,

29 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 702.
30 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 702.
31 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 757.
32 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 757.
33 Mujib Mashal, “How the Taliban Outlasted a Superpower: Tenacity and Carnage,” The New York Times, May 26, 2020.
34 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 673, 720.
35 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 673, 720.
36 Insurgency in Afghanistan’s Heartland (Brussels: International Crisis Group, June 27, 2011), p. 20.




                                                               11
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 18 of 143



which broke off from Hezb-e-Islami and eventually allied with the Taliban in some contexts.37
Although HIG remained a separate entity from the Taliban and the leaders of both groups were not
close, the Taliban and HIG shared some ideological and tactical goals, including striking Western and
Afghan government targets in Kabul.38 Al-Qaeda, Pakistani jihadist groups like Lashkar-e-Taiba (LeT),
and elements of Pakistani intelligence were also members of the KAN.39 Within the KAN, the
Haqqani Network would plan, organize, and execute most attacks, while al-Qaeda, other Taliban
elements, and HIG provided additional manpower and some logistical support.40 While the Haqqani
Network played the lead role in major attacks, the broader Taliban typically claimed responsibility.41

The Kabul Attack Network functioned as a manifestation of a broader terrorist syndicate operating
in Afghanistan. A terrorist syndicate is a group of terrorists or terrorist organizations combined to
promote a common interest. In this case, different jihadist groups came together to attack Western
and Afghan government targets, with a particular focus on targets in Kabul. Secretary of State Hillary
Clinton, Secretary of Defense Robert Gates, and other high-level government officials, in fact, used
the term syndicate to describe the Taliban’s relationship with other violent Islamist groups throughout
Afghanistan, including in Kabul.42

The formation of the Kabul Attack Network coincided with the Taliban’s expansion outside of its
traditional strongholds in the greater Kandahar region and the Haqqani’s homeland in eastern
Afghanistan. The Taliban insurgency began to solidify into the north. In 2005, Taliban elements and
former HIG fighters formed the Taliban’s Peshawar Shura to organize the Taliban’s operations in
northern Afghanistan and the greater Kabul region.43 Over the next several years, the Taliban built a
formidable insurgency in these areas.

By 2007, the Taliban managed to coopt most anti-government forces in Herat Province, near
Afghanistan’s western border with Iran, and used its foothold there to expand into other western
provinces.44 Iran had already begun supplying the Taliban, and the Islamic Revolutionary Guard Corps
(IRGC), according to Antonio Giustozzi, likely played a role in the Taliban’s westward expansion by
forging agreements between local fighters and the Rahbari Shura and financing the Taliban’s fighters
in western Afghanistan.45 Iran’s support was a boon for the Taliban that helped fuel the Taliban’s


37 Jeffrey Dressler, The Haqqani Network (Washington, D.C.: Institute for the Study of War, 2010), p. 31; National

Counterterrorism Center, “Counterterrorism Guide: Hezb-e-Islami Gulbuddin” (n.d.; accessed July 29, 2020),
https://www.dni.gov/nctc/groups/hezb_e_islami.html.
38 Mohammed Elias, “The Resurgence of the Taliban in Kabul: Logar and Wardak,” in ed. Antonio Giustozzi, Decoding the

New Taliban, (New York: Columbia University Press, 2009), p. 53; Dressler, The Haqqani Network, pp. 31, 33-34.
39 Jeffrey Dressler, The Haqqani Network (Washington, D.C.: Institute for the Study of War, 2010), p. 31; Steve Coll,

Directorate S: The CIA and America’s Secret Wars in Afghanistan and Pakistan (United States of America, Penguin Press, 2018),
pp. 574-579.
40 Dressler, The Haqqani Network, pp. 31, 33-34.
41 Don Rassler & Vahid Brown, The Haqqani Nexus and the Evolution of al-Qa’ida (West Point, N.Y.: Combating Terrorism

Center at West Point, July 14, 2011), p. 13.
42 Hillary Clinton, Interview on Meet the Press, NBC News, July 26, 2009; “Gates casts Qaeda as terror syndicate,” The

Washington                        Post,                         January                        21,                      2020,
http://archive.boston.com/news/world/asia/articles/2010/01/21/gates_casts_qaeda_as_terror_syndicate/?rss_id=Bo
ston.com+%252F+Boston+Globe+--+World+News.
43 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 1076.
44 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 1001.
45 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 1001.




                                                            12
       Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 19 of 143



increasingly sophisticated and lethal insurgency.46 Though recent media reporting has taken a renewed
interest in Iran’s support for the Taliban, as this section of the report details, the relationship is not
new—indeed, there is a long and complicated history of Iranian support for the Taliban.

As the Taliban gained ground, it worked to establish a shadow “government” with courts, tax
collectors, and other common features of a proto-state. However, as the Taliban’s insurgency
increasingly grew bureaucratized — as many insurgencies inevitably do, frequently to become more
efficient — some elements of the insurgency pushed for additional power. For example, as Jalaluddin
Haqqani handed over day-to-day management of the Haqqani Network and Miranshah Shura to his
son Sirajuddin Haqqani, the younger Haqqani pushed for increased funding and Haqqani
representation on the Rahbari Shura.47 The Haqqanis, including Siraj, have played a significant role in
the insurgency from its earliest years. The Peshawar Shura, likewise, pushed for greater control of its
affairs and operations in its territory. These internal feuds for power and money, however, did little to
blunt the Taliban’s momentum.

The Insurgency Intensifies: 2009-2014. By 2009, the Taliban had firmly established its control over much
of southern and eastern Afghanistan, and the Haqqani Network had executed many highly lethal
attacks in the Afghan capital, principally targeting Westerners and the Afghan government through
the Kabul Attack Network.48 The Taliban had emerged from the ashes of its quick defeat in 2001 to
not only contest the Afghan government’s control of much of the country but also serve as the de facto
governing body in many Afghan districts.

Those gains would quickly be put to the test. In the early years of the Obama Administration, the U.S.
footprint in Afghanistan roughly tripled with the number of U.S. troops in the country topping
100,000.49 With this troop surge, the U.S. began contesting the Taliban’s control of territory
throughout the country, leading to increasingly intense fighting between the U.S. and the Taliban. U.S.
forces erased some Taliban gains in Helmand, Kandahar, and a few other provinces, but the surge of
troops failed to alter the dynamics of the conflict fundamentally. 50 As the United States drew down
the number of its troops in Afghanistan following this unsuccessful surge, the Taliban filled the
resulting security vacuum.

The Taliban’s resilience in the face of this surge was particularly remarkable given the turnover at the
organization’s upper echelons during this period. As Mullah Omar aged, Mullah Abdul Qayyum Zakir,
the head of the Taliban’s military commission, and Mullah Aktour Mansour, Mullah Omar’s deputy,
began jockeying to replace Mullah Omar.51 Ultimately, Mansour outmaneuvered and demoted Zakir,



46     U.S.    Defense       Intelligence     Agency,      Iran     Military   Power  (August    2019),   p.   63,
https://www.dia.mil/Portals/27/Documents/News/Military%20Power%20Publications/Iran_Military_Power_LR.pdf.
47 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 1704.
48 Gilles Dorronsoro, The Taliban’s Winning Strategy in Afghanistan, (Washington, D.C.: The Carnegie Endowment for

International Peace, 2009), p. 7; Jeffrey Dressler, The Haqqani Network, p. 2.
49 Michael O’Hanlon, “Rightsizing the Afghanistan mission,” The Brookings Institution, August 13, 2020,

https://www.brookings.edu/blog/order-from-chaos/2020/08/13/rightsizing-the-afghanistan-mission/.
50 Rod Nordland, “Troop ‘Surge’ in Afghanistan Ends With Mixed Results,” The New York Times, September 21, 2012,

https://www.nytimes.com/2012/09/22/world/asia/us-troop-surge-in-afghanistan-ends.html.
51 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 2750.




                                                       13
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 20 of 143



paving the way for Mansour to succeed Mullah Omar.52 When Mullah Omar died in 2013, Mullah
Mansour became the organization’s de facto leader. In 2015, the Taliban announced the death of Mullah
Omar, and officially named Mullah Akhtar Mansour as his replacement.53 Mullah Mansour would later
be killed in Pakistan in a U.S. drone strike in 2016 while returning from a trip to Iran.54 Despite such
turnover, the group continued to operate unabated.

Sirajuddin as Military Chief and Peace Talks: 2015-present. When Mullah Mansour officially became the
leader of the Taliban, Sirajuddin Haqqani, the leader of the Haqqani Network, became the Taliban’s
de facto military chief and one of Mansour’s two deputies, along with religious scholar Haibatullah
Akhundzada. In addition to Haqqani’s new role in the Taliban’s broader hierarchy, he installed his
brother, Khalil Haqqani, as the leader of the Peshawar Shura, cementing his control over Taliban
operations in most of the country.55

As in most organizations, this leadership transition resulted in internal jockeying for power and some
friction within the Taliban. The rise of Mullah Mansour and Sirajuddin Haqqani did not sit well with
all Taliban leaders. For example, Mullah Rasool, a Taliban shadow governor, rejected the selection of
Mullah Mansour as the Taliban’s new leader.56 But Rasool’s faction failed to gain area of operations
dominance in any region of Afghanistan.57

With Haqqani overseeing the Taliban’s military operations, the Taliban continued to gain ground
throughout Afghanistan. As of early 2018, the Taliban was “openly active in 70% of Afghanistan.”58
The Taliban, typically through Haqqani fighters, continued to carry out large-scale attacks in Kabul,
demonstrating the tenacity and capabilities of the Haqqani Network.59 For example, the Taliban
claimed responsibility for a January 2018 attack on the Intercontinental Hotel in Kabul, which featured
multiple attackers and apparently benefitted from support from hotel employees, that killed more than
20 individuals, including four Americans.60


52 John Foulkes, “Iran’s Taliban Connection: Mullah Abdul Qayyum Zakir,” Militant Leadership Monitor 11:6 (July 2,

2020), https://jamestown.org/brief/irans-taliban-connection-mullah-abdul-qayyum-zakir/.
53 Leading Council of the Islamic Emirate of Afghanistan, press release, “Declaration of the Leading Council of the Islamic

Emirate regarding the appointment of new Amir (leader) of the Islamic Emirate,” July 31, 2015,
https://ent.siteintelgroup.com/Jihadist-News/afghan-taliban-appoints-new-leader-selects-haqqani-network-official-as-a-
deputy.html (Ex. A).
54 “Taliban Leader Mullah Akhtar Mansour Killed, Afghans Confirm,” BBC, May 22, 2016.
55 Antonio Giustozzi, “Afghanistan: Taliban’s Organization and Structure,” (Oslo: Norwegian Country of Origin

Information Centre, 2017), p. 8, https://landinfo.no/asset/3589/1/3589_1.pdf.
56 Antonio Giustozzi, “Afghanistan: Taliban’s Organization and Structure,” (Oslo: Norwegian Country of Origin

Information Centre, 2017), p. 21, https://landinfo.no/asset/3589/1/3589_1.pdf; Max Taylor, “Mullah Rasool and the
Taliban Splinter Faction,” Intelligence Fusion, April 5, 2019, https://www.intelligencefusion.co.uk/blog/mullah-rasool-and-
the-taliban-splinter-faction.
57 Antonio Giustozzi, “Afghanistan: Taliban’s Organization and Structure,” (Oslo: Norwegian Country of Origin

Information Centre, 2017), p. 7, https://landinfo.no/asset/3589/1/3589_1.pdf; Antonio Giustozzi, The Taliban at War:
2001-2018, Kindle ed., loc. 4770.
58 Shoaib Sharifi & Louise Adamou, “Taliban Threaten 70% of Afghanistan, BBC Finds,” BBC, January 31, 2018.
59 Kate Clark, The Park Palace Attack: More Losses for Afghanistan, (Kabul, Afghanistan: Afghanistan Analysts Network, May

14, 2015), https://www.afghanistan-analysts.org/en/reports/war-and-peace/the-park-palace-attack-more-losses-for-
afghanistan/.
60 Josh Lederman, “U.S. Says 4 Americans Killed, 2 Wounded in Taliban Attack on Afghanistan Hotel,” PBS News Hour,

January 24, 2018.



                                                           14
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 21 of 143



As the Taliban continued to make inroads against U.S. forces, it simultaneously intensified
negotiations with the U.S. government over a U.S. withdrawal from Afghanistan in exchange for
security assurances from the Taliban. There was nothing incongruent to the Taliban about adhering
to a strategy of “fight and talk.” In February 2020, the United States signed a peace deal with the
Taliban designed to end the decades-long American involvement in the country, although negotiations
between the Taliban and the former Afghan government progressed slowly and were characterized by
setbacks. Following the U.S. withdrawal in August 2021, the Taliban quickly overthrew the Afghan
government and conquered the country.

The Taliban’s relationship with al-Qaeda post-9/11. Despite the Taliban’s vague assurances to the U.S. that
it will not coordinate with al-Qaeda as part of the February 2020 peace agreement the group signed
with U.S. officials, al-Qaeda and the Taliban have remained close from the 1990s until today.

After the American intervention, al-Qaeda’s core leadership worked with the Taliban “in setting
strategy and orchestrating attacks.”61 Al-Qaeda has also provided resources and training for the
Taliban’s fighters.62 This included instruction in how to create improvised explosive devices and other
specialized training, as well as the provision of personnel to conduct special operations and terrorist
attacks.63 The deaths of Osama bin Laden and Mullah Omar did little to change the nature of the
relationship between the organizations.

Al-Qaeda restated its loyalty to the late Omar in July 2014, with the organization stating that all of its
men were the Taliban’s “soldiers.”64 After the Taliban’s Quetta Shura named Mullah Akhtar
Mohammad Mansour as Omar’s successor, al-Qaeda’s propagandists released an audio message from
Zawahiri in which he swore fealty to the new Taliban leader. “I, as the Emir of [al-Qaeda], present to
you our pledge of allegiance, renewing the method of Sheikh Osama and his brothers the pure martyrs,
in their pledge to the emir of the believers Mullah Muhammad Omar Mujahid, may Allah have mercy
on them, in pledging allegiance to you on the Book of Allah and the Sunnah of His Messenger,”
Zawahiri said.65 Zawahiri’s pledge was more than empty rhetoric. A May 2020 report by the United
Nations concluded that the Taliban retains close ties with al-Qaeda in Afghanistan.66 Of all the
elements of the Taliban, the Haqqani Network maintained arguably the closest relationship with al-
Qaeda, with Siraj Haqqani recognized as particularly closely linked to al-Qaeda leadership.67


61 Marvin Weinbaum and Lauren McNally, A Resilient Al-Qaeda in Afghanistan and Pakistan (Washington, D.C.: Middle

East                                      Institute,                                    August                           2016),
https://www.mei.edu/sites/default/files/publications/PF18_Weinbaum_AQinAFPAK_web_1.pdf.
62 Lindsay Maizland and Zachary Laub, “The Taliban in Afghanistan,” The Council on Foreign Relations, March 11, 2020,

https://www.cfr.org/backgrounder/taliban-afghanistan.
63 Tricia Bacon, “Deadly Cooperation: The Shifting Ties Between al-Qaeda and the Taliban,” War on the Rocks, September

11, 2018.
64 Thomas Joscelyn, “Al-Qaeda Renews Its Oath of Allegiance to Taliban Leader Mullah Omar,” Long War Journal, July

21, 2014.
65 Thomas Joscelyn, “Ayman al Zawahiri Pledges Allegiance to the Taliban’s New Emir,” Long War Journal, August 13,

2015.
66 United Nations Analytical Support and Sanctions Monitoring Team, Eleventh Report of the Analytical Support and Sanctions

Monitoring Team Submitted Pursuant to Resolution 2501 (2019) Concerning the Taliban and Other Associated Individuals and Entities
Constituting a Threat to the Peace, Stability and Security of Afghanistan (2019), p. 3.
67 United Nations Security Council, Twelfth report of the Analytical Support and Sanctions Monitoring Team submitted

pursuant to resolution 2557 (2020) concerning the Taliban and other associated individuals and entities constituting a



                                                              15
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 22 of 143




IV.      Background on the Taliban’s Haqqani Network in the Afghan Conflict

Although the term Haqqani Network was never used in Western conversation until 2006, when it first
appeared in a diplomatic cable, the term is now commonly used for a militant outfit whose origins
date to the mid-1970s.68 While initially emerging separately from the Taliban, the Haqqani Network
has remained an integral part of the Taliban since Jalaluddin Haqqani allied with Mullah Omar in the
Afghan Civil War in the mid-1990s, to the point that the Department of Defense often refers to it as
the Haqqani Taliban Network.69 To illustrate that point, this section overviews the history of the
Haqqani Network and its relationship with the rest of the Taliban.

The Haqqani Network’s founder is Jalaluddin Haqqani, who “was born in 1939 in the tiny village of
Karezgay in the Wazi Zadran district of Paktia Province.”70 The Haqqani Network is named after the
Dar al-Ulum Haqqaniyya madrassa in Pakistan’s North-West Frontier Province, a Deobandi seminary
from which Jalaluddin Haqqani graduated “with the equivalent of a doctoral degree” in 1970.71 After
spending a short time in Pakistan teaching at the Haqqaniyya madrassa and campaigning on behalf of
an Islamist candidate for Pakistan’s National Assembly, Jalaluddin returned to Afghanistan, where he
established a madrassa. Though under normal circumstances, “Jalaluddin might have gone on to a
successful and nonviolent career in Pak-Afghan Islamist politics,”72 in the turbulent 1970s-era South
Asia, this was not to be. Armed conflict, primarily between the Soviet-backed Afghan communist
movement and Islamists, changed the trajectory of Jalaluddin’s nascent career.

Jalaluddin Haqqani led an unsuccessful uprising against the pro-Soviet regime of Sardar Mohammed
Daoud Khan in Paktika Province’s town of Urgun, which resulted in “most of its leaders either fleeing
to Pakistan or in jail.”73 Undeterred by this early failure, Jalaluddin joined the executive committee of
the Hizb-i Islami Afghanistan party, which was designed to merge “all of the factions of anti-Daoud
Sunni Islamist activism into one organization.”74 When Hizb-i Islami split into two factions—one led
by Muhammad Khalis and another by Gulbuddin Hekmatyar—the Haqqani Network joined the
Khalis-led faction.75 As a part of that group, the Haqqani Network fought the Soviets in the Afghan-
Soviet War.

During the course of the Afghan-Soviet War, the Haqqani Network benefited enormously from the
boom in hardline madrassas designed to foster opposition to the Soviet presence. Policies
implemented during this period, including Pakistani President Muhammad Zia-ul-Haq’s Zakat

threat to the peace stability and security of Afghanistan, ¶ 27 n.11 (June 1, 2021),
https://www.undocs.org/en/S/2021/486.
68 For discussion of the first uses of the term the Haqqani Network, see Brown & Rassler, Fountainhead of Jihad Kindle ed.,

locs. 99-111.
69 Department of Defense, Report on Progress Toward Security and Stability in Afghanistan, Report to Congress In

accordance with section 1230 of the National Defense Authorization Act for Fiscal Year 2008 (Public Law 110-181) as
amended, and section 1221 of the National Defense Authorizations Act for Fiscal Year 2012 (Public Law 112-81)
(December 2012),
70 Brown & Rassler, Fountainhead of Jihad, Kindle ed., loc. 515.
71 Ibid., loc. 688.
72 Ibid., loc. 764.
73 Ibid., loc. 880; see also Dressler, The Haqqani Network, p. 9.
74 Brown & Rassler, Fountainhead of Jihad, Kindle ed., loc. 886.
75 Dressler, The Haqqani Network, p. 7.




                                                            16
           Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 23 of 143



Ordinance, “helped the Haqqanis broaden their social base as the most prominent religious leaders
and providers of religious education in their region, allowing them to build an extensive local
infrastructure for mobilization, recruitment, and training.”76 Overall, the Haqqani Network became
an ever more potent force during the course of this conflict, and remained so in Afghanistan’s post-
communist civil war.

As previously noted, the Haqqani Network’s contributions to al-Qaeda and the transnational jihadist
movement during this period is underappreciated by much of the relevant scholarship. Vahid Brown
and Don Rassler’s Fountainhead of Jihad provides an important corrective through an intensive
examination of relevant sources, including primary sources that other scholars have largely left
unmined. From the Afghan-Soviet War period through the 9/11 attacks, here are some of the Haqqani
Network’s most important contributions to al-Qaeda and transnational jihadism:

        1. The Haqqanis were the first faction to actively recruit Arab foreign fighters and were the most
           eager to place Arab foreign fighters in combat positions.

        2. Numerous early al-Qaeda members were embedded with the Haqqani Network before bin
           Laden set foot on a battlefield, including such notable figures as Abu Hafs al-Masri, al-Qaeda’s
           military chief and a deputy to bin Laden;77 Abu’l-Walid al-Masri, a senior al-Qaeda member
           who coordinated activities between al-Qaeda and the Iranian government;78 Abu Ubayda al-
           Iraqi, and Abu Ubayda al-Banshiri, al-Qaeda’s former military commander.79

        3. When al-Qaeda was still nascent, its early members would have to train with the Haqqani
           Network before going on to al-Qaeda camps. As Brown and Rassler note, the Arabs “bound
           for Ma’sada had to proceed first to Zhawara [which was run by the Haqqanis] via Miranshah
           and there undergo ten days of preliminary training alongside the Haqqanis’ Afghan trainees.”80

        4. In addition to al-Qaeda, “[m]any of the leaders of the militant Islamist organizations
           established in the 1990s, from North Africa to Southeast Asia, got their first taste of jihad
           under Haqqani’s command in this fight.”81 These included leaders of the Libyan Islamic
           Fighting Group and Egypt’s al-Gama’a al-Islamiyya. In the subsequent decades, al-Qaeda
           would benefit from its relationship with these organizations, and would leverage them to
           expand its global presence.




76 Brown & Rassler, Fountainhead of Jihad, Kindle ed., loc. 1007.
77 “Mohammed Atef,” Counter Extremism Project, n.d., https://www.counterextremism.com/extremists/mohammed-

atef.
78 U.S. Department of the Treasury, press release, “Treasury Targets Al Qaida Operatives in Iran,” January 16, 2009,

https://www.treasury.gov/press-center/press-releases/pages/hp1360.aspx.
79 Brown & Rassler, Fountainhead of Jihad, Kindle ed., loc. 1170-76.; The 9/11 Commission Report at 65 (July 22, 2004),

https://govinfo.library.unt.edu/911/report/911Report.pdf
80 Brown & Rassler, Fountainhead of Jihad Kindle ed., loc. 1351.
81 Ibid., loc. 1484.




                                                             17
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 24 of 143



    5. The Haqqani Network may have influenced al-Qaeda’s shift toward seeing the United States
       as the primary enemy of the global jihadist movement. If this is so, the Haqqani Network
       procured al-Qaeda’s reorientation by influencing Abu’l-Walid al-Masri.82

    6. Bin Laden used his perch in Haqqani-controlled territory to launch his declarations of war
       against the United States and the West.83

This critical pre-9/11 support for al-Qaeda would also be consistent with the Haqqani Network’s
relationship with al-Qaeda in the wake of the 9/11 attacks.

The Taliban and the Haqqani Network. In the later chaos of Afghanistan’s civil war in the 1990s, there
was initially suspicion and hostility between the Haqqani Network and the Taliban, though Jalaluddin
Haqqani had been persuaded to lend his military expertise to the group by 1995. I noted earlier that
Jalaluddin’s alliance with the Taliban proved critical to some of their gains, particularly around Kabul.
Brown and Rassler elaborate:

         [F]ollowing a series of defeats against [Ahmad Shah] Massoud around Kabul in early
         1995, the Taliban were joined there during the summer of 1995 by Jalaluddin Haqqani
         and a group of 2,000 fighters from Khost, recruited with “suitable exhortations over
         the patriotic role of the border tribes in ousting Tajik usurpers [Bacha-e Saqqao] in
         1929.” In other words, Haqqani’s men were appealed to on the basis of an identity
         rooted in a history of fiercely defended highland autonomy, not in terms of the
         Taliban’s nationalist agenda. It was only after the Haqqanis joined the battle in the
         north that the Taliban succeeded in capturing Kabul, and Jalaluddin was then tasked
         with confronting Massoud’s forces on the Shomali plain north of the city.84

After the Taliban gained control of Kabul, Mullah Omar named Jalaluddin Haqqani as the minister of
tribal and border affairs, as I noted previously. Yet Jalaluddin and Mullah Omar had their differences.
They came from different tribes, and Haqqani fell outside Mullah Omar’s core decision-making
circles.85 This created a complex relationship between the Haqqani Network and the Taliban. Brown
and Rassler write of the Haqqani Network’s “distinct organizational characteristics,” which reflect
their different geographic strongholds and occasional differences on strategy and tactics. However,
Brown and Rassler note, “This is not to suggest that the Haqqani Network is an entirely separate
entity—it isn’t.”86 I concur with Brown and Rassler’s assessment and this section proceeds by outlining
the Haqqani Network’s evolving role in the Taliban insurgency that followed the U.S. intervention.

Under Sirajuddin Haqqani, the Haqqani Network’s relationship with the Taliban passed through three
stages. First, soon after the American invasion, the Haqqani Network helped the Taliban establish an
anti-American insurgency in Afghanistan, largely operating as the Taliban’s Miranshah Shura, the first
of the Taliban’s regional shuras. Second, as Sirajuddin Haqqani assumed the leadership of the Haqqani


82 This point about the Haqqani network’s possible influence on al-Qaeda’s anti-American turn is argued at length in ibid.,

locs. 1756-1820.
83 Ibid., loc. 2059.
84 Ibid., loc. 1899; see also Rashid, Taliban, p. 60.
85 Dressler, The Haqqani Network, p. 9.
86 Brown & Rassler, Fountainhead of Jihad, Kindle ed., loc. 2406.




                                                            18
         Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 25 of 143



Network, the Haqqani Network pushed for greater control over its operations in Loya Paktia and
greater representation on the Taliban’s leadership council. The Taliban’s leadership largely acquiesced
to those wishes. During this period, the Haqqani Network developed a fearsome reputation due to its
high-profile attacks in Kabul and use of tactics like suicide bombings. Third, Sirajuddin Haqqani
became the Taliban’s deputy emir in 2015 and its top military leader. As a result of Sirajuddin
Haqqani’s new role, the Haqqani Network’s leadership within the broader Taliban became even
stronger. Sirajuddin Haqqani officially succeeded his father as the head of the Haqqani Network after
his father’s death in 2018, and leads the group to this day.87 At each stage, the Haqqani Network has
officially remained part of the Taliban. However, the nature and depth of operational collaboration between
the Haqqani Network and the rest of the Taliban have evolved over the last two decades.

The First Stage: 2001-07. Immediately after the U.S. intervention in 2001, Haqqani Network leaders
reportedly fled to Pakistan, where they found refuge.88 Sirajuddin Haqqani has said that the Taliban’s
defense minister, Mullah Obaidullah, came to see him in Peshawar in 2003, asking him “to bring as
many fighters as you can into the field.”89 Sirajuddin agreed. That year, Jalaluddin Haqqani and his
followers formed the aforementioned Miranshah Shura to organize their nascent insurgency in
southern Afghanistan.90 When senior Taliban officials formed a central leadership council to organize
the insurgency, Jalaluddin Haqqani recognized the council’s authority and received two seats on the
council, essentially reconstituting the Haqqanis’ coalition with the Kandahar-based Taliban during the
Afghan Civil War.91 The Haqqani Network and its Miranshah Shura have since presented themselves
in public as, first and foremost, Taliban, and pledged allegiance to Mullah Omar and then his
successors.92 They have also extensively coordinated with the rest of the Taliban. In addition to the
Haqqanis’ seats on the Rahbari Shura, the Taliban has placed a representative from Quetta on the
Miranshah Shura.93

By 2004, the Haqqani Network had “reconstituted their operations in their historical stronghold of
Loya-Paktia, which encompasses the provinces of Khost, Paktia, and Paktika in southeastern
Afghanistan.”94 The Haqqani Network also began to turn its attention to Kabul. As previously
discussed, the Haqqani Network played a key role in the 2004 establishment of the Kabul Attack
Network, uniting the Haqqani Network with other Taliban elements to launch attacks in Kabul. By
2006, the Haqqanis began to move beyond Loya Paktia and into Logar and Wardak Provinces.95

The Second Stage: 2007-15. 2007 marked a key shift for the Haqqani Network as Sirajuddin Haqqani
assumed operational command of the Haqqani Network and the Miranshah Shura. Sirajuddin Haqqani

87 The Islamic Emirate (the Taliban), “Statement of Islamic Emirate Regarding Passing Away of Prominent Jihadi Figure,

Scholar       and       Warrior       Mawlawi          Jalaluddin       Haqqani          (RA),”       September           3,       2018,
https://ent.siteintelgroup.com/Statements/afghan-taliban-announces-death-of-haqqani-network-head-jalaluddin-
haqqani.html (Ex. B).
88 See, for example, Dressler, The Haqqani Network, p. 10.
89 Sami Yousafzai, “The Taliban’s Oral History of the Afghanistan War,” Newsweek, September 25, 2009.
90 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 688.
91 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 757.
92 Brown & Rassler, Fountainhead of Jihad, Kindle ed., loc. 2377.
93 United Nations Analytical Support and Sanctions Monitoring Team, First report of the Analytical Support and Sanctions

Implementation Monitoring Team submitted pursuant to resolution 1988 (2011) concerning the Taliban and associated individuals and entities
(2012), p. 24-27; Dressler, The Haqqani Network, p. 22-23.
94 Dressler, The Haqqani Network, p. 2.
95 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 1693; Dressler, The Haqqani Network, p. 2.




                                                                   19
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 26 of 143



envisioned a more prominent role for the Haqqani Network in the insurgency. He sought more
funding from Quetta and a more prominent role on the Rahbari Shura.96 He also asserted “direct
control of the fronts and fighting groups in” his network, but was careful not to question the “primacy
of the Quetta Shura,” which was overseen by Mullah Omar.97 While these actions increased tensions
between the Haqqanis and some Taliban leaders in Quetta, the Haqqanis and the Taliban reportedly
came to an agreement to address Sirajuddin Haqqani’s demands. They agreed that a) the Rahbari Shura
would make gubernatorial appointments in Haqqani-held provinces in consultation with the
Haqqanis, b) many of the governors in these areas would have largely symbolic powers, and c) the
governors would be subordinate to the Miranshah Shura.98 The Taliban and Haqqanis also reportedly
agreed that the Rabhari Shura could send forces to Paktika, albeit under the Miranshah Shura’s
command.

Even as reports of the Haqqani Network’s push for greater power and control over its operations
emerged, Jalaluddin Haqqani rushed to confirm his loyalty to Mullah Omar. In a 2008 interview with
the Taliban’s magazine al-Samoud, Jalaluddin said:

         All the Mujahideen wage Jihad under the leadership of the Ameer ul-Momineen
         Mullah Mohamed Omar Mujahid against the American invaders and their lackeys.
         There is no crisis (of division) under the names moderate or extremist among the
         Mujahideen. They all fight under unified leadership, according to the glorious aya:
         “Strong against the unbelievers (but) compassionate amongst each other”.

         I myself am a member of the High Council of the Islamic Emirate. I also bear on my
         shoulders responsibility for Jihad in the provinces of Khost and Paktika. The biased
         claims of the international media agencies are unfounded in truth. Since we swore
         allegiance to Ameer ul-Momineen Mullah Mohamed Omar Mujahid, we have been to
         this day steadfast in that allegiance and we are true to (the Emirate’s) principles and
         decisions. There are no differences, divisions of discord among the Mujahideen of the
         Islamic Emirate.99

Like his father, Sirajuddin Haqqani assiduously worked to demonstrate his loyalty to Mullah Omar,
including in public. During an April 2010 question-and-answer session with the Ansar al-Mujahedin
network, Sirajuddin Haqqani said: “We assure all the Muslims that the Islamic Emirate [i.e., the
Taliban] is united and consistent. I am a soldier of the Emirate and our emir [leader] is the Emir of
the Believers Mullah Muhammad Omar Mujahid, may Allah preserve him and bring peace upon
him.”100 In the fall of 2012, Sirajuddin Haqqani reiterated the Haqqani Network’s role in the Taliban:


96 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 1704.
97 Theo Farrell, “Unbeatable: Social Resources, Military Adaptation, and the Afghan Taliban,” Texas National Security Review

1:3 (May 2018).
98 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 1748.
99 “The Defeat of America in Afghanistan Will be Swifter Than the Defeat of the Collapsed Soviet Union,” Al Samoud

Issue              30,               December              2008,            text            available            at
https://www.longwarjournal.org/archives/2011/05/voice_of_jihad_releases_3-year.php.
100 Sirajuddin Haqqani, “Ansar al-Mujahideen Hosts Open Meeting with Sirajuddin Haqqani,” Ansar al-Mujahedin

Network, April 28, 2010, https://ent.siteintelgroup.com/Jihadist-News/site-intel-group-4-30-10-aam-sirajuddin-open-
int-part-1.html (Ex. C).



                                                            20
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 27 of 143



         We are one of the fronts of the Islamic Emirate, and we do jihad in the Cause of Allah
         under its banner, and we are proud of our pledge to its Emir [leader] and we carry out
         its orders and all its regulations. All formations and the employment figures with us
         are by the Islamic Emirate, and we obey completely in good deeds the Emir of the
         Believers Mullah Muhammad Omar, may Allah the Almighty preserve and protect
         him.101

Like the Haqqanis, the Taliban rejected reports of internal strife and described the Haqqani Network
as an integral part of the Taliban. For example, after the U.S. State Department designated the Haqqani
Network as a foreign terrorist organization (FTO), the Taliban released a statement denying that the
Taliban is a separate organization from the Haqqani Network:

         The honorable Mawlawi Jalaluddin Haqqani is a member of the Leadership Council
         of Islamic Emirate and is a close, loyal and trusted associate of the esteemed Amir-ul-
         Mumineen [leader of the faithful, Mullah Omar] and those Mujahideen entrusted
         under the command of his sons are in fact the heroic Mujahideen of Islamic Emirate
         who like other Mujahideen strictly obey the esteemed Amir-ul-Mumineen and wage
         Jihad against the invaders throughout the country.102

These statements are consistent. They reflect the fact that both the Haqqani Network and the Taliban
viewed the Haqqanis as a part of the Taliban during this period despite tensions between them. While
they gloss over some of the aforementioned disagreements and conflicts, which is not altogether
surprising, these statements accurately reflect the substantial cooperation and coordination between
the Haqqani Network and other elements of the Taliban during this time.

From 2007 to 2015, the Haqqani Network established its reputation as one of the most lethal elements
of the Taliban and demonstrated its ability to launch major attacks in Kabul. Indeed, by 2007 the
Taliban and Haqqani Network began to establish bases of operations near the capital, a move essential
to the KAN.103 The Haqqani Network established transit hubs for fighters in the city of Ghazni and
the province of Logar, both south of Kabul, and in Laghman province to the east of Kabul.104 In 2008
and 2009, as part of the KAN, the Haqqani Network launched an offensive in Kabul, which included
the use of suicide bombers and complex attacks. These attacks included the January 2008 attack on
the Serena Hotel, the April 2008 assassination attempt against Hamid Karzai, the July 2008 attack on
the Indian Embassy, and a multifaceted attack in February 2009 on Afghan government buildings.105
From 2009 through 2015, the Haqqani Network continued to execute roughly one major attack in
Kabul per year. These included a May 2010 attack on a NATO convoy, a June 2011 attack on the

101 “Al-Samoud Interviews Sirajuddin al-Haqqani, the Military Official of the Mujahideen in Khost Province,” Al Samoud,

Issue 76, September 27, 2012, https://ent.siteintelgroup.com/Periodicals/afghan-taliban-magazine-interviews-sirajuddin-
haqqani-in-77th-issue.html (Ex. D).
102 Afghan Taliban, press release, “Statement of Islamic Emirate regarding America using name of conjured entity ‘Haqqani

Network’ and its black listing,” September 8, 2012, https://ent.siteintelgroup.com/Jihadist-News/afghan-taliban-claims-
kabul-suicide-bombing-slams-haqqani-designation.html (Ex. E).
103 Dressler, The Haqqani Network, p. 31.
104 Ibid., pp. 26, 27 & 31.
105 “Most Wanted: Sirajuddin Haqqani,” The Federal Bureau of Investigation, accessed on June 1, 2020,

https://www.fbi.gov/wanted/terrorinfo/sirajuddin-haqqani; Richard Oppel, “20 Dead as Kabul Attackers Storm Kabul
Offices,” The New York Times, February 11, 2009, https://www.nytimes.com/2009/02/12/world/asia/12afghan.html.



                                                           21
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 28 of 143



Intercontinental Hotel, an April 2012 attack on multiple Western targets, a June 2012 attack on a hotel,
a June 2013 attack on the Presidential Palace and an alleged CIA base, and a July 2014 attack on Kabul
airport.106

Third stage: 2015-present. 2015 marked another turning point in the relationship between the Haqqani
Network and the rest of the Taliban. Sirajuddin Haqqani became simultaneously the leader of the
Haqqani Network and the deputy emir of the Taliban, the group’s second-in-command.107 The
Haqqani-dominated Miranshah Shura seems to have become a more closely integrated component of
the Taliban under the Quetta Shura after Sirajuddin Haqqani’s appointment as the Taliban’s number
two leader.108

Mullah Mansour and then Mullah Akhundzada’s relative lack of military experience meant that
Sirajuddin Haqqani became the group’s de facto military leader. Although Sirajuddin had long been
involved in planning and executing Taliban terrorist campaigns, his newfound role gave him complete
control. One Taliban commander has said that the group’s commanders needed Sirajuddin’s approval
to change plans, while a former Haqqani commander reported that “no one can be appointed [as a
Taliban governor] without his advice,” and that “the influence of Sirajuddin in the Taliban’s ranks
seems to be just growing.”109 A Taliban spokesman added, “We can say that not only his military
obligations but all his obligations have increased.”110 American officials have publicly indicated that
they assess these statements by Taliban leaders as accurate. Brigadier General Charles Cleveland, the
spokesman for U.S. and NATO troops in Afghanistan, said in 2016 that “Sirajuddin increasingly runs
the day-to-day military operations for the Taliban, and, we believe, is likely involved in appointing
shadow governors.”111 This further strengthens the idea that the Haqqani Network is part of the
Taliban.

Such statements align with the Taliban’s personnel decisions, as Sirajuddin’s relatives assumed
increasingly prominent roles in the Taliban hierarchy. During the U.S.-Taliban negotiations, Sirajuddin
Haqqani’s younger brother, Anas, was part of the Taliban’s negotiating team.112 As previously
mentioned, Khalil Haqqani became the leader of the Peshawar Shura. That leadership change, in

106 Karin Brulliard, “Afghan intelligence ties Pakistani group Lashkar-i-Taiba to recent Kabul attack,” The Washington Post,

March 3, 2010, https://www.washingtonpost.com/wp-dyn/content/article/2010/03/02/AR2010030202427.html;
“Taliban launch coordinated Afghan attack,” CBS News, April 15, 2012, https://www.cbsnews.com/news/taliban-launch-
coordinated-afghan-attacks/; Alissa Rubin, Graham Bowley, and Sangar Rahimi, “Complex Attack by Taliban Sends
Message to West,” The New York Times, April 15, 2012, https://www.nytimes.com/2012/04/16/world/asia/attacks-near-
embassies-in-kabul.html; U.S. Department of State, “Rewards for Justice: Sirajuddin Haqqani,” Accessed on July 11, 2019,
https://rewardsforjustice.net/english/sirajuddin_haqqani.html; Alissa Rubin, “Taliban Strike Near Palace Inside Kabul,”
The New York Times, June 24, 2013, https://www.nytimes.com/2013/06/25/world/asia/explosions-heard-near-us-
embassy-in-kabul.html?hp; Carlotta Gall, “Terror Group Back on the Offensive in Afghanistan,” The New York Times, July
17, 2014, https://www.nytimes.com/2014/07/18/world/asia/kabul-airport-comes-under-attack-from-militants.html.
107 Leading Council of the Islamic Emirate of Afghanistan, press release, “Declaration of the Leading Council of the

Islamic Emirate regarding the appointment of new Amir (leader) of the Islamic Emirate,” July 31, 2015,
https://ent.siteintelgroup.com/Jihadist-News/afghan-taliban-appoints-new-leader-selects-haqqani-network-official-as-a-
deputy.html (Ex. A).
108 Giustozzi, Afghanistan: Taliban’s Organization and Structure, p. 9.
109 Mujib Mashal, “Haqqanis Steering Deadlier Taliban in Afghanistan, Officials Say,” New York Times, May 7, 2016.
110 Ibid.
111 Mashal, “Haqqanis Steering Deadlier Taliban in Afghanistan.”
112 Kathy Gannon, “U.S. Opens First Round of Resurrected Peace Talks with Taliban,” Associated Press, December 7,

2019.



                                                            22
            Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 29 of 143



addition to Sirajuddin Haqqani’s role in the Taliban, gave Haqqani Network leaders full control over
military operations well beyond their stronghold in Loya Paktia. Then, after Mullah Mansour became
less active, Sirajuddin Haqqani led several meetings of the Taliban’s leadership council.113 Such events
led U.S. and Afghan officials to conclude that the Taliban and Haqqani Network were becoming even
more closely integrated.114 In September 2021, following the conclusion of the U.S. withdrawal from
Afghanistan, the Taliban appointed a new government, which included Sirajuddin Haqqani as interior
minister and Khalil Haqqani as minister for refugees.

During this period, the Haqqani Network, as part of the KAN, continued to carry out sophisticated
attacks in Kabul. Outside of the attacks at issue in this case, for example, the Haqqani Network is
publicly alleged to have conducted a May 2015 attack on a hotel, a June 2015 attack on the Afghan
Parliament, an August 2015 bombing that killed American contractors, a May 2017 bombing targeting
Afghan intelligence officials, and a January 2018 attack on a hotel.115 However, given Sirajuddin
Haqqani’s role in the Taliban and the Haqqani Network’s military expertise, the Haqqani Network
likely participated in many other Kabul-based attacks.

Conclusion. Thus, the Haqqani Network clearly remained part of the Taliban throughout its insurgency.
The Haqqani Network worked extensively with other Taliban elements, including in attacking Western
and Afghan government targets in Kabul. As Sirajuddin Haqqani became the deputy emir of the
Taliban and intimately involved in the group’s day-to-day operations, the Haqqani Network and the
Taliban became even more closely integrated.

V.          The Structure of the Taliban Post-2001

When the Taliban governed much of Afghanistan before the U.S. intervention, the group relied on a
shura council (a leadership council akin to a theocratic junta) led by Mullah Omar to oversee its
governance. As the Taliban regrouped after its fall from power, the Taliban’s insurgency was largely
decentralized. This section provides an organizational overview of the Taliban’s insurgency and shows
that the group remained a singular, coordinated entity, despite limited, internal jockeying for power.

While the Taliban’s structure may seem odd to some scholars and practitioners who focus on highly
centralized insurgencies, the Taliban’s structure largely aligns with the U.S. Army’s concept of mission
command. The U.S. Army defines mission command as its “approach to command and control that


113 Ibid.
114 Ibid.
115 “Afghanistan: Pakistan officer involved in parliament attack,” The Associated Press, June 24, 2015,

https://apnews.com/2f25ee3afaf549e2a5e9aa515e59ecfc/afghanistan-pakistan-officer-involved-parliament-attack;
Jessica Lewis McFate, Rob Denaburg, and Caitlin Forrest, “Afghanistan Threat Assessment: The Taliban and ISIS,”
(Washington,        D.C.:   Institute    for   the     Study    of    War,     December      10,    2015),     p.    4,
http://www.understandingwar.org/sites/default/files/Afghanistan%20Threat%20Assessment_The%20Taliban%20and
%20ISIS_3.pdf; Mujib Mashal, Fahim Abed, and Jawad Sukhanyar, “Deadly Bombing in Kabul Is One of the Afghan
War’s Worst Strikes,” The New York Times, May 31, 2017, https://www.nytimes.com/2017/05/31/world/asia/kabul-
explosion-afghanistan.html; Ali M. Latifi, “Two with Pakistani Terror Ties Held in Afghan Hotel Attack that Killed 14,”
Los Angeles Times, June 3, 2015, https://www.latimes.com/world/afghanistan-pakistan/la-fg-two-with-pakistani-terror-
ties-arrested-in-afghan-hotel-attack-20150603-story.html; Mohammad Halim Karimi, “Haqqani Network behind Kabul
hotel       attack:       MoI,”      Pajhwok     Afghan      News       (Afghanistan),     January      21,       2018,
https://www.pajhwok.com/en/2018/01/21/haqqani-network-behind-kabul-hotel-attack-moi.



                                                          23
         Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 30 of 143



empowers subordinate decision making and decentralized execution appropriate to the situation.”116
Mission command recognizes that war can be “chaotic and uncertain,” and high-level commanders
cannot and should not micromanage operations.117 As a result, the senior leadership often provides
training to fighters and sets the broader objectives of a campaign but allows junior commanders and
fighters to determine how to execute operations and meet objectives. This approach describes the
Taliban’s structure. Indeed, networked insurgencies are becoming more common, as technological
advances improve communications between disparate locations.

The Taliban’s central leadership sets the high-level objectives for Taliban fighters, sometimes
organizes training for fighters, serves as a centralized source of funding, and leverages a set of tools
to influence the behavior of shuras and fronts throughout Afghanistan. However, it has avoided
micromanaging operations around the country.

The Role of the Emir and the Leadership Council (Rahbari Shura). In general, the Taliban has three echelons
of high-level leadership: the emir, the leadership council (Rahbari Shura), and the regional shuras. The
Taliban refer to their top leader as Emir al-Mu’minin, meaning commander of the faithful in Arabic
and a title historically used by the caliphs of Muslim empires. From the start of the insurgency until
the delayed announcement of his death, Taliban fighters considered Mullah Omar to be their emir.
Despite Omar’s official role, he was removed from day-to-day management of the organization due
to health and security concerns. According to Antonio Giustozzi’s interviews with Taliban leaders,
Mullah Omar rarely appeared at meetings of the Rahbari Shura.118 As a result, Mullah Omar’s deputy
made most of the decisions. Mullah Baradar served in this role until his capture, which allowed Mullah
Mansour to assume the role of Mullah Omar’s deputy. When Mansour officially became the emir in
2015, Sirajuddin Haqqani and Haibatullah Akhundzada became his deputies as previously mentioned.
When Mansour died in a U.S. drone strike, Akhundzada took over as emir, kept Haqqani as one
deputy, and added Mullah Omar’s son, Mohammed Yaqoob, as another deputy.119

The Rahbari Shura sits below the emir and his deputies in the organizational hierarchy of the Taliban.
However, a deputy emir has traditionally chaired the Rahbari Shura.120 As previously mentioned, the
Rahbari Shura, based in the Pakistani city of Quetta, initially included senior figures in the Taliban’s
former government and commanders of the nascent insurgency. A U.N. report describes the group
as the top decision-making body for the Taliban’s “political and military affairs.”121 Gen. David Barno,
who commanded U.S. forces in Afghanistan, described the Rahbari Shura as the “the intellectual and

116  United States Army, ADP 6-0: Mission Command: Command and Control of Army Forces (July 2019), p. 1-3,
https://armypubs.army.mil/epubs/DR_pubs/DR_a/ARN18314-ADP_6-0-000-WEB-3.pdf.
117 United States Army, ADP 6-0: Mission Command: Command and Control of Army Forces (July 2019), p. 1-3-1-4,

https://armypubs.army.mil/epubs/DR_pubs/DR_a/ARN18314-ADP_6-0-000-WEB-3.pdf.
118 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 1364.
119 Taliban’s History Department of Commission for Cultural Affairs, “Introduction [of Mullah Haibatullah Akhundzada],

December 14, 2016, https://ent.siteintelgroup.com/Statements/afghan-taliban-posts-introduction-of-leader-describes-
him-as-key-element-for-ongoing-jihad-in-afghanistan.html (Ex. F).
120 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 1364; United Nations Analytical Support and

Sanctions Monitoring Team, Fourth report of the Analytical Support and Sanctions Monitoring Team submitted pursuant to resolution
2082 (2012) concerning the Taliban and other associated individuals and entities constituting a threat to the peace, stability and security of
Afghanistan (2014), p. 26.
121 United Nations Analytical Support and Sanctions Monitoring Team, Fifth Report of the Analytical Support and Sanctions

Monitoring Team, Submitted Pursuant to Resolution 2160 (2014) Concerning the Taliban and Other Associated Individuals and Entities
Constituting a Threat to the Peace, Stability and Security of Afghanistan (2014), p. 22.



                                                                     24
         Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 31 of 143



ideological underpinning of the Taliban insurgency in Afghanistan.”122 Those descriptions of the
Rahbari Shura as the brain trust of the insurgency are justified.

The Rahbari Shura exercised substantial control over several levers of power: setting high-level Taliban
strategic objectives, appointing key officials, and managing much of the organization’s finances. It
typically provides high-level guidance to Taliban commanders in Afghanistan, often through meetings
with senior commanders and a regularly updated document called the “Rulebook for the Mujahedin
of the Islamic Emirate of Afghanistan.”123 Since the early days of the Taliban insurgency, the Rahbari
Shura has technically been responsible for appointing shadow provincial and district governors
throughout Afghanistan, but frequently makes appointments in consultation with or delegates
appointments to the Rahbari Shura’s military commission and regional shuras.124 These appointments,
however, ensure that the Rahbari Shura has some ability to closely monitor and control Taliban
operations throughout the country. The shura has also tried to centralize finances by demanding that
local commanders collect taxes and provide a portion to the Rahbari Shura, allowing it to dole out
funds to high-priority areas and loyal commanders.125 While a U.N. report estimates that approximately
31% of the Taliban’s total revenue never reached the central leadership, the Rahbari Shura’s control
of over two-thirds of the group’s total revenue, estimated at $275 million, indicates that the shura had
the financial power to determine the Taliban’s priorities and influence the behavior of its commanders
throughout the country.126 It is worth noting that the Rahbari Shura’s financial influence over Taliban
operations is institutionalized through the Taliban’s official Code of Conduct. According to the Code,
Taliban soldiers must provide 20% of any spoils captured in battle to the shadow provincial governor.
The Code also states that “disputes on issues related to businesses and companies should be referred
to the leadership.”127

In addition to controlling those levers of power, the Rahbari Shura oversees a set of commissions
responsible for the execution of the Rahbari Shura’s decisions, such as a military commission, a
political commission, and a religious commission.128 The military commission often played a major
role in the appointments of governors.129 That commission has also played a key role in planning

122 Eric Schmitt & Mark Mazzetti, “Taliban Haven in Pakistani City Raises Fears,” The New York Times, February 9, 2009.
123 Abubakar Siddique, “The Quetta Shura: Understanding the Afghan Taliban’s Leadership,” Terrorism Monitor 12:4

(February 21, 2014), https://jamestown.org/program/the-quetta-shura-understanding-the-afghan-talibans-leadership/;
Jeffrey Dressler and Carl Forsberg, Backgrounder: The Quetta Shura Taliban (Washington, D.C.: Institute for the Study of
War, December 2009), p.3, http://www.understandingwar.org/sites/default/files/QuettaShuraTaliban_1.pdf.
124 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 707, 1742; United Nations Analytical Support and

Sanctions Monitoring Team, Eleventh report of the Analytical Support and Sanctions Monitoring Team submitted pursuant to resolution
2501 (2019) concerning the Taliban and other associated individuals and entities constituting a threat to the peace, stability and security of
Afghanistan (2020), p. 25.
125 Gretchen Peters, “The Taliban and the Opium Trade,” in ed. Antonio Giustozzi, Decoding the New Taliban (New York:

Columbia University Press, 2009), p. 13.
126 United Nations Analytical Support and Sanctions Monitoring Team, First report of the Analytical Support and Sanctions

Implementation Monitoring Team submitted pursuant to resolution 1988 (2011) concerning the Taliban and associated individuals and entities
(2012), p. 13.
127 Gretchen Peters, Crime and Insurgency in the Tribal Areas of Afghanistan and Pakistan (West Point, NY: Combating Terrorism

Center, October 15, 2010), pp. 16-17.
128 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 880.
129 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 707, 1742; United Nations Analytical Support and

Sanctions Monitoring Team, Eleventh report of the Analytical Support and Sanctions Monitoring Team submitted pursuant to resolution
2501 (2019) concerning the Taliban and other associated individuals and entities constituting a threat to the peace, stability and security of
Afghanistan (2020), p. 25.



                                                                     25
         Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 32 of 143



terrorist attacks by the Taliban. According to a report from the United States Institute of Peace, the
military commission is further divided into two primary divisions—east and west—and there are
further sub-divisions at the provincial and regional levels. The commission interfaces with local
Taliban commanders and helps coordinate certain widescale terrorist initiatives, such as the Taliban’s
annual spring offensive.130 Mullah Dadullah, one of the original members of the Rahbari Shura and a
top military commander in the south, initially led the military commission. After Dadullah’s death,
Mullah Mansour led the commission. Around the time when Mansour became the deputy emir, Abdul
Qayyum Zakir, a top military commander, took over the chairmanship of the military commission.131

While the emir and the Rahbari Shura are powerful entities with control over Taliban elements around
the country, the emir and the Rahbari Shura have delegated substantial power to more local entities.
These local entities have consistently pushed for more power and control over their own operations,
and the Rahbari Shura has generally consented to this structure and coordinated with these entities.
After describing these entities and overviewing their operations and structures, I will describe the logic
behind this structure.

Regional shuras. In general, regional shuras (which are subordinate to the Taliban’s overarching military
commission) have been the top entities operating underneath the Rahbari Shura. The regional shuras’
existence reflects two fundamental dynamics: the Rahbari Shura’s incorporation of well-organized
shuras with regional power bases like the Haqqani-dominated Miranshah Shura and the need to
decentralize some aspects of terrorist operations. Outside of the Taliban’s historical stronghold in
greater Kandahar, the Taliban’s regional shuras exercised substantial control over their operations.132
For example, they often played a leading role in the appointment of governors and local
commanders.133 On occasion, they also clashed with the Rahbari Shura, demanding more resources
and power at the local level as well as within the Rahbari Shura. However, as I will detail later, the
regional shuras pledged allegiance to the Taliban’s emir, cooperated with each other, and often
accepted representatives from the Rahbari Shura to participate in the shuras’ decision-making.134 In
return, the Rahbari Shura would typically allow key members of the regional shuras to sit on the
Rahbari Shura and provide funding to carry out attacks to these regional shuras.135 These regional
shuras, while all part of the Taliban, embraced different structures to oversee their operations,
personnel, and resources. In some shuras, decentralized fronts played key roles. In others, command
and control became highly centralized.


130 Ashley Jackson & Rahmatullah Amiri, Insurgent Bureaucracy: How the Taliban Makes Policy (Washington, D.C.: United States

Institute of Peace, 2019), pp. 8, 11.
131 United Nations Analytical Support and Sanctions Monitoring Team, First report of the Analytical Support and Sanctions

Implementation Monitoring Team submitted pursuant to resolution 1988 (2011) concerning the Taliban and associated individuals and entities
(2012), p. 24; John Foulkes, “Iran’s Taliban Connection: Mullah Abdul Qayyum Zakir,” Militant Leadership Monitor 11:6
(July 2, 2020), https://jamestown.org/brief/irans-taliban-connection-mullah-abdul-qayyum-zakir/.
132 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 1748.
133 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 1748; Antonio Giustozzi, The Taliban at War: 2001-

2018, Kindle ed., loc. 4655.
134 United Nations Analytical Support and Sanctions Monitoring Team, First report of the Analytical Support and Sanctions

Implementation Monitoring Team submitted pursuant to resolution 1988 (2011) concerning the Taliban and associated individuals and entities
(2012), p. 24-27; Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 2238.
135 United Nations Analytical Support and Sanctions Monitoring Team, First report of the Analytical Support and Sanctions

Implementation Monitoring Team submitted pursuant to resolution 1988 (2011) concerning the Taliban and associated individuals and entities
(2012), p. 24-27; Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 1704.



                                                                   26
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 33 of 143



These shuras merit additional discussion for two reasons. First, three regional shuras in Miranshah,
Quetta, and Peshawar—acting as part of the Taliban—are likely responsible for the vast majority of
attacks described in the Cabrera v. Iran complaint. Two others—the Mashhad Shura and the Shura of
the North—may have conducted a minority of attacks described in the complaint. Second, a small
minority of researchers have attempted to portray the Taliban as multiple organizations with the
Haqqani Network, for example, as different from the Taliban.136 Other scholars have framed these
shuras as autonomous. As I will detail, the former assertion is inaccurate, and the latter assertion is
misleading. These shuras’ words and actions demonstrate they are part of the Taliban. While they
exercised substantial control over their operations, they are also not islands detached from the rest of
the Taliban, as “autonomous” implies. These shuras coordinated and cooperated with each other as
well as the central Taliban leadership. The Miranshah Shura is an archetypal example of that.

1. Formed on February 14, 2003 by the Haqqani Network, the Miranshah Shura predates the Rahbari
Shura and is arguably the most powerful regional shura.137 As previously mentioned, Jalaluddin
Haqqani and his followers formed the shura to organize their nascent insurgency in southeastern
Afghanistan. In return for funding and two seats on the Rahbari Shura, the Miranshah Shura
recognized the Rahbari Shura’s authority soon after its creation.138 Based on an agreement with the
central Taliban leadership, the Haqqanis’ Miranshah Shura has operational control over Loya Paktia
and Logar Province.139 However, it has also been active in Wardak Province and the “preeminent”
force in Kabul, although the Peshawar Shura nominally oversees Taliban operations in these areas.140
While prior sections described the Haqqani Network and its Miranshah Shura in detail, I want to
provide some additional information on the internal organization of the Miranshah Shura and its area
of operations.

Overall, the Miranshah Shura centralized its command and control and tightly controlled the allocation
of resources and weapons.141 Based on interviews with Miranshah Shura leaders, Giustozzi reported
that the shura created four mission-specific commissions to carry out its military operations.142 The
Zerbati Commission handled village militias. The Delayez Commission oversaw full-time mobile
fighting units. The De Minena commission directed operations related to improvised explosive devices
(IEDs). The Fedayin Commission conducted the shura’s special operations attacks and suicide
bombings, including the Haqqanis’ attacks in Kabul.

2. The United Nations Analytical Support and Sanctions Monitoring Team, Afghanistan scholar
Thomas Ruttig, and counterterrorism analyst Bill Roggio have indicated that the Rahbari Shura, at

136 Peter Bergen, “Al Qaeda, the Taliban, and other Extremist Groups in Afghanistan and Pakistan,” Testimony before

the U.S. Senate Committee on Foreign Relations, May 24, 2011, https://www.govinfo.gov/content/pkg/CHRG-
112shrg67892/html/CHRG-112shrg67892.htm.
137 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 688.
138 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 757.
139 Thomas Ruttig, “Loya Paktia’s Insurgency, Part I,” in ed. Antonio Giustozzi, Decoding the New Taliban (New York:

Columbia University Press, 2009), p. 61; Antonio Giustozzi, “Afghanistan: Taliban’s Organization and Structure,” Oslo
Norwegian Country of Origin Information Centre, 2017, p. 9, https://landinfo.no/asset/3589/1/3589_1.pdf.
140 Thomas Ruttig, The Other Side: Dimensions of the Afghan Insurgency: Causes, Actors, and “Approaches to Talks,” (Kabul,

Afghanistan: Afghanistan Analysts Network, July 2009), p. 11-12, https://www.afghanistan-analysts.org/wp-
content/uploads/downloads/2012/10/200907-AAN-Report-Ruttig-The-Other-Side.pdf; Antonio Giustozzi, The Taliban
at War: 2001-2018, Kindle ed., loc. 1886.
141 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 1872.
142 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 1840.




                                                           27
         Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 34 of 143



some point early in the insurgency, delegated authority to a regional shura also based in Quetta to
oversee Taliban terrorist activities in southern Afghanistan and initially in western Afghanistan as
well.143 The Quetta regional shura reportedly maintains a close relationship with the Rahbari Shura, a
logical connection given the presence of both shuras in Quetta and several individuals on both
shuras.144 For example, a 2012 U.N. report indicates that the Quetta regional shura’s chair, Ismail
Andar, and another member of the shura, Abdul Latif Mansour, served on the Rahbari Shura while
Said Ahmad Shahidkhel served on both the Quetta regional shura and the Rahbari Shura’s military
commission.145

Giustozzi’s interviews with Taliban leaders yield some insight into the internal operations of this
regional shura.146 In general, commands would emanate on down from the regional shura to shadow
provincial governors to shadow district governors to group commanders.147 The governors would
have a political and military role, planning operations but also interfacing with local elders.148 Many
commanders of fronts (mahaz), or large fronts (loy mahaz), often established prior to the Rahbari Shura
based on familial or tribal ties, would serve as provincial or district governors.149 However, if governors
lacked these ties to fighters on the ground, the system was vulnerable to the creation of parallel chains
of command with competing front commanders and governors. There is some evidence that the
Quetta regional shura also created sub-shuras for particular districts. For example, Bill Roggio in 2010
and Thomas Ruttig in 2009 noted that the Taliban had a shura in the Gerdi Jangal refugee camp in
Pakistan that oversaw Taliban operations in Helmand Province.150 This Gerdi Jangal Shura was likely

143    Bill Roggio, “The Afghan Taliban’s Top Leaders,” Long War Journal, February 23, 2010,
https://www.longwarjournal.org/archives/2010/02/the_talibans_top_lea.php; Thomas Ruttig, “Loya Paktia’s
Insurgency, Part I,” in ed. Antonio Giustozzi, Decoding the New Taliban (New York: Columbia University Press, 2009), p.
61; United Nations Analytical Support and Sanctions Monitoring Team, First report of the Analytical Support and Sanctions
Implementation Monitoring Team submitted pursuant to resolution 1988 (2011) concerning the Taliban and associated individuals and entities
(March       2012),      pp.     26,     https://www.securitycouncilreport.org/atf/cf/%7B65BFCF9B-6D27-4E9C-8CD3-
CF6E4FF96FF9%7D/s_2012_683.pdf.
144 Thomas Ruttig, “Loya Paktia’s Insurgency, Part I,” in ed. Antonio Giustozzi, Decoding the New Taliban (New York:

Columbia University Press, 2009), p. 61; United Nations Analytical Support and Sanctions Monitoring Team, First report of
the Analytical Support and Sanctions Implementation Monitoring Team submitted pursuant to resolution 1988 (2011) concerning the Taliban
and          associated         individuals         and          entities       (March             2012),           pp.          26-27,
https://www.securitycouncilreport.org/atf/cf/%7B65BFCF9B-6D27-4E9C-8CD3-
CF6E4FF96FF9%7D/s_2012_683.pdf.
145 United Nations Analytical Support and Sanctions Monitoring Team, First report of the Analytical Support and Sanctions

Implementation Monitoring Team submitted pursuant to resolution 1988 (2011) concerning the Taliban and associated individuals and entities
(March 2012), pp. 26-27, https://www.securitycouncilreport.org/atf/cf/%7B65BFCF9B-6D27-4E9C-8CD3-
CF6E4FF96FF9%7D/s_2012_683.pdf.
146 Giustozzi does not use the term “Quetta regional military shura.” However, he explicitly notes on p. 6 of his report

titled Afghanistan: Taliban’s Organization and Structure that, “Quetta Shura for example is a shorthand for the Rahbari Shura
(Leadership Council), but also for the commissions, offices, and armed groups that operate under the nominal authority
of the Quetta Shura.” His discussion of the Taliban’s organization of the south clearly would impact the Quetta regional
military shura.
147 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 789.
148 Antonio Giustozzi, “Afghanistan: Taliban’s Organization and Structure,” (Oslo: Norwegian Country of Origin

Information Centre, 2017), p. 14, https://landinfo.no/asset/3589/1/3589_1.pdf.
149 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 772-788.
150    Bill Roggio, “The Afghan Taliban’s Top Leaders,” Long War Journal, February 23, 2010,
https://www.longwarjournal.org/archives/2010/02/the_talibans_top_lea.php; Thomas Ruttig, The Other Side: Dimensions
of the Afghan Insurgency: Causes, Actors, and “Approaches to Talks,” (Kabul, Afghanistan: Afghanistan Analysts Network, July
2009), p. 16, https://www.afghanistan-analysts.org/wp-content/uploads/downloads/2012/10/200907-AAN-Report-
Ruttig-The-Other-Side.pdf.



                                                                   28
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 35 of 143



subordinate to the broader Quetta regional shura. This internal structure differed in key ways from
the structure of the Taliban’s shura in the east and north, the Peshawar Shura.

3. In 2005, a group of Taliban leaders and former HIG leaders formed the Peshawar Shura, named
for the city of Peshawar in northwestern Pakistan, to coordinate the Taliban insurgency in eastern and
northeastern Afghanistan, particularly outside of the Haqqanis’ strongholds.151 The shura would go on
to control Taliban operations in Nangarhar, Laghman, Kunar, Nuristan, Wardak, Parwan, Kapisa
Provinces.152 The Peshawar Shura also exerts influence in Kabul in cooperation with the Haqqani
Network-led Miranshah Shura. Before the emergence of ISIS-Khorasan Province (ISIS-K) in 2015,
the Peshawar Shura was likely responsible for the large majority of attacks targeting U.S. troops in
these provinces.

The Peshawar Shura’s structure borrowed some features from other Taliban shuras. Like the Rahbari
Shura, the Peshawar Shura oversaw a number of commissions responsible for various functions, such
as military operations, fundraising, and training.153 Like the Miranshah Shura, the Peshawar Shura was
relatively centralized.154 Professor Theo Farrell, the former head of the War Studies department at
King’s College London, noted that this centralized structure “involved the creation of provincial
military commissions to plan large-scale operations, manage logistics, and deal with disputes between
front commanders, as well as the appointment of district military commissioners (Nizami Massuleen)
to ensure that field commanders complied with direction from the Peshawar Shura.”155 The Peshawar
Shura also extensively coordinated with these other shuras.

According to Giustozzi’s interviews with Taliban officials, the Rahbari Shura coordinated through
several channels with the Peshawar Shura. The Peshawar Shura allowed a representative from the
Rahbari Shura to sit on the Peshawar Shura.156 Peshawar Shura representatives participated in meetings
of the Rahbari Shura.157 The Rahbari Shura sent fighters to work with the Peshawar Shura, whom the
Peshawar Shura then paid.158 The Peshawar Shura sent money to the Rahbari Shura.159 The Peshawar
Shura and the Rahbari Shura also negotiated over the “territorial partition of responsibility, control,
taxation, and recruitment.”160

151 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 1088; Bill Roggio, “The Afghan Taliban’s Top

Leaders,”              Long              War               Journal,             February             23,               2010,
https://www.longwarjournal.org/archives/2010/02/the_talibans_top_lea.php.
152 Thomas Ruttig, “Loya Paktia’s Insurgency, Part I,” in ed. Antonio Giustozzi, Decoding the New Taliban (New York:

Columbia University Press, 2009), p. 61; Antonio Giustozzi, “Afghanistan: Taliban’s Organization and Structure,” Oslo
Norwegian Country of Origin Information Centre, 2017, p. 9, https://landinfo.no/asset/3589/1/3589_1.pdf.
153 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 2236; U.S. Department of the Treasury, press release,

“Treasury Sanctions Taliban and Haqqani Network Financiers and Facilitators,” January 28, 2018,
https://home.treasury.gov/news/press-releases/sm0265.
154 Theo Farrell, “Unbeatable: Social Resources, Military Adaptation, and the Afghan Taliban,” Texas National Security Review

1:3     (May        2018),     https://tnsr.org/2018/05/unbeatable-social-resources-military-adaptation-and-the-afghan-
taliban/#_ftnref38.
155 Theo Farrell, “Unbeatable: Social Resources, Military Adaptation, and the Afghan Taliban,” Texas National Security Review

1:3     (May        2018),     https://tnsr.org/2018/05/unbeatable-social-resources-military-adaptation-and-the-afghan-
taliban/#_ftnref38.
156 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 2240.
157 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 2358.
158 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 2326
159 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 2223.
160 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 2358.




                                                            29
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 36 of 143




U.S. and U.N. sanctions indicate that there are some personnel connections between these shuras.
According to U.S. Treasury Department and U.N. Security Council sanctions, Abdul Qadeer Baseer
led the Finance Commission of the Peshawar Shura, served on the central Taliban finance committee,
and “hosted a meeting of the Senior Shura [Rahbari Shura] to plan for the spring 2015 fighting
season.”161 Sadr Ibrahim, according to the U.S. Treasury, led the Taliban’s central military commission
after having served on the Peshawar Shura’s military commission.162 Finally, the U.S. Treasury
Department sanctioned Maulawi Inayatullah who served at different times as a member of the
Peshawar Shura, the deputy leader of the Taliban’s central military commission, and the “overall
Taliban member responsible for attacks against Afghan and Coalition Forces in Kabul,
Afghanistan.”163 These sanctions, in particular, demonstrate the personnel links between the financial
and military operations of the Peshawar and Rahbari Shuras.

To be clear, this coordination does not mean that the relationship between the two shuras was devoid
of infighting, as typically occurs between commanders in any insurgency. The two shuras clashed over
the appointment of governors in Peshawar Shura territory, for example. The Peshawar Shura wanted
the Rahbari Shura to appoint local representatives rather than southern Pashtuns.164 The Peshawar
Shura, while never publicly challenging the primacy of the Rahbari Shura, did not want the Rahbari
Shura to micromanage the Taliban’s operations in the Peshawar Shura’s traditional areas of
operations.165 Nevertheless, the Peshawar Shura never reneged on its pledge of allegiance to Mullah
Omar and consistently coordinated with the Rahbari Shura.166

The Peshawar Shura arguably had a closer relationship with the Haqqanis’ Miranshah Shura than the
Rahbari Shura. The Haqqanis formally allied with the Peshawar Shura and placed multiple
representatives on the Peshawar Shura.167 Both groups worked together as part of the Kabul Attack
Network and in eastern Afghanistan. Sirajuddin Haqqani was also reportedly close with the Peshawar
Shura’s military chief, Qari Baryal.168 After becoming one of the Taliban’s deputy emirs, Haqqani

161 U.S. Department of the Treasury, press release, “Treasury Sanctions Taliban and Haqqani Network Financiers and

Facilitators,” January 28, 2018, https://home.treasury.gov/news/press-releases/sm0265; United Nations Security
Council, “ABDUL QADEER BASIR ABDUL BASEER,” First listed on January 25, 2001,
https://www.un.org/securitycouncil/sanctions/1988/materials/summaries/individual/abdul-qadeer-basir-abdul-baseer.
162 U.S. Department of the Treasury, press release, “Treasury and the Terrorist Financing Targeting Center Partners

Sanction Taliban Facilitators and their Iranian Supporters,” October 23, 2018, https://home.treasury.gov/news/press-
releases/sm532.
163 U.S. Department of the Treasury, press release, “Treasury Sanctions Taliban and Haqqani Network Financiers and

Facilitators,” January 25, 2018, https://home.treasury.gov/news/press-releases/sm0265.
164 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 1999.
165 Theo Farrell, “Unbeatable: Social Resources, Military Adaptation, and the Afghan Taliban,” Texas National Security Review

1:3      (May       2018),     https://tnsr.org/2018/05/unbeatable-social-resources-military-adaptation-and-the-afghan-
taliban/#_ftnref38; Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 1992.
166 Theo Farrell, “Unbeatable: Social Resources, Military Adaptation, and the Afghan Taliban,” Texas National Security Review

1:3      (May       2018),     https://tnsr.org/2018/05/unbeatable-social-resources-military-adaptation-and-the-afghan-
taliban/#_ftnref38.
167 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 2203; United Nations Analytical Support and

Sanctions Monitoring Team, First report of the Analytical Support and Sanctions Implementation Monitoring Team submitted pursuant
to resolution 1988 (2011) concerning the Taliban and associated individuals and entities (March 2012), p. 27,
https://www.securitycouncilreport.org/atf/cf/%7B65BFCF9B-6D27-4E9C-8CD3-
CF6E4FF96FF9%7D/s_2012_683.pdf.
168 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 2212.




                                                              30
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 37 of 143



installed his brother Khalil as the leader of the Peshawar Shura.169 These connections reinforce that
the Peshawar Shura, like all regional shuras, was part of the broader Taliban organization.

4. Founded two years after the formation of the Peshawar Shura, the Mashhad Shura initially opened
in 2007 as an office of the Rahbari Shura in Mashhad, Iran.170 The Mashhad Office had a diplomatic
and military function. While Giustozzi reported that the Taliban charged the Mashhad Office with
overseeing operations in western Afghanistan, it also served as a “liaison office between the Taliban
and the IRGC.”171 The Mashhad office, however, became a regional shura in its own right for two
reasons. First, Iranian support substantially bolstered the office through financing, training, providing
sophisticated weaponry, and opening two bases for the Taliban in the Iranian cities of Zahedan and
Sistan.172 Second, important Taliban commanders like Mullah Zakir joined the Mashhad Shura and
brought loyal fighters with them.173 These changes yielded territorial gains. Giustozzi wrote that, as of
2017, “The Mashhad Shura claims authority over western Afghanistan (Herat, Badghis, Ghor, Nimruz
and Farah) but is also further expanding operations towards the south (Helmand, Kandahar, Zabul
and Ghazni) and towards the north (Faryab, Jowzjan, Kunduz).”174 Given its reported expansion in
2017 towards the south, the Mashhad Shura could have played a role in attacks occurring in Helmand
during or after that year.

As the Mashhad Shura grew increasingly powerful, its internal structure and relationship with the rest
of the Taliban evolved. The shura transformed from primarily a liaison office for different Taliban
elements to a centralized military organization. According to Giustozzi, ten representatives from
different Taliban elements initially led the Mashhad Office.175 For example, the Haqqani Network
reportedly had two representatives there “to liaise with the Revolutionary Guards.”176 As the Mashhad
Office became the Mashhad Shura, the Shura established its own structure with its own military
commission led by Zakir.177 Largely due to Zakir’s influence, the shura adopted a structure similar to
the Peshawar Shura’s district military commissioners (Nizami Massuleen).178 The military commissioner
system allowed the shura to centralize command and control of its operations.

The Mashhad Shura’s relationship with the Rahbari Shura similarly evolved over the course of the
Taliban’s insurgency. The Rahbari Shura exercised unchallenged control over the Mashhad Shura until
2014.179 In 2014, the Mashhad Shura asserted greater control over its operations due to the arrival of

169 Antonio Giustozzi, “Afghanistan: Taliban’s Organization and Structure,” (Oslo: Norwegian Country of Origin

Information Centre, 2017), p. 8, https://landinfo.no/asset/3589/1/3589_1.pdf.
170 Mohamed Arsalai and Will Patrick, “Iran’s Shifting Afghan Alliances Don’t Fit Easy Narratives,” Foreign Policy, February

18,    2020,    https://foreignpolicy.com/2020/02/18/suleimani-war-quds-iran-shifting-afghan-alliances-dont-fit-easy-
narratives/; Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 4587.
171 Mohamed Arsalai and Will Patrick, “Iran’s Shifting Afghan Alliances Don’t Fit Easy Narratives,” Foreign Policy, February

18,    2020,    https://foreignpolicy.com/2020/02/18/suleimani-war-quds-iran-shifting-afghan-alliances-dont-fit-easy-
narratives/; Antonio Giustozzi, The Taliban at War: 2001-2018 (Oxford, UK: Oxford University Press, 2019).
172 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 4587.
173 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 4651.
174 Antonio Giustozzi, “Afghanistan: Taliban’s Organization and Structure,” (Oslo: Norwegian Country of Origin

Information Centre, 2017), p. 7, https://landinfo.no/asset/3589/1/3589_1.pdf.
175 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 4622.
176 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 1830.
177 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 4690.
178 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 4691.
179 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 3642, 4592.




                                                            31
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 38 of 143



Mullah Zakir and the shura’s substantial backing from Iran.180 For the next two years, the relationship
between the Rahbari Shura and the Mashhad Shura was tense.181 However, Giustozzi’s interviews with
Taliban leaders reveal three pieces of evidence that suggest the Mashhad Shura remained part of the
Taliban. First, the Mashhad Shura allowed the Rahbari Shura to continue appointing governors in its
territory, whom the Mashhad Shura paid.182 Second, the Rahbari Shura allowed the Mashhad Shura to
participate in high-level Taliban meetings, including at the Taliban’s office in Qatar.183 Third, the
Mashhad Shura also coordinated with the Rahbari Shura to produce Taliban propaganda.184 The
Mashhad Shura thus remained part of the Taliban despite its push for greater control.

5. In late 2015, another Taliban shura emerged. Giustozzi reported that a key element of the Peshawar
Shura broke off to form the Shura of the North under Qari Baryal, the former head of Peshawar’s
military commission.185 The formation of the Shura of the North coincided with the Haqqanis’
takeover of the Peshawar Shura and, more importantly, a bout of financial difficulties for the Peshawar
Shura.186 Several reports and articles mention this shura but rarely provide details to confirm
Giustozzi’s more detailed account of its activities.187 However, this shura deserves a brief discussion,
given its potential impact on a few attacks in this case.

The Shura of the North quickly found its own source of funding and began to gain ground in northern
Afghanistan. According to Giustozzi, former Pakistani Ambassador to the U.S. Husain Haqqani, and
Javid Ahmad, a senior fellow at the Atlantic Council think tank, the shura has received substantial
support from Iran.188 That funding helped the shura pay its fighters and conduct operations. Based
on Giustozzi’s interviews with “senior cadre” of the Shura of the North in March 2017, this shura
claimed “authority over north-eastern Afghanistan and Kapisa, but is also expanding operations into
Laghman, Nangarhar and northern Afghanistan.”189 As a result, this shura may have impacted some
attacks in the complaint, particularly those in Nangarhar Province after its formation in 2015.

While asserting control over its own operations, the Shura of the North cooperated extensively with
the Rahbari Shura. Antonio Giustozzi also wrote that “in the north-east in 2017, for example, large-
scale attacks were all joint operations between the [Rahbari] Shura and the Shura of the North.”190


180 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 4642, 4664, 4714.
181  Antonio Giustozzi, “Afghanistan: Taliban’s Organization and Structure,” (Oslo: Norwegian Country of Origin
Information Centre, 2017), p. 11, https://landinfo.no/asset/3589/1/3589_1.pdf.
182 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 4655.
183 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 4655.
184 Antonio Giustozzi, “Afghanistan: Taliban’s Organization and Structure,” (Oslo: Norwegian Country of Origin

Information Centre, 2017), p. 11, https://landinfo.no/asset/3589/1/3589_1.pdf.
185 Antonio Giustozzi, “Afghanistan: Taliban’s Organization and Structure,” (Oslo: Norwegian Country of Origin

Information Centre, 2017), p. 6 and 8, https://landinfo.no/asset/3589/1/3589_1.pdf.
186 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 5499.
187 Javid Ahmad and Husain Haqqani, “What does Soleimani's death mean for Afghanistan?,” The Hill, February 6, 2020,

https://thehill.com/opinion/international/481884-what-does-soleimanis-death-mean-for-afghanistan.
188 Javid Ahmad and Husain Haqqani, “What does Soleimani's death mean for Afghanistan?,” The Hill, February 6, 2020,

https://thehill.com/opinion/international/481884-what-does-soleimanis-death-mean-for-afghanistan;          Antonio
Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 5510.
189 Antonio Giustozzi, “Afghanistan: Taliban’s Organization and Structure,” (Oslo: Norwegian Country of Origin

Information Centre, 2017), p. 7, https://landinfo.no/asset/3589/1/3589_1.pdf.
190 Antonio Giustozzi, “Afghanistan: Taliban’s Organization and Structure,” (Oslo: Norwegian Country of Origin

Information Centre, 2017), p. 11-12, https://landinfo.no/asset/3589/1/3589_1.pdf.



                                                           32
          Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 39 of 143



Like the Mashhad Shura, the Shura of the North coordinated propaganda-related activities with the
Rahbari Shura.191 As a result, the Shura of the North was part of the broader Taliban organization.

This detailed account of the Taliban’s inner workings demonstrates the coherence of the Taliban’s
structure. In summary:

         The regional shuras pledged allegiance to Mullah Omar and his successors and never publicly
          challenged the primacy of the Rahbari Shura as the Taliban’s central leadership body.
         The Taliban leadership has typically provided high-level guidance to Taliban commanders in
          Afghanistan through meetings with senior commanders and a rulebook.192 This guidance has
          helped regulate the conduct of Taliban fighters throughout Afghanistan. When commanders
          have diverged from this guidance, the Rahbari Shura leadership has punished some of these
          renegade commanders.193 This approach to command and control mirrors the U.S. Army’s
          concept of mission command.
         The central Taliban leadership has worked to control and centralize the organization’s finances
          and revenue.194 There is some evidence that the Taliban’s efforts succeeded. The U.N.
          estimated that more than two-thirds of the funds collected by Taliban commanders between
          March 2011 and March 2012 reached the Taliban’s leadership.195 As previously mentioned,
          regional shuras like the Peshawar Shura and Miranshah Shura reportedly sent money to the
          Rahbari Shura. With this money, the Taliban’s central leadership rewarded loyal commanders
          and sent money to high priority areas, giving it a tool to control Taliban operations and
          providing resources for Taliban units to purchase weapons and carry out insurgent activities
          throughout Afghanistan.
         The Taliban sent representatives from one shura to serve on another shura to increase
          coordination. Haqqanis sat on the Rahbari Shura, the Peshawar Shura, and apparently the
          Mashhad Shura. The Rahbari Shura sent representatives to sit on the Quetta regional shura,
          the Peshawar Shura, and the Mashhad Shura. The Mashhad Shura, the Miranshah Shura, and
          the Peshawar Shura also sent representatives to meetings in Quetta.
         Although some regional shuras maintain a complex relationship with the Taliban’s central
          leadership in Quetta, those regional shuras regularly cooperate with the Rahbari Shura’s
          military operations and propaganda-related activities.196 In contrast to the Rasool Shura that


191 Antonio Giustozzi, “Afghanistan: Taliban’s Organization and Structure,” (Oslo: Norwegian Country of Origin
Information Centre, 2017), p. 11, https://landinfo.no/asset/3589/1/3589_1.pdf.
192 Abubakar Siddique, “The Quetta Shura: Understanding the Afghan Taliban’s Leadership,” Terrorism Monitor 12:4

(February 21, 2014); Jeffrey Dressler and Carl Forsberg, Backgrounder: The Quetta Shura Taliban (Washington, D.C.: Institute
for            the             Study               of              War,              December                  2009),                p.3,
http://www.understandingwar.org/sites/default/files/QuettaShuraTaliban_1.pdf.
193 Matthew Rosenberg, “Around an Invisible Leader, Taliban Power Shifts,” The New York Times, December 28, 2014,

https://www.nytimes.com/2014/12/29/world/around-an-invisible-leader-taliban-power-shifts.html?_r=0.
194 Gretchen Peters, “The Taliban and the Opium Trade,” in ed. Antonio Giustozzi, Decoding the New Taliban (New York:

Columbia University Press, 2009), p. 13.
195 United Nations Analytical Support and Sanctions Monitoring Team, First report of the Analytical Support and Sanctions

Implementation Monitoring Team submitted pursuant to resolution 1988 (2011) concerning the Taliban and associated individuals and entities
(2012), p. 13.
196 Antonio Giustozzi, “Afghanistan: Taliban’s Organization and Structure,” (Oslo: Norwegian Country of Origin

Information Centre, 2017), pp. 11-12, https://landinfo.no/asset/3589/1/3589_1.pdf.



                                                                   33
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 40 of 143



         will be discussed in a later section, these shuras have not declared a break with the Taliban’s
         central leadership.

As a result, this section shows that the Taliban, including its many regional shuras, acted as a singular,
organization and did so effectively, maintaining cohesion while conducting attacks across the country.
In my opinion, mischaracterizations of the Taliban’s structure not only stem from a misreading of
publicly available evidence but also from a misunderstanding of the value and necessity of the Taliban’s
leadership structure.

The Logic Behind the Taliban’s Structure. The Taliban’s structure was an organizational necessity for the
Taliban’s leadership. U.S. signals intelligence and counterterrorism efforts, which led to the arrest or
death of numerous Taliban leaders, dissuaded many commanders from communicating over the
phone. Operations security (OPSEC) was prized. A Taliban negotiator told U.S. officials that the
Taliban relied on couriers for communications with its central leaders.197 As a result, Taliban leaders
could not micromanage operations due to logistical challenges and safety concerns, a fate that similarly
plagued al-Qaeda at various points.

In addition, Brown and Rassler indicate that the Taliban leadership believed that it benefited from
delegating substantial authority to regional commanders and putting a local face on its operations,
such as the Haqqanis in Loya Paktia.198 These “local faces” of the Taliban helped Afghans outside of
the Taliban heartland in southern Afghanistan view the Taliban as a national organization rather than
a purely Kandahari group. Without these “local faces,” the Taliban would have likely struggled to
develop a base of support around the country. This organizational structure also ensured that local
commanders with extensive knowledge of their area of operations were empowered to make key
operational decisions rather than rely entirely on someone in Quetta.

The Taliban’s central leadership was not the only part of the Taliban to benefit from this arrangement.
By embracing the Taliban’s leadership, local fighters could receive a share of the Taliban’s funds from
abroad, garner a degree of legitimacy among the local population, and minimize violent disputes with
other liked-minded factions.199 Thomas Ruttig, in particular, noted that, by joining the Taliban, the
Haqqanis and other groups got access to the “label of the [Taliban], as the most popular insurgent
organization.”200 As a result, the Taliban’s structure offered benefits to all of the organization’s fighters
and commanders. It was a mutually beneficial arrangement for all involved.

Conclusion. The Taliban adopted a structure, in which its senior leadership asserted control over the
organization but local commanders were empowered to make individual decisions. While local
commanders enjoyed substantial control over their operations, they coordinated with the rest of the
Taliban and never publicly challenged the primacy of the Rahbari Shura and the emir. This structure


197 Steve Coll, Directorate S: The CIA and America’s Secret Wars in Afghanistan and Pakistan (United States of America, Penguin

Press, 2018).
198 Brown & Rassler, Fountainhead of Jihad, Kindle ed., loc. 2307.
199 Gretchen Peters, “The Taliban and the Opium Trade,” in ed. Antonio Giustozzi, Decoding the New Taliban (New York:

Columbia University Press, 2009), p. 13; Mohammed Elias, “The Resurgence of the Taliban in Kabul: Logar and Wardak,”
in ed. Antonio Giustozzi, Decoding the New Taliban, (New York: Columbia University Press, 2009), p. 52.
200 Thomas Ruttig, The Other Side: Dimensions of the Afghan Insurgency: Causes, Actors, and “Approaches to Talks,” (Kabul,

Afghanistan: Afghanistan Analysts Network, July 2009), pp. 11-12, https://www.afghanistan-analysts.org/wp-
content/uploads/downloads/2012/10/200907-AAN-Report-Ruttig-The-Other-Side.pdf.


                                                             34
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 41 of 143



not only was an operational necessity but also offered benefits for the Taliban’s leadership and local
fighters.

VI.      Taliban Tactics and Claims of Responsibility

In the years since the U.S. intervention following the 9/11 attacks, the Taliban has established itself
as a highly effective and lethal terrorist force. It has employed a variety of tactics, techniques, and
procedures (TTPs) to achieve its military objectives. This section provides an overview of the
evolution of Taliban tactics and its process of claiming responsibility for attacks. Based on that history,
I conclude that Iran played an important role in making the Taliban a more tactically effective
organization by providing the terrorist group with (among other things) weapons, training, and
financing. With that historical overview and analysis, this section also offers a set of analytical tools
and relevant context for analyzing the attacks under examination in this case.

Evolution of Taliban tactics. In the early days following the U.S. intervention in Afghanistan, the Taliban
was no match for the potent combination of American airpower, special operations forces, and allies
associated with the Northern Alliance. However, in the nearly two decades since the Taliban’s fall
from power, the group has emerged as a formidable politico-military force capable of controlling large
swaths of Afghanistan. How did the Taliban turn the tide in its favor and engineer a sustainable
insurgency? Tactical adaptation is part of the answer. The Taliban changed how it fought and became
a more adaptable opponent.201

In particular, the Taliban transitioned from more conventional infantry tactics to asymmetric tactics.
A study by the Center for Naval Analyses, based in large part on interviews with American and British
troops, provides an excellent overview of how the Taliban’s tactics evolved through 2008:

         From 2002 through most of 2005, the Taliban operated in small groups in remote
         areas and carried out hit-and-run attacks on isolated patrols. As the Taliban went on
         the offensive in late 2005 to 2006, they massed in large numbers near population
         centers and launched frontal assaults on heavily fortified positions. After taking heavy
         casualties and failing to push the coalition back, many insurgent commanders
         dispersed their forces and focused on small operations. The years 2007 and 2008 also
         saw a dramatic rise in the number and sophistication of IEDs and suicide attacks.202

British political scientist Theo Farrell, based on sources in British intelligence and the Taliban,
indicated that the Taliban fighters in Helmand Province shifted from “conventional infantry assaults
in 2006 and 2007 in an attempt to overrun British outposts” to “asymmetric tactics” due to the high
casualty rates the group would incur in its conventional assaults from U.S. and allied forces returning
fire and frequently calling in airstrikes on Taliban positions.203 According to an article in Newsweek,
Mullah Baradar formalized this shift in tactics with guidance conveyed to top regional commanders in

201 Chad Serena, It Takes More than a Network: The Iraqi Insurgency and Organizational Adaptation (Palo Alto: Stanford Security

Studies, 2014).
202 Jerry Meyerle and Carter Malkasian, Insurgent Tactics in Southern Afghanistan: 2005-2008 (Alexandria, VA: Center for

Naval Analyses, August 2009), p. 1, https://nsarchive2.gwu.edu/NSAEBB/NSAEBB370/docs/Document%205.pdf.
203 Theo Farrell, “Unbeatable: Social Resources, Military Adaptation, and the Afghan Taliban,” Texas National Security Review

1:3       (May      2018),     https://tnsr.org/2018/05/unbeatable-social-resources-military-adaptation-and-the-afghan-
taliban/#_ftnref38.



                                                             35
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 42 of 143



a summer 2009 meeting to minimize losses and shift to a greater reliance on asymmetric tactics,
especially IEDs.204

One asymmetric tactic the Taliban employed was the use of ambushes. According to the Center for
Naval Analyses, “most ambushes began with a volley of RPGs, followed by small arms fire. In most
attacks, the insurgents broke contact before air support arrived (though in a minority of cases, they
fought through airstrikes).”205 Most of these attacks targeted ground troops, but some also targeted
helicopters.

While ambushes became more frequent, the Taliban’s shift toward asymmetric warfare was most
pronounced in its increased use of IED attacks. Produced by the U.S. Department of Defense, the
table below surveys U.S. military deaths in the Afghanistan War from 2001 to 2014. The table
demonstrates the Taliban’s pivot between 2006 and 2008 to IEDs as a weapon of choice. The
percentage of U.S. troop fatalities in Afghanistan caused by IEDs increased from 27.6% (27 deaths)
in 2006 to 54.2% (84 deaths) in 2008.206 In contrast, the total number of military deaths from other
causes remained relatively stable during this period.




            Operation Enduring Freedom (Afghanistan) Military Deaths – U.S. Department of Defense

In Helmand Province, Farrell writes that the number of IEDs detected “jumped from around 100 per
month in late 2008 to more than 450 per month in the summer of 2009.”207 This tactical shift made
sense for the Taliban.

Compared with other tactics like ambushes using small arms fire and RPGs, IEDs were a high impact-
low risk weapon for the Taliban. They could kill or injure international and allied Afghan forces, even
in armored vehicles. They could also limit the movements of U.S. and allied forces and put the

204 Ron Moreau, “Meet the Taliban’s New Chief,” Newsweek, July 24, 2009, https://www.newsweek.com/meet-talibans-

new-chief-81727.
205 Jerry Meyerle and Carter Malkasian, Insurgent Tactics in Southern Afghanistan: 2005-2008 (Alexandria, VA: Center for

Naval Analyses, August 2009), p. 4, https://nsarchive2.gwu.edu/NSAEBB/NSAEBB370/docs/Document%205.pdf.
206 Ian S. Livingston & Michael O’Hanlon, Afghanistan Index Also including selected data on Pakistan at 10, The Brookings Inst.

(May 14, 2014), https://www.brookings.edu/wp-content/uploads/2016/07/index20140514.pdf.
207 Theo Farrell, “Unbeatable: Social Resources, Military Adaptation, and the Afghan Taliban,” Texas National Security Review

1:3      (May       2018),     https://tnsr.org/2018/05/unbeatable-social-resources-military-adaptation-and-the-afghan-
taliban/#_ftnref38.


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        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 43 of 143



international coalition’s troops on the defensive. The Taliban could detonate these devices with
relatively low risk of enemy fire. Furthermore, the Taliban often used videos of IED attacks on
American troops as a major source of propaganda. As a result, IEDs became the Taliban’s weapon of
choice. As described below, Iranian assistance contributed to the increasing sophistication of the
Taliban’s IEDs over time.

Over time, these ambushes and small unit attacks became more sophisticated. Professor Thomas
Johnson of the Naval Postgraduate School analyzed U.S. Marine Corps after action reports (AARs),
and found that, over time, the Taliban began using more sophisticated tactics like creating interlocking
fields of fire, using multiple types of weapons in attacks, using machine gun and RPG fire to cover for
moving Taliban fighters, and occasionally maintaining firefights for long periods.208 In many cases,
attacks involved a combination of tactics, and IED attacks would be combined with small arms fire,
ambushes, and other guerrilla-style techniques.

In my assessment, there are two reasons for these changes. First, local Taliban fighters likely learned
from the lessons and failures of each firefight. Second, the Taliban received training from Iran,
Pakistan, and al-Qaeda.209 The U.S. State Department’s 2011 Country Reports on Terrorism noted that the
“Qods Force provided training to the Taliban in Afghanistan on small unit tactics, small arms,
explosives, and indirect fire weapons, such as mortars, artillery, and rockets.”210 That training likely
made a significant difference. Giustozzi cited Taliban sources who claimed that “the main source of
tactical innovation were the Pakistani and Iranian foreign advisors.”211 Iran’s IRGC-QF trainers and
advisers have significant battlefield and technical experience, and they have spent decades training,
advising, and equipping proxy forces throughout the Middle East. The IRGC-QF’s operatives
evidently applied those skills and experiences to helping the Taliban throughout Afghanistan.

Around this time, the Haqqani Network, often as part of the Kabul Attack Network, increased its use
of suicide attacks. The Haqqani Network was the first element of the Taliban to embrace suicide
bombings. It initially learned the tactic from al Qaeda and began using it in 2004.212 It subsequently
expanded its use of suicide bombings and created its aforementioned Fedayin Commission to manage
those operations. Other regional shuras later adopted suicide bombing as a tactic but never utilized it
as much as the Haqqanis. Giustozzi cites an estimate from Taliban sources that the Haqqanis carried
out almost 70% of the Taliban’s suicide attacks in 2015, often recruiting youth from radical madrassas
in Afghanistan and Pakistan to carry out the attacks.213 As a result, a division of labor emerged, with
the Haqqanis handling most suicide bombings and complex suicide attacks, which I define as a type
of suicide attack that typically features multiple insurgents using small arms fire and suicide vests to


208 Thomas Johnson, “Taliban Adapations and Innovations,” Small Wars and Insurgencies, 24:1 (2013), pp. 7-8,

https://core.ac.uk/download/pdf/81222683.pdf.
209 Lindsay Maizland and Zachary Laub, “The Taliban in Afghanistan,” The Council on Foreign Relations, March 11, 2020,

https://www.cfr.org/backgrounder/taliban-afghanistan.
210 U.S. Department of State’s Office of the Coordinator for Counterterrorism, 2011 Country Reports on Terrorism, July 31,

2012, https://2009-2017.state.gov/j/ct/rls/crt/2011/195547.htm.
211 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 3066; U.S. Department of State’s Office of the

Coordinator for Counterterrorism, 2011 Country Reports on Terrorism, July 31, 2012, https://2009-
2017.state.gov/j/ct/rls/crt/2011/195547.htm.
212 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 3137.
213 Brian Williams, “Mullah Omar's Missiles: A Field Report on Suicide Bombers in Afghanistan,” Middle East Policy 15: 4

(2007), https://mepc.org/journal/mullah-omars-missiles-field-report-suicide-bombers-afghanistan.



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        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 44 of 143



attack high-profile targets.214 These complex attacks targeted, in particular, hotels in Kabul, high-
profile installations like the U.S. Embassy and NATO headquarters, and equivalently high-profile
Afghan government targets. Iran regularly provided the Taliban and Haqqani Network with explosives
and other weapons necessary for these attacks, as well as training to conduct more complex, high-
profile attacks.215

The Taliban, however, continued to rely on the IED as a crucial element of its insurgency. By 2011,
Giustozzi reported that the Taliban was producing IEDs on an industrial scale in Helmand, Kandahar,
and Khost Provinces.216 According to The New York Times, a pair of November 2009 raids in Kandahar
targeting Taliban IED facilities yielded “a half-million pounds of ammonium nitrate,” a highly
explosive substance used in most Taliban bombs at that time, and “about 2,000 bomb-making devices
like timers and triggers.”217 For context, Timothy McVeigh used 600 pounds of ammonium nitrate to
destroy a federal building in Oklahoma City in 1995 and kill 168 people.218 The magnitude of the
Taliban’s IED operations even impressed its adversaries. A general with the international coalition
sarcastically said in 2010 that “an enemy that can generate 8,000 IEDS [in a year] and bring 8,000
IEDS to bear and have a major effect, we ought to hire the J-4, the logistician.”219

The Taliban’s IEDs also began to increase in sophistication. As the Taliban ramped up its IED
production, it relied heavily on artisanal ammonium nitrate devices. However, Giustozzi notes that
“an important turning point” in the Taliban’s IED campaign was the “Iranian provision of industrially
manufactured mines,” which were “tactically superior” and “much safer” for those deploying them.220
In 2008, British special forces discovered that Iran was providing the Taliban with explosively formed
penetrators (EFPs), highly lethal explosives that killed many U.S. soldiers in Iraq.221 In August 2009,
Afghan forces also discovered EFPs, likely from Iran, in Afghanistan near the Iranian border.222 Then,
in 2012, Iran also gave the Taliban “remote control mines.”223 As a result, these Iranian-made weapons
likely featured in some of the IED attacks discussed in the complaint and increased the lethality of the
Taliban’s IED operations. Former Secretary of Defense Robert Gates accused Iran of playing a
“double game” in Afghanistan.224 This double game included Iran covertly supplying EFPs, AK-47s,

214  Thomas Johnson, “Taliban Adapations and Innovations,” Small Wars and Insurgencies, 24:1 (2013), pp. 7-8,
https://core.ac.uk/download/pdf/81222683.pdf.
215 See, e.g., U.S. State Dep’t, Country Reports on Terrorism 2012, at 196 (May 2013),

https://www.state.gov/j/ct/rls/crt/2012/209985.htm. (describing Iranian provision of weapons); Counter Insurgency
Targeting Program – Afghanistan, Iranian Influence in Uruzgan at [8] (Mar. 8, 2011) (Ex. G ) (describing Iranian
intelligence officers traveling to Afghanistan to train suicide bombers).
216 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 3086.
217 Dexter Filkins, “Bomb Material Cache Uncovered in Afghanistan,” The New York Times, November 10, 2009,

https://www.nytimes.com/2009/11/11/world/asia/11afghan.html.
218 Alan Cullison and Yaroslav Trofimov, “Karzai Bans Ingredient of Taliban's Roadside Bombs,” The Wall Street Journal,

February 3, 2010, https://www.wsj.com/articles/SB10001424052748703822404575019042216778962.
219 Roy Gutman, “Afghanistan war: How Taliban tactics are evolving,” The Christian Science Monitor, March 15, 2010,

https://www.csmonitor.com/World/2010/0315/Afghanistan-war-How-Taliban-tactics-are-evolving.
220 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 3066.
221 Mark Townsend, “Special forces find proof of Iran supplying Taliban with equipment to fight British,” The Guardian,

June 21, 2008, https://www.theguardian.com/uk/2008/jun/22/military.afghanistan.
222   Mark Thompson, “U.S. Forces Get New Protection in Afghanistan,” Time, October 28, 2008,
http://content.time.com/time/nation/article/0,8599,1932837,00.html.
223 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 3066.
224 Sajjan M. Gohel, “Iran’s Ambiguous Role in Afghanistan,” CTC Sentinel 3:3 (March 2010), https://ctc.usma.edu/irans-

ambiguous-role-in-afghanistan/.



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        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 45 of 143



plastic explosives, and mortars to the Taliban.225 In short, Iran is complicit in the deaths and maiming
of numerous U.S. military personnel throughout Afghanistan.

While less lethal overall than IEDs, insider attacks, in which Afghan forces betray and kill their
American and Afghan colleagues, proved to be a vexing threat. According to a report from the Modern
War Institute at the U.S. Military Academy, insider attacks claimed the lives of at least 157 NATO
personnel between 2007 and 2017.226 While less numerous than IED attacks or ambushes, these
assaults, given the attackers’ access to U.S. and allied facilities and the element of surprise, could wreak
havoc on a base, negatively impact troop morale, and reduce collaboration between Afghan forces
and their international allies. According to a study conducted by Marc Sageman for the U.S. military,
most of the attacks stemmed from Afghan soldiers and policemen planning to defect.227 When they
declared their intentions to Taliban commanders, the Taliban commanders demanded that they
conduct an attack against U.S. and Afghan government forces to prove their loyalty to the Taliban’s
cause.

The Taliban’s embrace of asymmetric tactics, such as IEDs, suicide attacks, and insider attacks, made
for an increasingly lethal insurgency. These tactics fueled some of the territorial gains mentioned in
prior sections. They also feature prominently in the present case.

Taliban claims of responsibility. Since the start of the insurgency, the Taliban has developed a system for
claiming responsibility for attacks. They have an official “spokesman,” official media accounts, and
official social media accounts. These claims of responsibility, while fabricating certain details like the
number of victims, are often credible.

Taliban statements, including claims of responsibility, largely come from a centralized source. The
Taliban’s leadership council or emir sometimes signs the group’s statements. However, the group’s
“spokesman” typically claims responsibility for attacks. Pakistani authorities captured one Taliban
spokesman, Mohammed Hanif, in January 2007. Hanif was “paraded on television in subsequent
weeks denouncing the [Taliban] movement and its tactics.”228 According to Joanna Nathan from the
Institute for War and Peace Reporting, “presumably to spare such humiliation, the two main points
of contact [in late 2008 for the Taliban]—Qari Yousaf, for the south, and Zabihullah Mujahid, for the
eastern and central region—are aliases used by a variety of people according to journalists who deal
with them.”229 The Taliban have since utilized Zabihullah Mujahid as their sole spokesman. The name
frequently appears in Afghan and international press outlets providing an official Taliban response to




225 Lionel Beehner, “Backgrounder: Is Iran Abetting the Taliban?” The New York Times, June 11, 2007,

https://archive.nytimes.com/www.nytimes.com/cfr/world/slot1_20070611.html?pagewanted=print.
226 Javid Ahmad, “Dress Like Allies, Kill Like Enemies: An Analysis of ‘Insider Attacks’ in Afghanistan,” (West Point:

Modern War Institute, April 4, 2017), p. 3, https://mwi.usma.edu/wp-content/uploads/2017/04/Dress-Like-Allies-Kill-
Like-Enemies.pdf.
227 Steve Coll, Directorate S: The CIA and America’s Secret Wars in Afghanistan and Pakistan (United States of America, Penguin

Press, 2018), pp. 617, 619.
228 Joanna Nathan, “Reading the Taliban,” in Decoding the New Taliban, ed. Antonio Giustozzi (New York: Columbia

University Press, 2009), p. 26.
229 Joanna Nathan, “Reading the Taliban,” in Decoding the New Taliban, ed. Antonio Giustozzi (New York: Columbia

University Press, 2009), p. 26.



                                                             39
       Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 46 of 143



events or attacks. In the aftermath of the Afghan Government to the Taliban, Zabihullah Mujahid
claims to have been living in Kabul during much of this time.230

Although the Taliban developed a reputation as theologically inflexible
luddites in the United States and many other countries, that reputation
belies Taliban efforts to build a more robust media presence over the
years. The Wall Street Journal referred to the Voice of Jihad as “a slick
multilingual Web site run by the Taliban’s high command.”231 Over time,
the Taliban transitioned much of its multilingual material to al-Emara (the
Emirate), a Taliban website that exists to this day. For Arabic speakers, it
created the website Al-Samoud (Standing Firm) in 2006 and has published Logo for al-Emara
articles on roughly a monthly basis.232 All these outlets have published
Taliban communiqués, articles, and claims of responsibility for attacks. The Taliban has also ventured
into the realm of social media with a set of Twitter accounts for Zabihullah Mujahid. He has previously
claimed responsibility for attacks using the handles @zabihmujahid (no longer active),
@ZabihullahM4 (no longer active), and @Zabehulah_M33 (active as of July 2021).

The central Taliban’s media apparatus will claim responsibility for attacks by different regional shuras.
In particular, when the Haqqani Network has conducted major attacks, the central Taliban leadership
through Zabihullah Mujahid has typically claimed responsibility. However, after Taliban claims of
responsibility for Haqqani attacks, U.S. or Afghan authorities normally then specify that the Haqqani
Network was involved. The Haqqanis acknowledge that they defer to the Taliban in Quetta for public
relations and claiming attacks. Asked if the Haqqani Network was behind the attacks on the U.S.
Embassy in Kabul and NATO headquarters in Afghanistan in September 2013, Sirajuddin Haqqani
said: “For some reasons, I would not like to claim that fighters of our group had carried out the recent
attack on U.S. embassy and NATO headquarters. Our central leadership, particularly senior members
of the shura, suggested I should keep quiet in the future if the US and its allies suffer in future.”233
While cryptic, Sirajuddin’s language indicates that he follows the lead of the central Taliban when it
comes to claims of responsibility.

Overall, some aspects of the Taliban’s claims of responsibility are generally credible. In my experience,
when the Taliban claims responsibility for an attack, it usually conducted the attack in question. I reach
this conclusion for three reasons. First, there is usually some confirmation from the Afghan
government and international coalition of the Taliban’s involvement. To look at four examples, the
Taliban claimed responsibility for a 2008 attack on the Serena Hotel in Kabul, a 2011 attack on the
Intercontinental Hotel in Kabul, a 2011 attack on the U.S. Embassy and NATO headquarters, and a
2018 attack on the Intercontinental Hotel in Kabul. The Federal Bureau of Investigation (FBI) has



230
    “Lived in Kabul for years, right under everyone’s noses: Taliban spokesperson Zabihullah Mujahdid,” India Today,
September 13, 2021, https://www.indiatoday.in/world/story/lived-in-kabul-for-years-taliban-spokesperson-zabihullah-
mujahid-1852100-2021-09-13.
231 Yaroslav Trofimov, “Kabul Promotes Its Side of Taliban Attack,” The Wall Street Journal, January 21, 2010.
232 “Al-Sumud Magazine – A Review,” IDC Herzliya International Institute for Counter-Terrorism, July 13, 2016,

https://www.ict.org.il/Article/1732/al-sumud-magazine-a-review#gsc.tab=0.
233 Michael Gorgy, “Exclusive - Haqqanis to follow Taliban on Afghan peace,” Reuters, September 16, 2011,

https://www.reuters.com/article/oukwd-uk-pakistan-afghanistan-haqqani-idAFTRE78G0JD20110917.



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        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 47 of 143



indicated that Sirajuddin Haqqani had a role in the 2008 attack.234 The U.S. State Department
concluded that the Haqqani Network bore responsibility for the 2011 attack on the Intercontinental
Hotel.235 NATO commander Gen. John Allen and the U.S. Department of State implicated the
Haqqani Network in the 2011 attack against the U.S. Embassy and NATO headquarters.236 For the
2018 attack, the Afghan Ministry of the Interior blamed the Haqqani Network.237 Furthermore, I
assess that the relevant government agency based its attribution for the attack on more than the
Taliban’s claims of responsibility. While these examples are only a small fraction of those available, if
I broadened the sample, we would continue to find external confirmation from the Afghan
government and international coalition. Indeed, several attacks at issue in this case were both claimed
by the Taliban and corroborated by government sources. Examples include the October 2011 suicide
bombing that killed Lt. Col. David Cabrera, Staff Sergeant Christopher R. Newman, and Sergeant
James Darrough,238 whose family members are plaintiffs in this case, as well as the attack on U.S.
forces in Wanat, Nuristan Province on July 13, 2008.239 The attack killed Corporal Jason Bogar, 1st
Lieutenant Jonathan Brostrom, Sergeant Israel Garcia, Corporal Jason Hovater, Corporal Pruitt
Rainey, and Corporal Gunnar Zwilling—five soldiers whose family members are plaintiffs in this
case.240 The Afghan government and international coalition frequently corroborate the Taliban’s
claims of responsibility.

Second, the Taliban’s claims of responsibility are normally plausible. Since the start of its insurgency,
the Taliban has been the strongest anti-government insurgent group in Afghanistan. The targets
selected and the tactics employed generally align with my understanding of the Taliban’s motives and
TTPs. Furthermore, the attacks often occur where the Taliban maintains area of operations
dominance or is the dominant insurgent group. Other insurgent groups also rarely contest the
Taliban’s claims of responsibility for attacks. The National Counterterrorism Center’s (NCTC) 2010
Report on Terrorism illustrates this point. According to the report, of the Taliban-claimed terrorist
attacks in Afghanistan that killed more than ten individuals in 2010, five of the seven attacks occurred
in areas—Kabul, Helmand Province, Kandahar Province, and Paktika province—where the Taliban
was clearly the strongest insurgent group.241 HIG only challenged one of the Taliban’s claims of
responsibility. In these attacks, the Taliban used some variant of an IED, one of its preferred tactics.


234  U.S. Federal Bureau of Investigation, “Most Wanted: Sirajuddin Haqqani,” n.d., accessed July 29, 2020,
https://www.fbi.gov/wanted/terrorinfo/sirajuddin-haqqani.
235 U.S. Department of State, “Rewards for Justice: Sirajuddin Haqqani,” n.d. (accessed July 29, 2020),

https://rewardsforjustice.net/english/sirajuddin_haqqani.html.
236 Jack Healy & Alissa Rubin, “U.S. Blames Pakistan-Based Group for Attack on Embassy in Kabul,” The New York Times,

September 14, 2011; U.S. Department of State, “Rewards for Justice: Sirajuddin Haqqani,” n.d. (accessed July 29, 2020),
https://rewardsforjustice.net/english/sirajuddin_haqqani.html.
237 Mohammad Halim Karimi, “Haqqani Network Behind Kabul Hotel Attack: MoI,” Pajhwok Afghan News (Afghanistan),

January 21, 2018.
238 Rod Nordland, “12 Americans Die as Blast Hits Bus in Afghanistan,” The New York Times, October 29, 2011.
239 Bill Roggio, “Joint Al-Qaeda and Taliban Force Behind Nuristan Base Attack,” FDD’s Long War Journal, July 14, 2008,

https://www.longwarjournal.org/archives/2008/07/joint_al_qaeda_and_t.php.
240 Michelle Tan, “Hard-hit C Company suffers another agonizing blow,” Military Times, July 13, 2008,

https://thefallen.militarytimes.com/army-cpl-jason-m-bogar/3630789; U.S. Army Aviation Center of Excellence and
Fort Rucker, “Wanat, Battle of (13 July 2008),” May 26, 2020, https://rucker.army.libguides.com/c.php?g=861328; Jim
Sciutto, “‘Relax, Brother’: Exclusive Video Shows Taliban Attack that Killed 9 U.S. Soldiers at Afghan Post,” ABC News,
November 12, 2009.
241      National     Counterterrorism     Center,     2010     Report     on     Terrorism      (April   30,    2011),
https://www.dni.gov/files/documents/2010_report_on_terrorism.pdf.



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            Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 48 of 143



Most importantly, NCTC’s mention of these claims of responsibility suggests that NCTC views these
claims as credible to some extent.

Third, the Taliban has not claimed responsibility for some attacks, particularly those where there are
a lot of civilian casualties.242 UNAMA’s 2018 report indicated that the Taliban only claimed
responsibility for 943 of the 4,072 civilian casualties for which it was responsible.243 NCTC’s profile
of the Afghan Taliban also details how the Taliban did not claim responsibility for a 2015 attack in
Kabul “because of the massive civilian casualties.”244 This reticence to claim every attack suggests that
the Taliban, while careful to protect its image in the eyes of Afghans, is unlikely to claim credit for any
attack in Afghanistan—whether it conducted the attack or not. This reticence stands in contrast to
some jihadist groups that have been more willing to claim responsibility for attacks, which they did
not commit, for propaganda purposes. For example, ISIS claimed responsibility for the 2017 Las
Vegas shooting, despite a lack of evidence of its involvement.245 While the Taliban’s motive for its
more conservative approach to claiming attacks remains unclear, its track record adds a degree of
credibility to the attacks that it does claim.

Still, some elements of Taliban claims of responsibility are inaccurate. The Taliban will frequently
provide incorrect figures on the number of victims and even the number of fighters, which
participated in the attack. For example, the Taliban claimed that only one fighter executed the 2015
Park Palace Attack whereas a report by Norwegian Armed Forces indicated that three fighters took
part in the attack.246 It also routinely overstates the number of people killed, or vehicles destroyed, in
its insurgent attacks. I view the details of Taliban claims of responsibility skeptically, but these claims
are usually a credible indicator of Taliban involvement in an attack, especially when the Afghan government
or international coalition corroborate them.

Conclusion. This section has detailed the increasing sophistication of the Taliban’s tactics and evolution
over the course of the insurgency, as well as its penchant for asymmetric tactics like IEDs and
ambushes. Furthermore, it has demonstrated why the Taliban’s claims of responsibility for attacks are
largely credible, even if the precise details in the claims are sometimes off. This information helps
provide a framework for determining responsibility for some attacks in the Cabrera case. However, in
the absence of a Taliban claim of responsibility, it is necessary to analyze the Taliban’s area of
operations dominance to assess which insurgent groups conducted which attacks.




242 Ibid.
243 United Nations Assistance Mission in Afghanistan, Afghanistan Protection of Civilians in Armed Conflict: Annual Report 2018

(February                                     2019),                                p.                               4,
https://unama.unmissions.org/sites/default/files/unama_annual_protection_of_civilians_report_2018_-
_23_feb_2019_-_english.pdf.
244 National Counterterrorism Center, Counterterrorism Guide: Afghan Taliban, accessed on October 27, 2020,

https://www.dni.gov/nctc/groups/afghan_taliban.html.
245 Saphora Smith, “Las Vegas Shooting: ISIS Claim of Responsibility Is Sign of Desperation,” NBC News, October 3,

2017,         https://www.nbcnews.com/storyline/las-vegas-shooting/las-vegas-shooting-isis-claim-responsibility-sign-
desperation-say-experts-n807076.
246 Norwegian Armed Forces, “How Norwegian Special Operators Helped Rescue 49 Hostages,” p. 17; Kate Clark, The

Park Palace Attack: More Losses for Afghanistan, May 14, 2015, https://www.afghanistan-analysts.org/en/reports/war-and-
peace/the-park-palace-attack-more-losses-for-afghanistan/.


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         Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 49 of 143



VII.      Taliban Areas of Operations Dominance and Attack Zones

Throughout the course of its insurgency, the Taliban has distinguished itself as the preeminent anti-
government terrorist group in Afghanistan. However, its strength has varied across the country, and
ebbed and flowed in different provinces over time. The Taliban’s historical strongholds are in
Helmand, Kandahar, and other southern, predominantly Pashtun parts of Afghanistan. The Taliban’s
Haqqani Network has long retained a stronghold in the Loya Paktia region of eastern Afghanistan.
Despite its origins as a Pashtun organization from southern Afghanistan, the Taliban has
demonstrated countrywide reach. To demonstrate that reach and help assign responsibility for attacks,
this section provides provincial assessments of the Taliban’s areas of operations dominance.

In that regard, the Taliban has a few major competitors: HIG, the Rasool Shura, and ISIS-Khorasan
Province (ISIS-K). As previously mentioned, HIG, which existed prior to the U.S. invasion,
cooperated with the Taliban as part of the broader terrorist syndicate in Afghanistan, but remained a
distinct organization. HIG was historically a strong militant force in eastern Afghanistan.247 However,
many of its fighters defected to the Taliban, specifically the Peshawar Shura.248

The Rasool Shura emerged as a Taliban splinter group in western Afghanistan after the announcement
of Mullah Omar’s death in 2015.249 Rasool objected to Mullah Mansour becoming Mullah Omar’s
successor.250 Despite claiming authority over all of Afghanistan, the Rasool Shura, based in Farah
Province, had most of its following as of 2017 in western and southern Afghanistan.251 In 2017,
Giustozzi estimated that the Rasool Shura had thousands of fighters in Helmand and Kandahar
Provinces, in addition to others farther west.252 However, Giustozzi’s estimates suggest that the Rasool
Shura did not have personnel numbers superior to the mainline Taliban in any region of Afghanistan.
Additionally, the Rasool Shura emerged after the vast majority of cases at issue here occurred, making
it at best a marginal player for most of them.

As ISIS gained ground in Iraq and Syria, it tried to establish a foothold in Afghanistan.253 It quickly
took steps to solidify a formal presence in the country. In January 2015, local ISIS commanders
announced the creation of ISIS-Khorasan Province (ISIS-K). Following its creation, the group
operated primarily in eastern Afghanistan, particularly Nangarhar, Jowzjan, and Kunar Provinces.254
However, by 2019, the group, facing attacks from the international coalition and the Taliban, suffered



247 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 1908.
248 Ibid., loc. 3086.
249 Antonio Giustozzi, “Afghanistan: Taliban’s Organization and Structure,” (Oslo: Norwegian Country of Origin
Information Centre, 2017), p. 21, https://landinfo.no/asset/3589/1/3589_1.pdf.
250 Max Taylor, “Mullah Rasool and the Taliban Splinter Faction,” Intelligence Fusion, April 5, 2019,

https://www.intelligencefusion.co.uk/blog/mullah-rasool-and-the-taliban-splinter-faction.
251 Antonio Giustozzi, “Afghanistan: Taliban’s Organization and Structure,” (Oslo: Norwegian Country of Origin

Information Centre, 2017), p. 7, https://landinfo.no/asset/3589/1/3589_1.pdf.
252 Antonio Giustozzi, “Afghanistan: Taliban’s Organization and Structure,” (Oslo: Norwegian Country of Origin

Information Centre, 2017), p. 7, https://landinfo.no/asset/3589/1/3589_1.pdf.
253 Lauren McNally et al, The Islamic State in Afghanistan, (Washington, D.C.: Middle East Institute, May 2016),

https://www.mei.edu/sites/default/files/publications/PF12_McNallyAmiral_ISISAfghan_web.pdf.
254 Khalid Alokozay and Mujib Mashal, “ISIS Claims Assault That Killed 7 Near Pakistani Consulate in Afghanistan,” New

York Times, January 13, 2016, https://www.nytimes.com/2016/01/14/world/asia/jalalabad-afghanistan-blast.html .



                                                           43
       Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 50 of 143



major losses of personnel and territory, though it retained the capability to launch spectacular
attacks.255

To assess the relative strength of these competitors to the Taliban at a provincial level, I consider
primary and secondary sources describing the activities of the Taliban, HIG, the Rasool Shura, and
ISIS-K in each province where an attack in the complaint occurred. Most secondary sources are expert
reports produced by scholars and journalists with substantial research experience related to the Afghan
insurgency. For primary sources, I use some quotations from interviews with Taliban leaders, as well
as Taliban claims of responsibility for attacks. As detailed in the prior section, Taliban claims of
responsibility are typically an accurate indicator of Taliban involvement in an attack. However, the
Taliban usually exaggerates key details in these claims of responsibility, such as casualty figures.

Each provincial assessment focuses on the period between the first and last attacks at issue in the
province. For example, if attacks listed in the complaint occurred from 2009 to 2012, my analysis only
covers insurgent activities in the province from 2009 to 2012. Further, if the attacks occurred prior to
the formation of the Rasool Shura and ISIS-K, which was often the case, I exclude these groups from
my assessment.

In my assessments, I distinguish between two sets of provinces: those where the Taliban operated
with little to no insurgent competition and those where other groups clearly rivaled the Taliban’s
strength and capabilities. Where the Taliban appears to have operated with little to no competition, I
generally conclude that the Taliban very likely had area-of-operations dominance. Where the Taliban
seems to have faced stiffer competition but retained the upper hand, I generally conclude that the
Taliban likely had area-of-operations dominance. I rely on this probabilistic framework, given the
general dearth of information about Taliban activities in certain provinces during some periods of the
group’s insurgency. The below chart summarizes my conclusions.

 Geographic Region                Timeframe Conclusion
    Southern Afghanistan          2007-2019 The Taliban very likely carried out all the attacks in this
                                            region in this case
         Loya Paktia              2007-2013 The Taliban’s Haqqani Network very likely carried out
                                            all the attacks in this region in this case
 Southeastern Afghanistan         2007-2019 The Taliban’s Haqqani Network or the broader Taliban
                                            very likely carried out all the attacks in this region in this
                                            case.
            N2KL                  2007-2015 The Taliban (with direct participation by al-Qaeda)
                                            likely carried out all the attacks in this region in this case
             Kabul                2007-2019 The Kabul Attack Network very likely carried out all
                                            the attacks in this region in this case
        North Central             2007-2016 The Taliban likely carried out all the attacks in this
         Afghanistan                        region in this case
    Western Afghanistan           2009-2012 The Taliban very likely carried out all the attacks in this
                                            region in this case



255 Thomas Gibbons-Neff and Mujib Mashal, “ISIS Is Losing Afghan Territory. That Means Little for Its Victims,” The

New York Times, December 2, 2019, https://www.nytimes.com/2019/12/02/world/asia/ISIS-afghanistan-baghdadi.html.


                                                        44
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 51 of 143



Southern Afghanistan. This region includes Kandahar and Helmand provinces, which have
traditionally been Taliban strongholds.

                                                                     When attacks at issue occurred in
                                                                     Kandahar Province between
                                                                     2007 and 2014, the Taliban very
                                                                     likely exercised area of operations
                                                                     dominance in the province. This
                                                                     assessment should come as little
                                                                     surprise, given that the Taliban
                                                                     originated in Kandahar Province.
                                                                     The      Taliban     operated    in
                                                                     Kandahar Province since the
                                                                     beginning of the insurgency, and
                                                                     Kandahar has been accurately
                                                                     described as the “center of
                                                                     gravity” for the militant group’s
efforts in the country.256 It should also come as little surprise that the Taliban claimed numerous
attacks on U.S. and allied troops during the relevant time period, including:

        July 1, 2008: The Taliban claimed to have killed Canadian troops in the Zhari District.257

        November 14, 2010: The Taliban claimed responsibility for a suicide bombing attack against
         American soldiers in the Zhari District.258

        February 7, 2011: The Taliban claimed responsibility for a suicide bombing attack on
         American troops in Kandahar City.259 Sergeant Patrick R. Carrol was killed as a result of
         injuries sustained in this attack.260 His family members are plaintiffs in this case.




256 Carl Forsberg, The Taliban’s Campaign for Kandahar (Washington, D.C. Institute for the Study of War, December 2009),

p. 6, http://www.understandingwar.org/sites/default/files/The_Talibans_Campaign_For_Kandahar.pdf; Antonio
Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 424.
257 “Taliban Finds Mass-Media as Enemy Tools; Attack in Kandahar,” SITE Intelligence Group, July 1, 2008,

https://ent.siteintelgroup.com/Jihadist-News/site-intel-group-7-1-08-taliban-mass-media-kills-25-canadians.html (Ex.
H).
258 “Afghan Taliban Claims Killing 43 American Soldiers in Two Operations,” SITE Intelligence Group, November 17,

2010, https://ent.siteintelgroup.com/Jihadist-News/at-sbs-kill-43.html/ (Ex. I).
259 “Afghan Taliban Claims Killing 14 in Kandahar Suicide Bombing,” SITE Intelligence, February 7, 2011,

https://ent.siteintelgroup.com/Jihadist-News/site-intel-group-2-7-11-at-sb-kandahar-14.html. (Ex. J).
260     “Sgt.      Patrick      R.    Carroll      Faces        of      the   Fallen,”   Washington      Post,   n.d.
https://apps.washingtonpost.com/national/fallen/5880/patrick-carroll/; Alisa J. Rubin, “In Kandahar, Another Suicide
Bomber           Kills       Two,”        The        New           York     Times,      February        7,      2011,
https://www.nytimes.com/2011/02/08/world/asia/08afghanistan.html.



                                                          45
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 52 of 143




        August 15, 2012: The Taliban claimed responsibility for shooting down an American
         helicopter in the Shah Wali District.261 CNN and The Guardian both reported that seven
         Americans were killed in a helicopter crash on this date in Kandahar Province.262

        March 12, 2014: The Taliban claimed responsibility for an attack on the former headquarters
         of the Afghan intelligence service in Kandahar. Three Taliban assailants were killed in the
         attack, but not before they managed to wound one member of the security forces and one
         civilian.263

Beyond the Taliban’s historical dominance in the province and claims of attacks, there is no evidence
suggesting that HIG had a meaningful presence in the province. Additionally, though the Rasool Shura
maintained a small presence in Kandahar, this splinter group didn’t emerge until 2015, so it would not
have been a factor in the attacks at issue. Therefore, the Taliban was very likely the dominant group
in the province.

                                                                                  Helmand Province has long
                                                                                  been a Taliban stronghold. When
                                                                                  the attacks at issue in the
                                                                                  province occurred from 2007 to
                                                                                  2019, the Taliban very likely
                                                                                  maintained area of operations
                                                                                  dominance in the area. I reach
                                                                                  this conclusion for three reasons.

                                                                          First, secondary sources leave
                                                                          little doubt that the Taliban was
                                                                          the main force in Helmand
                                                                          Province capable of challenging
                                                                          the Afghan government for
control. Giustozzi and British journalist Tom Coghlan separately concluded that the Taliban
reorganized in Helmand Province in the earliest days of the insurgency and built a strong presence
there.264 As Jeffrey Dressler, then an analyst at the Institute for the Study of War in Washington, D.C.,
writes, “From 2004 to 2006, the insurgency in Helmand grew significantly due to abusive local
governance, poor military planning, and an absence of sufficient combat forces.”265 As a result,

261 “Afghan Taliban Claims Killing 33 in Chinook Downing in Kandahar,” SITE Intelligence Group, August 15, 2012,

https://ent.siteintelgroup.com/Jihadist-News/afghan-taliban-claims-killing-33-in-chinook-downing-in-kandahar.html.
(Ex. K).
262 Joe Sterling, “7 Americans Among 11 Dead in Afghan Helicopter Crash,” CNN, August 16, 2012,

https://www.cnn.com/2012/08/16/world/asia/afghanistan-violence/index.html;                 Emma           Graham-Harrison,
“Afghanistan        Helicopter         Crash       Kills      11,”      The      Guardian,      August        16,     2012,
https://www.theguardian.com/world/2012/aug/16/afghanistan-helicopter-crash-kills-11.
263 Ruhi Khan, “Afghan Forces Kill 3 Attackers in Battle in South,” Terrorism Research & Analysis Consortium, March

12, 2014, https://www.trackingterrorism.org/chatter/afghan-forces-kill-3-attackers-battle-south.
264 Tom Coghlan, “The Taliban in Helmand: An Oral History,” Decoding the New Taliban, ed. Antonio Giustozzi (New

York: Columbia University Press, 2009), p. 125; Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 424.
265 Jeffrey Dressler, Counterinsurgency in Helmand: Afghanistan Report 8 (Washington, D.C.: Institute for the Study of War,

January 2011), p. 10.



                                                           46
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 53 of 143



Dressler assessed in 2011 that “the Taliban insurgency virtually controlled the Helmand River Valley,
including key populated districts and towns from Nawa in the south to Kajaki and Musa Qala in the
north. The Taliban enjoyed sanctuary across Helmand’s southern border with Pakistan, and safe haven
throughout southern, central, and northern Helmand.”266 That territorial control translated into many
attacks on U.S. forces.

Second, the Taliban claimed responsibility for numerous attacks on U.S. and allied forces in the
province. Those attacks include:

        July 15, 2009: The Taliban claimed responsibility for an attack on American forces in Garmsir
         District.267

        November 27, 2014: The Taliban claimed to have attacked the Shorab airbase (previously
         known as Camp Bastion) and killed American troops.268

        January 5, 2016: The Taliban claimed responsibility for an attack on U.S. forces in the Marjah
         district of Helmand Province.269 This attack claimed the life of Sergeant 1st Class Matthew
         McClintock.270 Sergeant 1st Class McClintock’s family members are plaintiffs in the case.

        June 6, 2017: The Taliban claimed to have ambushed and killed American troops in the
         Garamsir District of Helmand Province.271

        October 22, 2019: The Taliban claimed to have fired rockets at the U.S. airbase in Lashkar
         Gah.272

These examples outline a clear record of Taliban attacks on U.S. and allied forces in Helmand Province
and thus bolster relevant secondary-source accounts regarding Taliban activities in the province.



266 Jeffrey Dressler, Counterinsurgency in Helmand: Afghanistan Report 8 (Washington, D.C.: Institute for the Study of War,

January 2011), p. 11.
267 “Taliban Claims Multiple Strikes on Enemy Forces in Helmand,” SITE Intelligence Group, July 16, 2009,

https://ent.siteintelgroup.com/Statements/7-16-09-taliban-multiple-strikes-helmand.html (Ex. L).
268 “Afghan Taliban Gives Full Report and Video on Shorab Airbase Raid,” SITE Intelligence Group, December 2, 2014,

https://ent.siteintelgroup.com/Statements/afghan-taliban-gives-full-report-and-video-on-shorab-airbase-raid.html
(Ex. M).
269 “Afghan Taliban Claims Tens of Americans Dead in Helicopter Downing in Helmand,” SITE Intelligence Group,

January 6, 2016, https://ent.siteintelgroup.com/Jihadist-News/afghan-taliban-claims-tens-of-americans-dead-in-
helicopter-downing-in-helmand.html (Ex. N).
270 Michelle Tan, “Fallen Green Beret earns Silver Star for final act of heroism,” The Army Times, March 7, 2016,

https://www.armytimes.com/news/your-army/2016/03/07/fallen-green-beret-earns-silver-star-for-final-act-of-
heroism/.
271 “Afghan Taliban Claims Killing and Wounding 4 U.S. Forces in Helmand, Rocket Strike on Resolute Support HQ in

Kabul,” SITE Intelligence Group, June 6, 2017,” https://ent.siteintelgroup.com/Statements/afghan-taliban-claims-
killing-and-wounding-4-u-s-forces-in-helmand-rocket-strike-on-resolute-support-hq-in-kabul.html (Ex. O).
272 “Afghan Taliban Claims Firing Barrage of 65 Rockets at U.S. Base in Helmand,” SITE Intelligence, October 22, 2019,

https://ent.siteintelgroup.com/Statements/afghan-taliban-claims-firing-barrage-of-65-rockets-at-u-s-base-in-
helmand.html (Ex. P).



                                                            47
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 54 of 143



Third, while insurgent competitors were present in the province, they came nowhere close to rivaling
the Taliban’s grip on Helmand. A report from the U.S. Institute of Peace concludes that there was a
minimal HIG presence in Helmand after 9/11.273 While the Rasool Shura tried to make inroads into
Helmand, Giustozzi estimated in 2017 that the number of Taliban fighters allied with the Rahbari
Shura dwarfed the number of Rasool Shura fighters in the area.274 Similarly, ISIS-K struggled to make
inroads in the province. According to the Armed Conflict Location and Event Data (ACLED) Project,
ISIS-K only conducted two attacks in Helmand Province from 2017 to 2019, a small fraction of the
attacks carried out in the province during that period.275 As a result, the Taliban was very likely the
dominant insurgent group in the area.

Loya Paktia. This is a culturally Pashtun area in southeastern Afghanistan comprising primarily
Khost, Paktia, and Paktika Provinces. It is the traditional stronghold of the Haqqani Network, a part
of the Taliban.

                                                     When the attacks at issue took place from 2007 to
                                                     2012, the Taliban’s Haqqani Network very likely
                                                     had area of operations dominance in Khost
                                                     Province for three reasons. First, primary and
                                                     secondary sources indicate that Khost was a
                                                     stronghold of the Taliban’s Haqqani Network. In
                                                     February 2005, Sirajuddin Haqqani “identified
                                                     himself as the head of the Taliban military
                                                     committee for the provinces of Paktia, Paktika,
                                                     Khost, Ghazni, and Logar.”276 According to
                                                     Giustozzi, the Rahbari Shura assigned
                                                     responsibility for the province to the Haqqani-
                                                     dominated Miranshah Shura.277 Thomas Ruttig,
                                                     writing in 2009, concluded that “the Haqqani
Network is the strongest insurgent structure in Loya Paktia and is responsible for most of the armed
activities there.”278 The Loya Paktia region includes Khost Province.

Second, the Taliban claimed responsibility for several attacks during the period in question. For
example, the Taliban claimed responsibility for an attack on an American military vehicle in the
Yaqobai District on June 9, 2007.279 The Taliban also claimed responsibility for suicide bombing

273 Casey Garrett Johnson,  The Political Deal with Hezb-e-Islami (Washington, D.C.: United States Institute of Peace, 2018),
p. 11, https://www.usip.org/sites/default/files/2018-07/pw_139_the_political_deal_with_hezb_e_islami.pdf.
274 Antonio Giustozzi, “Afghanistan: Taliban’s Organization and Structure,” (Oslo: Norwegian Country of Origin

Information Centre, 2017), p. 7, https://landinfo.no/asset/3589/1/3589_1.pdf.
275   Armed Conflict Location and Event Data Project (ACLED), dataset, “2017-01-01-2019-12-31-
Caucusus_and_Central_Asia-Afghanistan,” August 1, 2020, https://acleddata.com/data-export-tool/.
276 Thomas Ruttig, “Loya Paktia’s Insurgency, Part I,” in Decoding the New Taliban, ed. Antonio Giustozzi, (New York:

Columbia University Press, 2009), p. 63.
277 Antonio Giustozzi, “Afghanistan: Taliban’s Organization and Structure,” (Oslo: Norwegian Country of Origin

Information Centre, 2017), p. 9, https://landinfo.no/asset/3589/1/3589_1.pdf.
278 Thomas Ruttig, “Loya Paktia’s Insurgency, Part I,” in Decoding the New Taliban, ed. Antonio Giustozzi, (New York:

Columbia University Press, 2009), p. 62.
279 “Harvest of Taliban Military Operations, June 8-June 10, 2007, Fires Rockets at Afghanistan President Hamid Karzai

in Ghazni Province,” SITE Intelligence Group, June 11, 2007, https://ent.siteintelgroup.com/Jihadist-News/harvest-of-



                                                            48
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 55 of 143



attacks against American troops on both December 1, 2010, and October 1, 2012.280 The New York
Times and The Washington Post later reported that a suicide bomber killed “international service
members” and Afghans in Khost on October 1, 2012.281 Additionally, the Taliban claimed
responsibility for the June 2012 attack on Forward Operating Base Salerno, which killed eight —
including Private First Class Vincent J. Ellis, whose family members are plaintiffs in this case — and
wounded several more.282

Third, while there were HIG fighters active in the province in the time period when the attacks at
issue occurred, Khost did not seem to be a major HIG area of operations.283 As of 2009, Ruttig wrote
that “the influence of Hekmatyar’s Hizb-i-Islami in the South-East is still limited geographically to
small ‘islands.’”284 Therefore, the Taliban’s Haqqani Network was very likely stronger than HIG in the
province.




                                               Paktia Province – BBC

When the attacks at issue occurred in Paktia Province from 2007 to 2013, the Taliban’s Haqqani
Network very likely maintained area of operations dominance. I reach this conclusion for three
reasons. First, Taliban statements and independent expert assessments make clear that Paktia was a

taliban-military-operations-june-8-june-10-2007-fires-rockets-at-afghanistan-president-hamid-karzai-in-ghazni-
province.html (Ex. Q).
280 “Afghan Taliban Claims Defending Civilians Against US Raid,” SITE Intelligence Group, December 1, 2010,

https://ent.siteintelgroup.com/Jihadist-News/afghan-taliban-claims-defending-civilians-against-us-raid.html (Ex. R).;
“Afghan Taliban Claims Khost Suicide Bombing, Reports on Wardak Incident,” October 1, 2012,
https://ent.siteintelgroup.com/Jihadist-News/afghan-taliban-claims-khost-suicide-bombing-reports-on-wardak-
incident.html/ (Ex. S).
281 Alissa J. Rubin & Farooq Jan Mangal, “Suicide Bomber on Foot Attacks Joint Patrol in Eastern Afghanistan, Killing

19,” The New York Times, October 1, 2012, https://www.nytimes.com/2012/10/02/world/asia/suicide-bomber-
afghanistan.html; Sayed Salahuddin, “Three NATO Soldiers Killed in Afghan Suicide Bombing,” The Washington Post,
October 1, 2012, https://www.washingtonpost.com/world/three-nato-soldiers-killed-in-deadly-afghan-suicide-
attack/2012/10/01/c252adc4-0ba2-11e2-bd1a-b868e65d57eb_story.html.
282 Bill Roggio & Bill Ardolino, “Taliban Release Video of Haqqani Network Suicide Assault on FOB Salerno,” FDD’s

Long War Journal, July 24, 2012.
283 “Hizb-i-Islami Gulbuddin (HIG),” Institute for the Study of War, n.d., http://www.understandingwar.org/hizb-i-islami-

gulbuddin-hig; International Security Assistance Force Joint Command, press release, “Forces kill insurgents in
Afghanistan                       airstrike,”                    March                      29,                     2011,
https://www.army.mil/article/53963/forces_kill_insurgents_in_afghanistan_airstrike.
284 Thomas Ruttig, “Loya Paktia’s Insurgency, Part I,” in Decoding the New Taliban, ed. Antonio Giustozzi, (New York:

Columbia University Press, 2009), p. 84.



                                                           49
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 56 of 143



Haqqani stronghold. As previously noted, in February 2005, Sirajuddin Haqqani “identified himself
as the head of the Taliban military committee for the provinces of Paktia, Paktika, Khost, Ghazni, and
Logar.”285 According to Giustozzi, the Haqqani-dominated Miranshah Shura oversaw Taliban
operations in the province, bolstering Haqqani’s claim.286 Thomas Ruttig, writing in 2009, provides a
good summary of the Taliban’s strength in the province. He writes, “The Haqqani Network was more
and more effectively able to constrain governmental space in Loya Paktia and, from there, in Wardak
and Logar since the end of 2006.”287 Soon, Haqqani fighters were regularly operating throughout
Paktia.288 By 2008, Ruttig notes that “Haqqani groups that had infiltrated the margins of Paktia’s
provincial capital Gardez were carrying out a series of armed raids, kidnapping, and executions around
the town.”289 As a result, Ruttig concluded that “the Haqqani Network is the strongest insurgent
structure in Loya Paktia and is responsible for most of the armed activities there.”290 As its name
suggests, Loya Paktia includes Paktia Province.

Second, Taliban claims of responsibility for attacks on U.S. troops and allies in the province bolster
Ruttig’s conclusion. For example, the Taliban claimed responsibility for downing two helicopters in
Paktia during the time period when the attacks at issue took place: one in the Niki District on July 5,
2010, and one in the Zurmat District on August 8, 2011.291 Reporting from The Washington Post noted
that on August 8, 2011, a NATO helicopter made a “hard landing” in Paktia Province, and NATO
officials launched an investigation into the cause of the emergency landing.292 The Taliban also claimed
responsibility for a September 26, 2013 insider attack against American soldiers.293 This attack claimed
the life of Staff Sergeant Thomas A. Baysore, Jr.294 Staff Sergeant Baysore’s family members are
plaintiffs in this case.



285 Thomas Ruttig, “Loya Paktia’s Insurgency, Part I,” in Decoding the New Taliban, ed. Antonio Giustozzi, (New York:

Columbia University Press, 2009), p. 63.
286 Antonio Giustozzi, “Afghanistan: Taliban’s Organization and Structure,” (Oslo: Norwegian Country of Origin

Information Centre, 2017), p. 9, https://landinfo.no/asset/3589/1/3589_1.pdf.
287 Thomas Ruttig, “Loya Paktia’s Insurgency, Part I,” in Decoding the New Taliban, ed. Antonio Giustozzi, (New York:

Columbia University Press, 2009), p. 70.
288 Thomas Ruttig, “Loya Paktia’s Insurgency, Part I,” in Decoding the New Taliban, ed. Antonio Giustozzi, (New York:

Columbia University Press, 2009), p. 70.
289 Thomas Ruttig, “Loya Paktia’s Insurgency, Part I,” in Decoding the New Taliban, ed. Antonio Giustozzi, (New York:

Columbia University Press, 2009), p. 71.
290 Thomas Ruttig, “Loya Paktia’s Insurgency, Part I,” in Decoding the New Taliban, ed. Antonio Giustozzi, (New York:

Columbia University Press, 2009), p. 62.
291 “Afghan Taliban Claims Killing 14 US Soldiers, Downing Helicopter,” SITE Intelligence Group, July 6, 2010,

https://ent.siteintelgroup.com/Jihadist-News/site-intel-group-7-6-10-at-kills-14-downs-chopper.html (Ex. T); “Afghan
Taliban Claims Shooting Down Three Helicopters,” SITE Intelligence Group, August 8, 2011,
https://ent.siteintelgroup.com/Jihadist-News/afghan-taliban-claims-shooting-down-three-helicopters.html (Ex. U).
292 Sayed Salahuddin, “NATO Helicopter Makes ‘Hard Landing’ in Southeastern Afghanistan,” The Washington Post, August

8,               2011,              https://www.washingtonpost.com/world/nato-helicopter-goes-down-during-afghan-
offensive/2011/08/08/gIQAXIKs1I_story.html.
293 “Afghan Taliban Claims Killing 11 in Helmand Suicide Bombing, Infiltrator Attack in Paktia,” SITE Intelligence Group,

September 27, 2013, https://ent.siteintelgroup.com/Jihadist-News/afghan-taliban-claims-killing-11-in-helmand-suicide-
bombing-infiltrator-attack-in-paktia.html (Ex. V).
294    “Faces     of    the    Fallen    Staff   Sgt.     Thomas       A.   Baysore,     Jr.,” Washington     Post,   n.d.
https://apps.washingtonpost.com/national/fallen/33091/thomas-baysore-jr/; Matthew Rosenberg, “Gunman in Afghan
Military     Uniform       Kills     Coalition     Solider,”    New       York      Times,    September      26,    2013,
https://www.nytimes.com/2013/09/27/world/asia/gunman-in-afghan-army-uniform-kills-coalition-soldier.html.



                                                           50
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 57 of 143



Third, although HIG had a presence in the province when the attacks at issue occurred, it apparently
did not rival the Taliban’s presence in the province. While the Institute for the Study of War found
that Paktia Province was one of HIG’s main areas of operations, the U.S. Institute of Peace found
that HIG controlled only a few communities in the Province after 9/11.295 Ruttig wrote that, as of
2009, “the influence of Hekmatyar’s Hizb-i-Islami in the South-East is still limited geographically to
small ‘islands.’”296 Considering that Paktia Province is in southeastern Afghanistan, Ruttig’s assessment
appears to confirm the assessment from the U.S. Institute of Peace. Therefore, the Taliban very likely
was the preeminent insurgent group in the province when the attacks occurred.




                                               Paktika Province – BBC

When the attacks at issue occurred in Paktika Province from 2007 to 2013, the Taliban’s Haqqani
Network very likely had area of operations dominance. Primary and secondary sources again point to
a strong Haqqani Network presence in the province. In February 2005, Sirajuddin Haqqani “identified
himself as the head of the Taliban military committee for the provinces of Paktia, Paktika, Khost,
Ghazni, and Logar.”297 Apparently confirming Haqqani’s claim, Giustozzi reported that the Rahbari
Shura assigned responsibility for the province to the Haqqani-dominated Miranshah Shura.298
According to Thomas Ruttig, “the Haqqani Network is the strongest insurgent structure in Loya
Paktia and is responsible for most of the armed activities there.”299 That region encompasses Paktika
Province. In 2007, a tribal elder from Paktia told Ruttig that Paktika was “lost” and a “black hole,”
effectively beyond the reach of the Afghan state.300 As with other provinces, Taliban claims of
responsibility for attacks bolster these statements by Sirajuddin Haqqani, Giustozzi, and Ruttig. These
claims of responsibility include:
295 “Hizb-i-Islami Gulbuddin (HIG),” Institute for the Study of War, n.d., http://www.understandingwar.org/hizb-i-islami-

gulbuddin-hig; Casey Garrett Johnson, The Political Deal with Hezb-e-Islami (Washington, D.C.: United States Institute of
Peace,             2018),                p.            11,               https://www.usip.org/sites/default/files/2018-
07/pw_139_the_political_deal_with_hezb_e_islami.pdf.
296 Thomas Ruttig, “Loya Paktia’s Insurgency, Part I,” in Decoding the New Taliban, ed. Antonio Giustozzi, (New York:

Columbia University Press, 2009), p. 84.
297 Thomas Ruttig, “Loya Paktia’s Insurgency, Part I,” in Decoding the New Taliban, ed. Antonio Giustozzi, (New York:

Columbia University Press, 2009), p. 63.
298 Antonio Giustozzi, “Afghanistan: Taliban’s Organization and Structure,” (Oslo: Norwegian Country of Origin

Information Centre, 2017), p. 9, https://landinfo.no/asset/3589/1/3589_1.pdf.
299 Thomas Ruttig, “Loya Paktia’s Insurgency, Part I,” in Decoding the New Taliban, ed. Antonio Giustozzi, (New York:

Columbia University Press, 2009), p. 62.
300 Thomas Ruttig, “Loya Paktia’s Insurgency, Part I,” in Decoding the New Taliban, ed. Antonio Giustozzi, (New York:

Columbia University Press, 2009), p. 70.



                                                           51
          Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 58 of 143




         August 27, 2007: The Taliban claimed responsibility for an attack on American troops on the
          night of August 26, 2007 in the Ziruk District.301 Staff Sergeant Nicholas R. Carnes was killed
          in this attack.302 His family members are plaintiffs in this case.

         March 28, 2011: The Taliban claimed to have killed “joint enemy” soldiers in a suicide attack
          in the Barmal District.303

Furthermore, it appears that the Taliban did not face major competition from other insurgent groups
in Paktika Province at the time. According to Casey Garrett Johnson of the U.S. Institute of Peace,
some HIG recruitment occurred in Paktika.304 However, as of 2009, Thomas Ruttig wrote that “the
influence of Hekmatyar’s Hizb-i-Islami in the South-East is still limited geographically to small
‘islands.’”305 As a result, the Taliban was very likely the dominant group in the province when the
attacks occurred.

Southeastern Afghanistan. This is the area of Afghanistan south of the capital, Kabul, and west of
Loya Paktia. It includes Ghazni, Logar, Uruzgan, Wardak, and Zabul Provinces. Both the broader
Taliban and the Haqqani Network element of the Taliban are active here.

                                                                 When the attacks at issue in
                                                                 Ghazni Province occurred
                                                                 from 2007 to 2012, the Taliban’s
                                                                 Haqqani Network very likely
                                                                 had     area   of    operations
                                                                 dominance. I reach this
                                                                 conclusion for two reasons.
                                                                 First, a mix of primary and
                                                                 secondary sources point to
                                                                 Haqqani control in the province.
                                                                 In February 2005, Sirajuddin
                                                                 Haqqani “identified himself as
                                                                 the head of the Taliban military
                                                                 committee for the provinces of
Paktia, Paktika, Khost, Ghazni, and Logar.”306 According to Giustozzi, Haqqani was correct. The
301 “Harvest of Taliban Military Operations, August 24-27, 2007,” SITE Intelligence Group, August 28, 2007,
https://ent.siteintelgroup.com/Jihadist-News/site-intel-group-8-28-07-taliban-ops-aug-24-27.html (Ex. W).
302     “Carnes,     Nicholas       Ray    (P3,     C1,      L9),”     Kentucky      National    Guard    Memorial,     n.d.,
https://kyngmemorial.com/html/carnes_nicholas_r.html; “One ISAF Soldier Killed, One Wounded in Southern
Afghanistan,”          International       Security         Assistance        Force,          August       27,         2007,
https://www.nato.int/isaf/docu/pressreleases/2007/08-august/pr070827-615.html.
303 “Afghan Taliban Claims Suicide Bombing, Kidnapping 50 Police,” SITE Intelligence Group, March 28, 2011,

https://ent.siteintelgroup.com/Jihadist-News/site-intel-group-3-28-11-at-sb-kidnapping-abandon.html (Ex. X).
304 Casey Garrett Johnson, The Political Deal with Hezb-e-Islami (Washington, D.C.: United States Institute of Peace, 2018),

p. 8, 11, https://www.usip.org/sites/default/files/2018-07/pw_139_the_political_deal_with_hezb_e_islami.pdf.
305 Thomas Ruttig, “Loya Paktia’s Insurgency, Part I,” in Decoding the New Taliban, ed. Antonio Giustozzi, (New York:

Columbia University Press, 2009), p. 84.
306 Thomas Ruttig, “Loya Paktia’s Insurgency, Part I,” in Decoding the New Taliban, ed. Antonio Giustozzi, (New York:

Columbia University Press, 2009), p. 63.



                                                            52
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 59 of 143



Rahbari Shura assigned responsibility for the province to the Haqqani-dominated Miranshah Shura.307
In addition, Thomas Ruttig of the Afghanistan Analysts Network who spent over ten years in
Afghanistan working as a scholar, journalist, and diplomat determined in a 2009 report that “the
Haqqani Network is the strongest insurgent structure in Loya Paktia and is responsible for most of
the armed activities there.”308 This area includes Ghazni. The Taliban also claimed responsibility for
at least one attack on coalition forces in Ghazni during the time period in question: a suicide bombing
on May 7, 2012, against “occupation forces” in the Nawa District.309 The attack killed three American
soldiers, according to The Los Angeles Times.310

Second, the Taliban had little competition for control. HIG maintained a limited presence in the region
at this time. Ruttig wrote that the influence of HIG in southeastern Afghanistan “was still limited
geographically to small ‘islands’” as of 2009.311

                                                                     When the attacks at issue in
                                                                     Logar Province occurred from
                                                                     2008 to 2013, the Taliban very
                                                                     likely   exercised    area   of
                                                                     operations dominance. As
                                                                     previously discussed, Logar
                                                                     Province marked one of the
                                                                     places where Quetta regional
                                                                     military shura operations and
                                                                     Haqqani Network operations
                                                                     overlapped. In February 2005,
                                                                     Sirajuddin Haqqani “identified
                                                                     himself as the head of the
                                                                     Taliban military committee for
the provinces of Paktia, Paktika, Khost, Ghazni, and Logar,” and the Haqqani Network had a presence
in Logar at that time.312 However, the Taliban elements from the Quetta regional military shura were
reportedly stronger than the Haqqani Network in this part of Afghanistan in 2008.313 Nevertheless,
the presence of both Taliban elements ensured a potent Taliban insurgency in the province. According

307  Antonio Giustozzi, “Afghanistan: Taliban’s Organization and Structure,” (Oslo: Norwegian Country of Origin
Information Centre, 2017), p. 9, https://landinfo.no/asset/3589/1/3589_1.pdf.
308 Thomas Ruttig, “Loya Paktia’s Insurgency, Part I,” in Decoding the New Taliban, ed. Antonio Giustozzi, (New York:

Columbia University Press, 2009), p. 62.
309 “Afghan Taliban Claims Two Suicide Bombings in New Spring Campaign,” SITE Intelligence, May 8, 2012,

https://ent.siteintelgroup.com/Jihadist-News/afghan-taliban-claims-two-suicide-bombings-in-new-spring-
campaign.html (Ex. Y).
310 “Chase S. Marta,” The Los Angeles Times, n.d., http://projects.latimes.com/wardead/name/chase-s-marta/.
311 Thomas Ruttig, “Loya Paktia’s Insurgency, Part I,” in Decoding the New Taliban, ed. Antonio Giustozzi, (New York:

Columbia University Press, 2009), p. 84.
312 Thomas Ruttig, “Loya Paktia’s Insurgency, Part I,” in Decoding the New Taliban, ed. Antonio Giustozzi, (New York:

Columbia University Press, 2009), p. 63; Thomas Ruttig, The Other Side: Dimensions of the Afghan Insurgency: Causes, Actors, and
“Approaches to Talks” (Kabul, Afghanistan: Afghanistan Analysts Network, July 2009), p. 11-12, https://www.afghanistan-
analysts.org/wp-content/uploads/downloads/2012/10/200907-AAN-Report-Ruttig-The-Other-Side.pdf
313 Mohammed Elias, “The Resurgence of the Taliban in Kabul: Logar and Wardak,” in Decoding the New Taliban, ed.

Antonio Giustozzi (New York: Columbia University Press, 2009), p. 51; Joint IED Defeat Organization & Counter IED
Operations/Intelligence Integration Center, “Logar Province Analysis,” November 29, 2012.



                                                              53
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 60 of 143



to Afghan scholar Mohammad Osman Tariq Elias, “By 2008, most of [Wardak and Logar] provinces
were under de facto Taliban control.”314 This robust Taliban presence is also evident through attacks
against U.S. forces that the group claimed, including:

        September 29, 2011: The Taliban claimed to have killed an American soldier in the Khushi
         District.315

        December 2, 2011: The Taliban claimed to have “completely destroyed” an American base in
         a suicide bombing attack, which the Taliban also alleged resulted in the deaths of American
         soldiers.316 Despite the Taliban’s exaggerations, a report from the United States Department
         of State confirmed that a suicide bombing attack occurred outside of Combat Outpost
         McClain in Logar Province on December 2, resulting in the death of one Afghan and one U.S.
         Embassy employee.317

        August 7, 2012: The Taliban claimed to have killed American troops in a suicide bombing
         attack on an American base in the city of Pul-i-Alam.318

The Taliban’s operational strength in Logar apparently overshadowed HIG in the province. To be
clear, there are some conflicting accounts about HIG’s activities in Logar Province. A 2018 study from
the United States Institute of Peace indicated that HIG only controlled a few communities in Logar
post-9/11 whereas an article published in the Terrorism Monitor in 2005 indicated that HIG was
relatively strong in Logar Province.319 Elias, however, suggests that HIG elements in Logar Province
operated with the Taliban’s approval after agreeing to the Taliban’s conditions.320 This reported
arrangement further indicates that the Taliban was the strongest insurgent group in the province. As
a result, the Taliban very likely represented the more potent insurgent force in the province.




314 Mohammed Elias, “The Resurgence of the Taliban in Kabul: Logar and Wardak,” in Decoding the New Taliban, ed.

Antonio Giustozzi (New York: Columbia University Press, 2009), p. 54.
315 “Afghan Taliban Claims Killing Soldier Resisting Surrender; Suicide Bombing,” SITE Intelligence Group, September

29, 2011, https://ent.siteintelgroup.com/Jihadist-News/afghan-taliban-claims-killing-soldier-resisting-surrender-suicide-
bombing.html (Ex. Z).
316 “Afghan Taliban Claims Leveling US Base in Suicide Bombing,” SITE Intelligence, December 2, 2011,

https://ent.siteintelgroup.com/Jihadist-News/site-intel-group-12-2-11-at-sb-levels-base-logar.html (Ex. AA). For
additional reporting about the attack, see “Bomber Attacks NATO Afghanistan Base in Logar Province,” BBC News,
December 2, 2011, https://www.bbc.com/news/world-asia-16003113.
317 Significant Attacks Against U.S. Diplomatic Facilities and Personnel 1998-2013, (Washington, D.C.: United States Department

of State Bureau of Diplomatic Security, 2014), p. 20, https://2009-2017.state.gov/documents/organization/225846.pdf.
318 “Afghan Taliban Claims Killing Dozens in Logar Suicide Bombing,” SITE Intelligence, August 7, 2012,

https://ent.siteintelgroup.com/Jihadist-News/afghan-taliban-claims-killing-dozens-in-logar-suicide-bombing.html
(Ex. BB).
319 Casey Garrett Johnson, The Political Deal with Hezb-e-Islami (Washington, D.C.: United States Institute of Peace, 2018),

p. 11, https://www.usip.org/sites/default/files/2018-07/pw_139_the_political_deal_with_hezb_e_islami.pdf; David
Isby, “Trojan Horse or Genuine Schism? The Hezb-e-Islami Split,” Terrorism Monitor 2:11 (May 19, 2005),
https://jamestown.org/program/trojan-horse-or-genuine-schism-the-hezb-e-islami-split/.
320 Mohammed Elias, “The Resurgence of the Taliban in Kabul: Logar and Wardak,” in Decoding the New Taliban, ed.

Antonio Giustozzi (New York: Columbia University Press, 2009), p. 53.



                                                             54
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 61 of 143



                                                                 The Taliban very likely held area of
                                                                 operations dominance when the attacks
                                                                 at issue in Uruzgan Province occurred
                                                                 from 2007 to 2012 and then again in
                                                                 2019. I reach this conclusion for three
                                                                 reasons. First, the Taliban has a deep
                                                                 historical connection to this area. The
                                                                 group’s former deputy leader and
                                                                 negotiator, Mullah Baradar, and many
                                                                 other high-level Taliban commanders
                                                                 are from Uruzgan Province.321 This
                                                                 connection allowed the Taliban to
                                                                 reestablish itself in Uruzgan after it fell
from power. Second, primary and secondary sources indicate that the Taliban was the dominant
insurgent force in the province. In 2006, the Gizab and Chor districts fell to the Taliban, according to
Martine van Biljert, a former Dutch diplomat and founder of a research organization based in Kabul.322
Van Biljert also found that, as of 2009, the Taliban had a presence in all but one district of Uruzgan.323
The Taliban also claimed responsibility for at least one attack during the time period in question.
Specifically, the Taliban claimed responsibility for a December 17, 2009 suicide bombing attack against
the gate of an Afghan army base in the Deh Rahwod district.324 Third, there was no evidence of a
significant or Rasool Shura presence in the district. In 2019, the Department of Defense reported that
ISIS-K resided in Nangarhar with some territory in Kunar in eastern Afghanistan, implying the group
                                                                 had little to no activity in Uruzgan.325
                                                                 Thus, the Taliban was very likely the
                                                                 strongest insurgent group in the
                                                                 province from 2007 to 2012 and in
                                                                 2019.

                                                                       When the attacks at issue occurred in
                                                                       Wardak Province from 2009 to 2013,
                                                                       the Taliban very likely had area of
                                                                       operations dominance in the province.
                                                                       Primary and secondary sources point to
                                                                       a robust Taliban presence in Wardak
                                                                       Province when the attacks occurred.


321 Martine van Biljert, “Unruly Commanders and Violent Power Struggles: Taliban Networks in Uruzgan,” in Decoding the

New Taliban, ed. Antonio Giustozzi (New York: Columbia University Press, 2009), p. 158.
322 Martine van Biljert, “Unruly Commanders and Violent Power Struggles: Taliban Networks in Uruzgan,” in Decoding the

New Taliban, ed. Antonio Giustozzi (New York: Columbia University Press, 2009), p. 158, 173.
323 Martine van Biljert, “Unruly Commanders and Violent Power Struggles: Taliban Networks in Uruzgan,” in Decoding the

New Taliban, ed. Antonio Giustozzi (New York: Columbia University Press, 2009), p. 163.
324 “Taliban Claims Suicide Bombings in Khost, Uruzgan,” SITE Intelligence Group, December 17, 2009,
https://ent.siteintelgroup.com/Jihadist-News/taliban-claims-suicide-bombings-in-khost-uruzgan.html (Ex. CC). For
additional reporting about the attack, see “Seven Civilians Killed in Afghan Blast,” Reuters, December 17, 2009,
https://www.reuters.com/article/idUKSGE5BG0H9.
325  Department of Defense, Enhancing Security and Stability in Afghanistan, (December 2019), p. 26.
https://www.hsdl.org/?view&did=833880.



                                                         55
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 62 of 143



Giustozzi wrote that, by 2005, the Taliban had reestablished a foothold in the province with four
fronts of 100 to 300 fighters.326 By 2008, the Quetta regional military shura was reportedly the strongest
Taliban element in the province.327 However, the Haqqani Network had a presence in Wardak well
before 2009, and the Taliban appointed a Haqqani-linked shadow governor in 2009.328 In total, Taliban
fighters managed to put the Afghan government on the defensive in Wardak. According to Afghan
scholar Mohammad Osman Tariq Elias, “By 2008, most of [Wardak and Logar] provinces were under
de facto Taliban control.”329 As one would expect with de facto Taliban control of parts of Wardak, the
Taliban claimed responsibility for numerous attacks on U.S. and allied forces during the period in
question. These attacks include:

        July 5, 2010: The Taliban claimed to have inflicted “human and material losses” on American
         soldiers in an “ambush” in the Jaghatu and Saydabad Districts of Wardak Province.330

        August 6, 2011: The Taliban claimed to have shot down an American helicopter in the
         Saydabad district.331 The attack killed, among many others, two Navy SEALs, Petty Officer 1st
         Class Darrik C. Benson and Senior Chief Petty Officer Thomas A. Ratzlaff, and an Army pilot,
         Chief Warrant Officer 2 Bryan J. Nichols.332 Their family members are plaintiffs in this case.

        September 11, 2011: The Taliban claimed to have killed American soldiers in a suicide
         bombing attack at an American “headquarters” in the Saydabad District.333

        July 23, 2013: The Taliban claimed to have killed American soldiers in a suicide bombing attack
         in the Saydabad District. 334

326 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 499.
327 Mohammed Elias, “The Resurgence of the Taliban in Kabul: Logar and Wardak,” in Decoding the New Taliban, ed.

Antonio Giustozzi (New York: Columbia University Press, 2009), p. 51.
328 Thomas Ruttig, The Other Side: Dimensions of the Afghan Insurgency: Causes, Actors, and “Approaches to Talks,” (Kabul,

Afghanistan: Afghanistan Analysts Network, July 2009), p. 11-12, https://www.afghanistan-analysts.org/wp-
content/uploads/downloads/2012/10/200907-AAN-Report-Ruttig-The-Other-Side.pdf
329 Mohammed Elias, “The Resurgence of the Taliban in Kabul: Logar and Wardak,” in Decoding the New Taliban, ed.

Antonio Giustozzi (New York: Columbia University Press, 2009), p. 54.
330 “Afghan Taliban Claims Killing 14 US Soldiers, Downing Helicopter,” SITE Intelligence Group, July 6, 2010,

https://ent.siteintelgroup.com/Jihadist-News/site-intel-group-7-6-10-at-kills-14-downs-chopper.html (Ex. T).
331 “Afghan Taliban Claims Helicopter Downing that Killed 38 Soldiers,” SITE Intelligence Group, August 6, 2011,

https://ent.siteintelgroup.com/Jihadist-News/afghan-taliban-claims-helicopter-downing-that-killed-38-soldiers.html.
(Ex. DD).
332 Molly Hennessy-Fiske, “Navy Special Warfare Operator Petty Officer 1st Class Darrik Benson dies at 28; SEAL was killed

in downing of helicopter in Afghanistan,” Los Angeles Times, August 28, 2011, https://www.latimes.com/local/obituaries/la-
xpm-2011-aug-28-la-me-darrik-benson-20110828-story.html; Army Chief Warrant Officer 2 Bryan J. Nichols,” Military
Times, n.d., https://thefallen.militarytimes.com/army-chief-warrant-officer-2-bryan-j-nichols/6567933; “SOCS (SEAL)
Thomas Ratzlaff,” Pritzker Military, n.d., https://www.pritzkermilitary.org/explore/museum/past-exhibits/seal-
unspoken-sacrifice/thomas-ratzlaff; Ray Rivera, Alissa J. Rubin & Thom Shanker, “Copter Downed by Taliban Fire; Elite
U.S.       Unit        Among         Dead,”      The         New        York        Times,     August        6,      2011,
https://www.nytimes.com/2011/08/07/world/asia/07afghanistan.html.
333 “Afghan Taliban Boasts of Inflicting Large Casualties in Saydabad Attack,” SITE Intelligence Group, September 12,

2011, https://ent.siteintelgroup.com/Jihadist-News/site-intel-group-9-12-11-at-saydabad-sb.html (Ex. EE).
334 “Afghan Taliban Claims Killing 31 US Soldiers in two Suicide Bombings,” SITE Intelligence Group, July 23, 2013,

https://ent.siteintelgroup.com/Jihadist-News/afghan-taliban-claims-killing-31-us-soldiers-in-two-suicide-bombings.html
(Ex. FF).



                                                            56
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 63 of 143




Therefore, the Taliban was a major fighting force in the province. However, the Taliban also faced
competition in Wardak.

HIG reportedly established an important presence in Wardak. While the sourcing on HIG’s presence
remains thin, a report from Casey Garrett Johnson of the U.S. Institute of Peace described HIG’s
operations in Wardak Province. According to the report, HIG managed to gain control of several
districts in Wardak after 9/11.335 The report also notes that, by late 2007, the Taliban and HIG
“clashed” in Wardak Province, and “the following year both groups began issuing competing claims
for attacks on foreign forces.”336 However, HIG suffered some defections to the Taliban, “allowing
the Taliban to establish themselves in strategic southern and northern approaches to Kabul from 2010
onward.”337 Therefore, the Taliban had likely gained the upper hand by the time the attacks at issue in
this case occurred.

The U.S. Institute of Peace report also provides some valuable insight into both groups’ approach to
attacks on international forces. It notes that “though both groups were interested in targeting
international military forces, the absence of HIG attacks on the government limited its cooperation
with the Taliban.”338 As a result, it is likely that the Taliban, and not HIG, conducted the attacks at
issue in Wardak Province.




                                                     Zabul Province

When the attacks at issue occurred in Zabul Province from 2008 to 2012, the Taliban very likely had
area of operations dominance. Primary and secondary sources indicate that the Taliban was the
dominant insurgent group in the province. A Zabul-based scholar wrote that as of late 2008, “the
insurgency practically controls all the districts of the province with the exception of Qalat centre.…
The insurgency in Zabul is overwhelmingly dominated by the Taliban. Other groups such as
Hekmatyar’s faction of Hizb-i-Islami, the Haqqani Network, Salafi and Wahabi groups, Khuddam-ul-

335 Casey Garrett Johnson, The Political Deal with Hezb-e-Islami (Washington, D.C.: United States Institute of Peace, 2018),

p. 11, https://www.usip.org/sites/default/files/2018-07/pw_139_the_political_deal_with_hezb_e_islami.pdf.
336 Casey Garrett Johnson, The Political Deal with Hezb-e-Islami (Washington, D.C.: United States Institute of Peace, 2018),

p. 13, https://www.usip.org/sites/default/files/2018-07/pw_139_the_political_deal_with_hezb_e_islami.pdf.
337 Casey Garrett Johnson, The Political Deal with Hezb-e-Islami (Washington, D.C.: United States Institute of Peace, 2018),

p. 13, https://www.usip.org/sites/default/files/2018-07/pw_139_the_political_deal_with_hezb_e_islami.pdf.
338 Casey Garrett Johnson, The Political Deal with Hezb-e-Islami (Washington, D.C.: United States Institute of Peace, 2018),

p. 13, https://www.usip.org/sites/default/files/2018-07/pw_139_the_political_deal_with_hezb_e_islami.pdf.



                                                            57
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 64 of 143



Furqan and groups of bandits, active elsewhere in the country, do not exist in this province.”339 The
Taliban also claimed responsibility for multiple attacks in this province during the time period in
question. These attacks include:

        November 19, 2009: The Taliban claimed responsibility for a car bombing on November 19,
         2009 in the Shahjoy District.340 Reporting from both Reuters and CNN confirms that a suicide
         bomber did kill two American soldiers in the Shahjoy District on this date.341 Staff Sergeant
         John J. Cleaver—whose family members are plaintiffs in the complaint—lost his life in this
         attack.342

        June 11, 2010: The Taliban also claimed responsibility for another suicide bombing targeting
         American troops in the Shahjoy District on June 11, 2010.343

        September 21, 2010: In the Daychopan District, the Taliban claimed responsibility for an
         attack on an American helicopter that killed nine NATO service members on September 21,
         2010.344

These sources indicate that the Taliban was very likely the dominant insurgent group in the province
when the attacks at issue occurred.

N2KL. This is an area in eastern Afghanistan which includes Nangarhar, Nuristan, Kunar, and
Laghman provinces where al-Qaeda has provided elevated levels of support to the Taliban. Given al-
Qaeda’s longstanding ties to this specific region, its fighters felt comfortable operating in N2KL, acting
as a force multiplier by embedding within Taliban fighting units.




339 Abdul Awwal Zabulwal, “Taliban in Zabul: A Witness Account,” in Decoding the New Taliban, ed. Antonio Giustozzi,

(New York: Columbia University Press, 2009), p. 179, 186
340 “Taliban Claims Killing 22 Foreign Forces in Suicide Bombing,” SITE Intelligence Group, November 19, 2009,

https://ent.siteintelgroup.com/Jihadist-News/site-intel-group-11-19-09-taliban-kills-22-in-sb-zabul.html (Ex. GG).
341   “FACTBOX: Security Developments in Afghanistan, Nov 19,” Reuters, November 19, 2009,
https://in.reuters.com/article/us-afghanistan-developments-idUSTRE5AI2KZ20091119; “Two U.S. Troops Killed in
Afghanistan,”                       CNN,                        November                        19,                   2009,
https://www.cnn.com/2009/WORLD/asiapcf/11/19/afghanistan.troops.killed/index.html.
342 “Army Staff Sgt. John J. Cleaver,” Military Times, n.d. https://thefallen.militarytimes.com/army-staff-sgt-john-j-

cleaver/4389649.
343 “Afghan Taliban Claims Killing 13 US Soldiers in Suicide Bombing,” SITE Intelligence, June 11, 2010,

https://ent.siteintelgroup.com/Jihadist-News/site-intel-group-6-11-10-at-sb-zabul.html (Ex. HH).
344 “Afghan Taliban Claims Downing Helicopter, Suicide Bombings,” SITE Intelligence Group, September 21, 2010,

https://ent.siteintelgroup.com/Jihadist-News/site-intel-group-9-21-10-at-sbs-downing-helicopter.html (Ex. II). For
additional reporting about the attack, see “9 Deaths in What is Coalition’s Deadliest Yeat in Afghanistan,” CNN, September
21, 2010, https://www.cnn.com/2010/WORLD/asiapcf/09/21/afghanistan.chopper.crash/index.html; Alissa J. Rubin,
“2010 is Deadliest Year for NATO in Afghan War,” The New York Times, September 21, 2010,
https://www.nytimes.com/2010/09/22/world/asia/22afghan.html.



                                                            58
          Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 65 of 143



                                                                   When the attacks at issue in this
                                                                   case occurred in Kunar
                                                                   Province from 2007 to 2012,
                                                                   the Taliban likely exercised area
                                                                   of operations dominance. As
                                                                   mentioned for the provincial
                                                                   assessment for Kunar Province,
                                                                   Giustozzi provided an overview
                                                                   of how a large swath of HIG
                                                                   fighters in the region where
                                                                   Kunar is located defected to the
                                                                   Taliban. Although HIG had
                                                                   historically been “predominant”
                                                                   in eastern Afghanistan, including
Kunar, the Taliban worked to coopt important elements of HIG.345 The Taliban managed to convince
most of the Shamsatoo Shura to join the emerging Peshawar Shura in March 2005. According to the
Giustozzi, the shura, renamed the Shamsatoo Mahaz, became the largest part of the Peshawar Shura.346
One of the Shura’s leaders, Qari Baryal, dominated Kunar Province as part of an alliance with Taliban
commander Dost Mohammed.347 Giustozzi’s reporting implies that this defection swung the balance
of power in Kunar Province from HIG to the Taliban, as it did in Kapisa. While not confirming all of
the details in Giustozzi’s account, Wesley Morgan from the U.S. Institute of Peace indicated that the
Taliban managed to coopt some insurgent fighters in the province.348 The Taliban’s claims of
responsibility for attacks in Kunar Province from 2007 to 2012 further bolster Giustozzi’s case. For
example:

         October 19, 2007: The Taliban claimed to have used an explosive to attack an American tank,
          alleging that this killed the troops in the vicinity.349

         June 21, 2010: The Taliban claimed to have killed American troops in a suicide bombing on
          June 21 in the Shigal District.350




345 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 1908.
346 Ibid., loc. 1921.
347 Ibid., loc. 1945.
348
    Wesley Morgan, Ten Years in Afghanistan’s Pech Valley, (Washington, D.C.: United States Institute of Peace, 2015),
https://www.usip.org/sites/default/files/SR382-Ten-Years-in-Afghanistans-Pech-Valley.pdf.
349 “Harvest of Taliban Military Operations, October 19-20, 2007,” SITE Intelligence, October 22, 2007,

https://ent.siteintelgroup.com/Jihadist-News/harvest-of-taliban-military-operations-october-19-20-2007.html (Ex. JJ).
350 “Afghan Taliban Claims Attack by Female Suicide Bomber,” SITE Intelligence Group, June 22, 2010,

https://ent.siteintelgroup.com/Jihadist-News/site-intel-group-6-22-10-at-female-sb-kunar.html (Ex. KK).



                                                           59
          Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 66 of 143




         August 8, 2012: The Taliban claimed to have used a suicide bombing attack to kill “soldiers of
          the occupation forces” in the city of Asadabad.351 Command Sergeant Major Kevin J. Griffin
          was killed in this attack.352 His family members are plaintiffs in this case.

While the Shamsatoo Shura’s defection in March 2005 apparently did not eliminate the HIG presence
in Kunar, this mix of primary and secondary sources suggests that the Taliban became the dominant
insurgent group in Kunar after that point.353




                                               Laghman Province – BBC

When the attacks at issue occurred in Laghman Province from 2009 to 2011, the Taliban likely had
area of operations dominance for two reasons. First, primary and secondary sources point to the
Taliban as the strongest insurgent group in the area. A 2008 RAND Corporation report concludes
that the Taliban was the strongest group in the province at the time.354 Giustozzi also writes that the
Peshawar Shura saw an uptick in external support partially because it was “fighting well” in some
eastern Afghan provinces, including Laghman, around 2010.355 Ruttig also writes there is a strong
Taliban network among the province’s Pashai minority.356 In addition to this expert analysis, the
Taliban claimed responsibility for a June 27, 2011 insider attack against American troops in Alishing
District of Laghman Province.357 These sources demonstrate, at minimum, that the Taliban had a
robust fighting force in Laghman Province.

351 “Afghan Taliban Claims Killing 17 in Kunar Suicide Bombings,” SITE Intelligence Group, August 8, 2012,
https://ent.siteintelgroup.com/Jihadist-News/afghan-taliban-claims-killing-17-in-kunar-suicide-bombings.html (Ex. LL).
352 “Attack in Asadabad – Suicide Bomb Leaves Command Sgt. Major, Two Officers Dead,” Military Times, March 27,

2013, https://www.militarytimes.com/2013/03/27/attack-in-asadabad-suicide-bomb-leaves-command-sgt-major-two-
officers-dead/; Alissa J. Rubin, “Fatal Attack Shows Plan to Unsettle Afghanistan,” New York Times, August 8, 2012.
353 Casey Garrett Johnson, The Political Deal with Hezb-e-Islami (Washington, D.C.: United States Institute of Peace, 2018),

p. 11, https://www.usip.org/sites/default/files/2018-07/pw_139_the_political_deal_with_hezb_e_islami.pdf; David
Kilcullen, “Taliban and Counter-Insurgency in Kunar,” in Decoding the New Taliban, ed. Antonio Giustozzi, (New York:
Columbia University Press, 2009), p. 236-238.
354  Seth Jones, Counterinsurgency in Afghanistan (Arlington, VA: RAND Corporation, 2008), p. 39,
https://www.rand.org/content/dam/rand/pubs/monographs/2008/RAND_MG595.pdf.
355 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 2216.
356 Thomas Ruttig, The Other Side: Dimensions of the Afghan Insurgency: Causes, Actors, and “Approaches to Talks,” (Kabul,

Afghanistan: Afghanistan Analysts Network, July 2009), p. 13, https://www.afghanistan-analysts.org/wp-
content/uploads/downloads/2012/10/200907-AAN-Report-Ruttig-The-Other-Side.pdf.
357 “Afghan Taliban Reports Afghan Soldier Killing Three Americans,” SITE Intelligence Group, June 27, 2011,

https://ent.siteintelgroup.com/Jihadist-News/afghan-taliban-reports-afghan-soldier-killing-three-americans.html
(Ex. MM).



                                                            60
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 67 of 143




Second, it is not clear that HIG had the fighting force to match the Taliban from 2009 to 2011 in
Laghman Province. There are conflicting accounts of HIG’s strength in Laghman Province.
According to the Institute for the Study of War, Laghman Province was one of HIG’s main areas of
operations.358 However, a report from the United States Institute of Peace indicated that HIG only
controlled several communities in Laghman.359 These accounts suggest that Laghman Province was
one of the provinces where HIG was the most active, despite only controlling a few communities. As
a result, these accounts imply that HIG was relatively weak in Laghman Province—and in Afghanistan
more broadly. While Giustozzi does not detail the impact of the Shamsatoo Shura’s defection on HIG
in Laghman, it likely affected HIG’s strength in the province, as any size defection is going to leave a
group with less manpower and possible lower morale.360 As a result, it is more likely than not that the
Taliban was the dominant fighting force when the attacks occurred.

                                                   From the first attack at issue in 2008 until ISIS-
                                                   K’s formation in 2015, the Taliban likely
                                                   exercised area of operation dominance in
                                                   Nangarhar Province. As noted for other eastern
                                                   provinces, the defection of HIG’s Shamsatoo
                                                   Shura to the Taliban in March 2005 apparently
                                                   gave the Taliban the upper hand in eastern
                                                   Afghanistan, including Nangarhar Province.361 In
                                                   particular, Giustozzi wrote that Shamsatoo’s
                                                   “Qari Habibullah and his brother Qari Atiqullah
                                                   dominated in Nangarhar,” and their defection
                                                   apparently allowed the Taliban became the
                                                   dominant force in the province.362 While there
                                                   was reportedly some remaining HIG presence in
Nangarhar Province as of 2007, Giustozzi indicates that the Taliban was likely the stronger force.363

Although ISIS-K’s robust operations in Nangarhar Province starting in 2015 complicate any
subsequent assessment of insurgent group strength, only one attack at issue occurred following the
formation of ISIS-K. It appears that the Taliban was responsible for that attack. On June 10, 2017, an
Afghan soldier conducted an insider attack in Nangarhar Province, killing three American soldiers.364


358 “Hizb-i-Islami Gulbuddin (HIG),” Institute for the Study of War, n.d., http://www.understandingwar.org/hizb-i-islami-

gulbuddin-hig; “Les zones d'influence talibanes en Afghanistan,” Le Monde (France), May 3, 2007,
https://web.archive.org/web/20070517072931/http://www.lemonde.fr/web/infog/0,47-0@2-3216,54-905049@51-
907647,0.html.
359 Casey Garrett Johnson, The Political Deal with Hezb-e-Islami (Washington, D.C.: United States Institute of Peace, 2018),

p. 11, https://www.usip.org/sites/default/files/2018-07/pw_139_the_political_deal_with_hezb_e_islami.pdf.
360 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 1908.
361 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 1921.
362 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 1945.
363    “Les zones d'influence talibanes en Afghanistan,” Le Monde (France), May 3, 2007,
https://web.archive.org/web/20070517072931/http://www.lemonde.fr/web/infog/0,47-0@2-3216,54-905049@51-
907647,0.html.
364
    Rod Nordland, “3 U.S. Soldiers Are Killed and a 4th Is Wounded by an Afghan Soldier,” New York Times, June 10,
2017.



                                                            61
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 68 of 143



The Taliban subsequently claimed responsibility.365 Corporal Dillon Baldridge and Sergeant William
Bays died as a result of the attack.366 Their families are plaintiffs in this case. This claim of responsibility
not only indicates that the Taliban remained active in Nangarhar Province post-2015 but also removes
the need for a provincial assessment extending beyond 2015.

                                                                 When the attacks at issue occurred in Nuristan
                                                                 Province, the Taliban likely exercised area of
                                                                 operations dominance. As previously mentioned
                                                                 in the assessments for Kapisa Province and
                                                                 Kunar Province, the defection of the Shamsatoo
                                                                 Shura from HIG to the Taliban in March 2005
                                                                 apparently shifted the balance of power among
                                                                 insurgent groups in eastern Afghanistan.367 That
                                                                 shift impacted Nuristan Province as Giustozzi
                                                                 reported that the Shamsatoo Shura’s Qari Baryal
                                                                 and Taliban commander Dost Mohammed
                                                                 “dominated” Nuristan Province.368

                                                      Here again, Taliban statements bolster
Giustozzi’s reporting. For example, on June 22, 2008, the Taliban claimed to have killed American
troops in an attack in the Kamdesh District of Nuristan Province.369 The following year, the Taliban
publicly claimed control over the same district.370 In addition, Bill Roggio of the highly reputed Long
War Journal noted that the Taliban, along with al-Qaeda, carried out an attack on U.S. forces in Wanat,
Nuristan Province on July 13, 2008.371 The attack killed Corporal Jason Bogar, 1st Lieutenant Jonathan
Brostrom, Sergeant Israel Garcia, Corporal Jason Hovater, Corporal Pruitt Rainey, and Corporal
Gunnar Zwilling—five soldiers whose family members are plaintiffs in this case.372 A major firefight
in October 2009 in the Nuristan Province between 300 Taliban members and U.S. troops at Outpost
Keating would kill 9 and injure another 27 U.S. troops, further emphasizing the size and capabilities
of the Taliban in Nuristan.373

365
    “Afghan Taliban Claims its Infiltrator in Afghan Forces Killed 4 U.S. Troops,” SITE Intelligence Group, June 10,
2017,        https://ent.siteintelgroup.com/Statements/afghan-taliban-claims-its-infiltrator-in-afghan-forces-killed-4-u-s-
troops.html (Ex. NN).
366 “William M. Bays, 29,” Los Angeles Times, n.d., http://projects.latimes.com/wardead/name/william-m-bays/.

“22-Year-Old Soldier From Youngsville Among those Killed in Afghanistan,” WRAL.com, June 12, 2017,
https://www.wral.com/youngsville-soldier-among-those-killed-in-afghanistan/16757074/.
367 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 1921.
368 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 1945.
369 “Taliban Claims Killing 34 Americans and 36 Britons,” SITE Intelligence Group, June 24, 2008,

https://ent.siteintelgroup.com/Jihadist-News/site-intel-group-6-24-08-taliban-kills-34-americans-36-britons.html
(Ex. OO).
370
    Peter Graff & Sayed Salahuddin, “Taliban Say Control Area After Battle with US,” Reuters, October 7, 2009.
371 Bill Roggio, “Joint Al-Qaeda and Taliban Force Behind Nuristan Base Attack,” Long War Journal, July 14, 2008,

https://www.longwarjournal.org/archives/2008/07/joint_al_qaeda_and_t.php.
372 Michelle Tan, “Hard-Hit C Company Suffers Another Agonizing Blow,” Military Times, July 13, 2008,

https://thefallen.militarytimes.com/army-cpl-jason-m-bogar/3630789.
373 Luis Martinez, “Camp Keating Officers Disciplined for Attack That Killed 8 U.S. Troops,” ABC News, February 5,

2010,                 https://abcnews.go.com/WN/Afghanistan/camp-keating-commanders-disciplined-attack-killed-22-
us/story?id=9761160.



                                                            62
          Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 69 of 143




At the same time, it appeared that HIG retained a presence in the province despite the defections. A
2008 report by political scientist Seth Jones implies that HIG was strong in the province, but it is
unclear whether Jones accounted for Shamsatoo’s shifting loyalties.374 Also, some analysts believe that
HIG managed to carry out a major attack on a U.S. base in Nuristan in 2009.375 While the Taliban and
HIG apparently vied for control of the insurgency in Nuristan, the aforementioned reports suggest
that the Taliban was more likely the stronger group of the two.

                                                                                   Kabul. Afghanistan’s capital city,
                                                                                   Kabul is located in Kabul
                                                                                   Province and is the site of
                                                                                   spectacular terrorist attacks
                                                                                   committed jointly by the Taliban,
                                                                                   al-Qaeda, and other terrorist
                                                                                   groups.

                                                                       Until ISIS-K’s first attack in
                                                                       Kabul in 2016, the Taliban and its
                                                                       allies very likely faced no
                                                                       challenges to its area of
                                                                       operations dominance. Insurgent
                                                                       activity in Kabul, as previously
                                                                       discussed, represents a departure
from insurgent activity elsewhere. While HIG was not always aligned with the Taliban throughout
Afghanistan, HIG participated in the terrorist syndicate with the Taliban, particularly in the Kabul
Attack Network, to execute attacks against Western and Afghan government targets.376 The Haqqanis
played a leading role in this syndicate. Giustozzi referred to the Haqqani Network as the “preeminent”
insurgent force in the Afghan capital.377 This syndicate of jihadist groups faced little challenge from
other insurgent groups until ISIS-K’s formation. In the period prior to ISIS-K’s formation, the Kabul
Attack Network, led by the Haqqanis, claimed responsibility for numerous attacks on a variety of
civilian, government, and coalition-aligned targets, and the U.S. government blamed the network for
numerous attacks. These attacks include:

         On August 15, 2009, the Taliban conducted a suicide car bombing outside NATO
          headquarters in Kabul, killing at least seven people. The Taliban claimed responsibility,
          explaining that the driver “detonated his four-wheel drive vehicle carrying more than 1,000
          pounds of explosives in order to kill Americans.”378

374   Seth Jones, Counterinsurgency in Afghanistan (Arlington, VA: RAND Corporation, 2008), p. 39,
https://www.rand.org/content/dam/rand/pubs/monographs/2008/RAND_MG595.pdf.
375 Casey Garrett Johnson, The Political Deal with Hezb-e-Islami (Washington, D.C.: United States Institute of Peace, 2018),

p. 11, https://www.usip.org/sites/default/files/2018-07/pw_139_the_political_deal_with_hezb_e_islami.pdf.
376 Mohammed Elias, “The Resurgence of the Taliban in Kabul: Logar and Wardak,” in ed. Antonio Giustozzi, Decoding

the New Taliban, (New York: Columbia University Press, 2009), p. 53; Dressler, The Haqqani Network, pp. 31, 33-34.
377 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 1886.
378 Joshua Partlow, “Bombing in Kabul’s Diplomatic Quarter Signal Taliban Intent to Disrupt Elections,” The Washington

Post,               August                 16,                 2009,               https://www.washingtonpost.com/wp-
dyn/content/article/2009/08/15/AR2009081500572.html.



                                                            63
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 70 of 143




        On May 18, 2010, a suicide car bomber killed 18 people, including five American soldiers, in
         an attack on a NATO convoy in Kabul. According to open-source reporting, the car bomb
         was composed of 1,650 pounds of explosives. The Taliban claimed responsibility.379 American
         officials have indicated that the Haqqani Network may have played a role.380

        April 27, 2011: The Taliban claimed responsibility for an insider attack in the Kabul Airport.381
         Reuters reported that nine Americans were killed by an Afghan pilot during the attack.382 The
         attack claimed the lives of Air Force Major David Brodeur and Lt. Colonel Frank Bryant
         whose families are plaintiffs in the case.

        On September 13, 2011, militants executed a multipronged attack in Kabul that killed at least
         nine people. The fighters attacked the U.S. Embassy and NATO’s headquarters, and the
         Taliban quickly claimed responsibility.383 NATO commander Gen. John Allen and the U.S.
         Department of State implicated the Haqqani Network in the attack.384

        October 29, 2011: The Taliban claimed responsibility for a suicide bombing attack on October
         29, which killed American troops in the city of Kabul.385 That day, the New York Times
         reported that a suicide bombing attack on a bus in Kabul killed “at least 12 Americans,” some
         of whom were soldiers while others were workers, on October 29.386 Lt. Colonel David
         Cabrera and Staff Sergeant Christopher Newman were among the dead, and their families are
         plaintiffs in this case.

        On April 15, 2012, militants launched another coordinated assault in Kabul, targeting NATO
         headquarters, the U.S. Embassy, the German Embassy, the British Embassy, and two hotels,
         among other targets. The attack killed 16 people, and the Taliban claimed responsibility.
         NATO’s Kabul-based spokesman indicated that the Haqqani Network was likely involved.387



379 “Kabul Suicide Bomber Kills 18 in Attack on Nato Convoy,” BBC, May 18, 2010.
380 Karin Brulliard, “Afghan Intelligence Ties Pakistani Group Lashkar-i-Taiba to Recent Kabul attack,” The Washington

Post, March 3, 2010; Stephen Tankel, “Lakshar-e-Taiba in Perspective: An Evolving Threat,” The New America
Foundation, February 2010, p. 1.
381 “Afghan Taliban Claims Suicide Attacks in Kabul, Khost,” SITE Intelligence Group, April 27, 2011,

https://ent.siteintelgroup.com/Jihadist-News/site-intel-group-4-27-11-at-sbs-kabul-khost.html (Ex. PP).
382    “Nine     Killed     in   Kabul     Attack     were   Americans-Pentagon,”     Reuters,   April     27,    2011,
https://www.reuters.com/article/afghanistan-shooting-pentagon/nine-killed-in-kabul-attack-were-americans-pentagon-
idUSN2714859320110427.
383 Mirwais Harooni & Hamid Shalizi, “Taliban Attack Across Kabul, Target U.S. Embassy,” Reuters, September 13, 2011.
384 Jack Healy & Alissa Rubin, “U.S. Blames Pakistan-Based Group for Attack on Embassy in Kabul,” The New York Times,

September 14, 2011; U.S. Department of State, “Rewards for Justice: Sirajuddin Haqqani,” n.d. (accessed July 29, 2020),
https://rewardsforjustice.net/english/sirajuddin_haqqani.html.
385 Afghan Taliban Gives Biography of Kabul Suicide Bomber, Claims Attacks,” SITE Intelligence, October 31, 2011,

https://ent.siteintelgroup.com/Jihadist-News/afghan-taliban-gives-biography-of-kabul-suicide-bomber-claims-
attacks.html (Ex. QQ).
386 Rod Nordland, “12 Americans Die as Blast Hits Bus in Afghanistan,” The New York Times, October 29, 2011,

https://www.nytimes.com/2011/10/30/world/asia/deadly-attack-strikes-nato-bus-in-kabul.html.
387 Alissa Rubin et al., “Complex Attack by Taliban Sends Message to West,” The New York Times, April 15, 2012.




                                                          64
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 71 of 143




        On June 25, 2013, three suicide bombers attacked the Afghan Presidential Palace and Ariana
         Hotel, which the Taliban claimed housed the CIA’s headquarters in Kabul.388 The Taliban
         claimed responsibility, and Afghan officials indicated to the media that they believed the
         Haqqani Network was behind the attack.389

        January 29, 2015: The Taliban claimed responsibility for an insider attack on January 29 in the
         Kabul airport.390 The New York Times reported that three Americans died in the attack.391 One
         of those Americans was Jason Landphair, a civilian government contractor whose family
         members are plaintiffs in this case.

The Kabul Attack Network’s dominance in Kabul did not face a major challenge from another
insurgent group until the rise of ISIS-K. When ISIS-K emerged in early 2015, its efforts initially
focused on Nangarhar Province, as previously mentioned. The group only claimed responsibility for
its first attack in Kabul in July 2016, which targeted a demonstration by Afghanistan’s Shia Muslim
minority.392 Following this attack, the Kabul Attack Network and ISIS-K conducted numerous attacks
in the Afghan capital. However, only one attack at issue in the complaint occurred following ISIS-K’s
first attack in Kabul. That attack, a suicide bombing that occurred on January 14, 2019, killed
Manoharan Kamaleson, and the Taliban claimed responsibility.393 ISIS-K, in contrast, did not claim
responsibility.

Therefore, the Kabul Attack Network, including the Taliban, was clearly the dominant group in Kabul
prior to the emergence of competition from ISIS-K. After the emergence of competition, the Taliban
very likely conducted the only attack at issue in this case.

North Central Afghanistan. This region comprises the areas north of Kabul, including Parwan,
Kapisa, Baghlan, and Kunduz Provinces. Although HIG and ISIS-K operated in these areas at times,
I conclude that the Taliban likely had area of operations dominance at all times relevant to this case.




388 Alissa Rubin, “Taliban Strike Near Palace Inside Kabul,” The New York Times, June 24, 2013.
389 Mirwais Harooni & Hamid Shalizi, “Afghan Taliban Attack in Kabul Throws Peace Talks into Further Doubt,” Reuters,

June 24, 2013.
390 “Afghan Taliban Claims Infiltrator Attack that Killed Three Americans in Kabul,” SITE Intelligence Group, January

30, 2015, https://ent.siteintelgroup.com/Statements/afghan-taliban-claims-infiltrator-attack-that-killed-three-americans-
in-kabul.html (Ex. RR).
391 Joseph Goldstein, “Three Americans are Killed in a Shooting at Kabul Airport,” New York Times, January 29, 2015.
392 Sune Engel Rassmussen, “Isis claims responsibility for Kabul bomb attack on Hazara protesters,” The Guardian

(London), July 24, 2016.
393 Rupam Jain & Abdul Qadir Sediqi, “Afghan Taliban Claim Lethal Car Bomb Attack in Kabul,” Reuters, January 14,

2019,       https://www.reuters.com/article/us-afghanistan-blast/afghan-taliban-claim-lethal-car-bomb-attack-in-kabul-
idUSKCN1P909T; “Fatal Blast Rocks Afghan Capital Kabul,” Al Jazeera, January 15, 2019,
https://www.aljazeera.com/news/2019/1/15/fatal-blast-rocks-afghan-capital-kabul; Alejandra Reyes-Velarde, “A
Victim of Afghan Suicide Bombing Grew up in Arcadia,” Los Angeles Times, January 16, 2019,
https://www.latimes.com/local/lanow/la-me-ln-mano-kamaleson-suicide-attack-20190116-story.html.



                                                           65
            Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 72 of 143




                                                                    Between 2008 and 2011, when
                                                                    the attacks considered in this case
                                                                    occurred, the Taliban very likely
                                                                    maintained area of operations
                                                                    dominance among the various
                                                                    insurgent forces in Baghlan
                                                                    Province. From 2008 to 2010,
                                                                    Hizb-i-Islami      (HIG)       also
                                                                    “maintained       a     significant
                                                                    presence”       in      Baghlan.394
                                                                    However, during the period
                                                                    relevant to this case, the Taliban
                                                                    was consistently in the process of
gaining provincial dominance by displacing HIG. By March 2010, the Taliban had unambiguously
usurped HIG in Baghlan, such that one authoritative account from April 2011 concluded that “since
the March [2010] clash, the local Hezb-e Islami group has not recovered and remains weak in the
province while the Taleban control more than half of the districts most of the time.”395

Taliban expansion into Baghlan began in 2008, focusing on the districts of Nahrin, Khost-wa-Fering,
and Andarab. Much of its early penetration actually occurred through cooperation with HIG, whom
the Taliban would later displace. A report published by the U.S. Institute of Peace in 2014 described
this early Taliban penetration, noting that “in Puli Khumri, Dahan-e-Ghori, and Baghlan-e-Jadid, the
Taliban relied on local Hizb-e-Islami commanders to gain a foothold.”396 This approach was
successful, resulting in a generally deteriorated security situation. Abdul Rahman Rahimi, Baghlan
province’s police chief between April 2010 and September 2011, reported that during this period
Taliban forces “regularly infiltrated” the provincial capital city of Puli Khumri “at night and launched
random attacks on government posts and then withdrew without much resistance.”397

The Taliban’s ability to contest Puli Khumri helped demonstrate its growing influence in Baghlan.
Not only was Puli Khumri the provincial capital but also one of the province’s major highways, Route
A76, goes through this city. Highways in Baghlan were significant at the time because the province
was part of a major transit route linking Baghlan and Kunduz provinces to South Tajikistan. NATO
and Afghan forces relied on this route to move fuel and other supplies. These highways and roads
also served as a trade corridor that could benefit insurgent groups, as this corridor served as “a valuable
source of income and power.”398 Between 2009 and 2011, the Taliban maintained control over multiple



394 Matthew DuPee and Anand Gopal, “Tensions Rise Between Hizb-i-Islami and the Taliban in Afghanistan,” CTC

Sentinel vol. 3 issue 8 (August 2010), p. 21.
395 Antonio Giustozzi and Christoph Reuter, “The Insurgents of the Afghan North,” AAN Thematic Report, (April 2011),

p. 42.
396 Jonathan Goodhand and Aziz Hakimi, Counterinsurgency, Local Militias, and Statebuilding in Afghanistan (Washington, D.C.:

United States Institute of Peace, 2014), p. 27.
397 Ibid.
398 Matthew DuPee and Anand Gopal, “Tensions Rise Between Hizb-i-Islami and the Taliban in Afghanistan,” CTC

Sentinel vol. 3 issue 8 (August 2010), p. 21.



                                                            66
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 73 of 143



highways in Baghlan that connected the province to Kunduz and Balkh.399 It was “impossible to travel
on” these roads during this period.400 The New York Times also reported that the Taliban would actively
block these key roads throughout the province and attack any government or development workers
who tried to pass through.401

The Taliban’s dominance of Baghlan soon extended beyond Puli Khumri. By June 2010, Muhammad
Rasoul Musini, Baghlan’s provincial council chief, stated that the Taliban had established “clandestine
military centers” in 11 of Baghlan’s districts, which only left five districts “under de facto government
control.”402

In its expansion throughout the province, the Taliban was displacing its erstwhile ally HIG as the
preeminent insurgent group. As I noted, the Taliban initially cooperated with HIG to gain footholds
in districts such as Puli Khumri, Dahan-e-Ghori, and Baghlan-e-Jadid. HIG was the dominant militant
group in these districts prior to the Taliban’s penetration. The cooperation between the Taliban and
HIG proved to be ephemeral because the two groups viewed each other with suspicion and a sense
of competition.403 HIG feared a loss of control as the Taliban rose, while the Taliban was concerned
that HIG might form an alliance with the Afghan government to reverse its waning influence. These
underlying frictions eventually erupted in direct conflict in the spring of 2010. On March 7, 2010, the
Taliban overtook HIG strongholds in the districts of Dahan-e-Ghori and Baghlan-e-Jadid, which
represented a total military defeat of HIG forces in the province.404

A notable indication of the drastic diminution of HIG’s standing in the insurgency in Baghlan was
when its leadership reached out to the Afghan government for direct support in thwarting the
Taliban’s rise. HIG members served as informants to the Afghan security forces, who would use this
information to target and kill Taliban leaders in Baghlan. HIG’s reliance on Afghan soldiers to kill
Taliban leaders showed that its ability to deploy its own fighters and personnel had been greatly
diminished. Additionally, the cooperation between HIG and the Afghan government demonstrated
how both HIG and also the Afghan forces felt increasingly threatened by the Taliban’s explosive
growth. Matthew DuPee and Anand Gopal explained in the CTC Sentinel that, due to the Taliban’s
rise, an increasingly desperate “government appears to be outsourcing security and intelligence
networks to Hizb-i-Islami to prevent the Taliban from gaining more territory, while at the same time
Hizb-i-Islami is siding with the government to prevent further erosion of its influence from Taliban
intrusions.”405




399 Anthony Bell, David Witter and Michael Whittaker, “Reversing the Northeastern Insurgency,” Afghanistan Report 9

(Washington, DC: Institute for the Study of War, 2011), p. 19.
400 Jonathan Goodhand and Aziz Hakimi, Counterinsurgency, Local Militias, and Statebuilding in Afghanistan (Washington D.C.,:

United States Institute of Peace, 2014), p. 29.
401 Alissa J. Rubin, “Taliban Exploit Openings in Neglected Province,” The New York Times, July 29, 2010.
402 Matthew DuPee and Anand Gopal, “Tensions Rise Between Hizb-i-Islami and the Taliban in Afghanistan,” CTC

Sentinel vol. 3 issue 8 (August 2010), p. 21.
403 Ibid.
404 Antonio Giustozzi and Christoph Reuter, “The Insurgents of the Afghan North,” AAN Thematic Report, (April 2011),

pp. 22 & 42.
405 Matthew DuPee and Anand Gopal, “Tensions Rise Between Hizb-i-Islami and the Taliban in Afghanistan,” CTC

Sentinel vol. 3 issue 8 (August 2010), p. 21.



                                                            67
         Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 74 of 143



The government and HIG’s collaboration did inflict damages on the Taliban’s provincial leadership.
Between April and May 2010, for example, Afghan National Security Forces (ANSF) and International
Security Assistance Forces (ISAF) killed three Taliban shadow governors in Baghlan.406 Despite such
setbacks, the Taliban retained operational dominance while HIG never fully recovered from the losses
that the Taliban inflicted upon it in March 2010.407

From November to December 2010, the Taliban confronted strengthened efforts by ISAF and the
ANSF to clear the province of insurgents and regain control of Baghlan’s highways.408 During this
period, the Taliban were pushed out of Baghlan-e-Jadid, Baghlan-e-Markazi, and Dahan-e-Ghori. On
December 26, 2010, the Afghan government claimed success in its effort to overtake these areas and
clear out the Taliban.409 This victory, however, did not eliminate the Taliban’s presence from Baghlan.
By early 2011, Borka district was “firmly in Taliban hands,” as it regrouped there.410 Beyond Borka,
the Taliban resumed its attacks against government outposts and personnel, as well as raids on police
checkpoints throughout the province that targeted areas such as Baghlan-e-Markazi.411 The Taliban
therefore retained its operational dominance, relative to other insurgent groups in Baghlan province,
going into 2011.

When the attacks at issue in this case occurred in
Kapisa Province from 2007 to 2009, the Taliban
likely had area of operations dominance.
Giustozzi provides an overview of how a large
swath of HIG fighters in the region where Kapisa
is located defected to the Taliban. Although HIG
had historically been “predominant” in eastern
Afghanistan, including Kapisa, the Taliban
worked to coopt important elements of HIG in
the early years of its insurgency.412 In particular,
the Taliban lured the majority of the Shamsatoo
Shura, a HIG shura based in the Shamsatoo
refugee camp near Peshawar, to join the emerging
Peshawar Shura in March 2005. According to
Giustozzi, the shura, renamed the Shamsatoo
Mahaz, became the largest part of the Peshawar Shura.413 One of the Shura’s leaders, Qari Baryal,


406 Anthony Bell, David Witter and Michael Whittaker, “Reversing the Northeastern Insurgency,” Afghanistan Report 9

(Washington, DC: Institute for the Study of War, 2011), pp. 19-20.
407 Antonio Giustozzi and Christoph Reuter, “The Insurgents of the Afghan North,” AAN Thematic Report, (April 2011),

p. 42.
408 Anthony Bell, David Witter and Michael Whittaker, “Reversing the Northeastern Insurgency,” Afghanistan Report 9

(Washington, DC: Institute for the Study of War, 2011), p. 19.
409 Ibid., p. 20.
410 Paul Wood, “A Battle in Baghlan,” Foreign Policy, March 11, 2011, https://foreignpolicy.com/2011/03/11/a-battle-in-

baghlan/; see also Anthony Bell, David Witter and Michael Whittaker, “Reversing the Northeastern Insurgency,”
Afghanistan Report 9 (Washington, DC: Institute for the Study of War, 2011), p. 20.
411 Anthony Bell, David Witter and Michael Whittaker, “Reversing the Northeastern Insurgency,” Afghanistan Report 9

(Washington, DC: Institute for the Study of War, 2011), p. 20-21.
412 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 1908.
413 Ibid., loc. 1921.




                                                          68
         Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 75 of 143



dominated Kapisa Province.414 Giustozzi’s reporting implies that this defection swung the balance of
power from HIG to the Taliban in Kapisa Province. Furthermore, the Taliban did claim at least one
important attack on NATO forces in the province during the period in question. Specifically, it
claimed responsibility for a July 31, 2008 attack against French soldiers in the Tagab district of the
province.415 Considering this information, the Taliban was likely the strongest insurgent group in
Kapisa Province following the Shamsatoo Shura’s defection to the Taliban in March 2005.

                                              The Taliban likely maintained area of operations dominance
                                              in Kunduz Province when the attacks at issue in this case
                                              occurred in 2009 and 2010. The Taliban’s likely control of the
                                              province marked a major victory for its insurgency. The home
                                              province of HIG leader Gulbuddin Hekmatyar, Kunduz
                                              Province had “extensive and well-organized networks” loyal
                                              to HIG before the Taliban’s arrival in the 1990s.416 However,
                                              the Taliban’s rise to power led to defections from HIG, and
                                              Hekmatyar reportedly failed to reconstitute his forces fully in
                                              the province after the Taliban’s fall from power.

                                         By the time the attacks at issue occurred, the Taliban had
                                         established itself as a formidable group in the province. Sippi
                                         Azarbaijani-Moghaddam, a social scientist and development
                                         consultant based in Kabul, noted that the Taliban started to
                                         expand its operations in northern Afghanistan by late 2007
and sent high-profile commanders to the area.417 She also found that “the main focus of the Taliban
is reportedly on Kunduz as the base of operations.”418 At this time, the Taliban, according to Giustozzi,
worked to exploit the grievances of local Pashtuns against local warlords opposed to the Taliban.419
He also noted that the Taliban was escalating its attacks in the province by early 2008.420 According to
Azarbaijani-Moghaddam, “Qari Bashir Haqqani, a Taliban commander in Kunduz, claims that he has
13 mujahedin groups under his command, three created for the sole purpose of attacks on German
and other foreign ‘invaders.’”421 While it is difficult to fully corroborate Haqqani’s assertions, the
Taliban claimed responsibility for at least one attack on U.S.-led forces during the time period of
concern: a suicide bombing on a joint Afghan and foreign convoy in the Imam Sahib District on
August 5, 2010.422 While little information exists on HIG in the province at the time of the attacks,

414 Ibid., loc. 1945.
415  “Taliban ‘Harvest’ of Military Operations, July 30-31, 2008,” SITE Intelligence Group, August 1, 2008,
https://ent.siteintelgroup.com/Statements/site-intel-group-8-1-08-taliban-harvest-7-30-7-31.html (Ex. SS).
416 Sippi Azarbaijani-Moghaddam, “Norther Exposure for the Taliban,” in Decoding the New Taliban, ed. Antonio Giustozzi

(New York: Columbia University Press, 2009), p. 259-260.
417 Sippi Azarbaijani-Moghaddam, “Norther Exposure for the Taliban,” in Decoding the New Taliban, ed. Antonio Giustozzi

(New York: Columbia University Press, 2009), p. 257.
418 Sippi Azarbaijani-Moghaddam, “Norther Exposure for the Taliban,” in Decoding the New Taliban, ed. Antonio Giustozzi

(New York: Columbia University Press, 2009), p. 257.
419 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 1227.
420 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 979.
421 Sippi Azarbaijani-Moghaddam, “Norther Exposure for the Taliban,” in Decoding the New Taliban, ed. Antonio Giustozzi

(New York: Columbia University Press, 2009), p. 260.
422 “Afghan Taliban Claims Suicide Bombing Killing 65 in Kunduz,” SITE Intelligence Group, August 5, 2010.

https://ent.siteintelgroup.com/Jihadist-News/site-intel-group-8-5-10-at-sb-helicopter-civilians.html (Ex. TT). For



                                                          69
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 76 of 143



this evidence indicates that the Taliban clearly established a strong military presence in the province.
Additionally, though it occurred after the time period in which the attacks at issue occurred, the
Taliban’s seizing of Kunduz City in 2015 suggests that the group was able to deeply entrench itself in
the province in the preceding years.423 Therefore, the Taliban was likely the dominant group in the
province when the attacks occurred.




                                                   Parwan Province

When the attacks at issue took place in Parwan Province from 2008 to 2016, the Taliban very likely
exercised area of operations dominance. I reach this conclusion for two reasons. First, primary and
secondary sources indicate that the Taliban was not only stronger than other insurgent groups in parts
of Parwan Province but also stronger than the Afghan government and its allies. A 2012 article from
Public Radio International noted that, “Most of the trouble here can be traced to the region of
Ghorband, which encompasses four of Parwan’s 10 districts ... in some places there, the Taliban
essentially have full control, while in others they can move relatively freely around the inhospitable
landscape.”424 The governor of Parwan, speaking to an Afghan news outlet in 2016, said that “there
are Taliban rebels in Siagard, Shinwari and parts of Sheikh Ali districts [in Parwan]. According to our
information, their number ranges from 400 to 500.”425 The Taliban also claimed responsibility for at
least one attack during the time period at issue, alleging that a Taliban suicide bomber attacked
American troops in the Province on November 14, 2014.426 Around the time of the governor of
Parwan interview with the Afghan news outlet in 2016, the Taliban kidnapped three aid workers in




additional reporting about the attack, see “Factbox – Security Developments in Afghanistan, August 5,” Reuters, August 5,
2010, https://www.reuters.com/article/idUSSGE6740IG; “7 Dead in Afghan Suicide Attack,” CNN, August 5, 2010,
https://www.cnn.com/2010/WORLD/asiapcf/08/05/afghanistan.attack/index.html.
423 Ehsanullah Amiri, Margherita Stancati, & Habib Khan Totakhil, “Taliban Seize Control of Kunduz, Key Stronghold in

Northern Afghanistan,” The Wall Street Journal, September 28, 2015, https://www.wsj.com/articles/afghanistan-city-of-
kunduz-largely-under-taliban-control-1443447706.
424 Chris Sands, “Afghanistan: Taliban fear grips once peaceful Parwan province,” Public Radio International, November 1,

2012, https://www.pri.org/stories/2012-11-01/afghanistan-taliban-fear-grips-once-peaceful-parwan-province.
425 “Officials Concerned Over Presence Of Taliban In Parwan,” Tolo News (Afghanistan), May 27, 2016,

https://tolonews.com/afghanistan/officials-concerned-over-presence-taliban-parwan.
426 “Afghan Taliban Claims Killing 8 Americans in Suicide Bombing in Parwan,” SITE Intelligence Group, November 14,

2014,        https://ent.siteintelgroup.com/Statements/afghan-taliban-claims-killing-8-americans-in-suicide-bombing-in-
parwan.html (Ex. UU).



                                                           70
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 77 of 143



the province.427 Additionally, the Taliban also claimed responsibility for a 2016 attack on the Bagram
Airfield in Parwan.428 At minimum, these sources point to a robust Taliban presence in the province.

Second, the Taliban’s competitors likely did not have a presence in the province. Most of the attacks
at issue occurred prior to the formation of ISIS-Khorasan Province. Although ISIS-K was formed in
early 2015, a report by the United Nations Assistance Mission in Afghanistan found that the group
focused its activities in 2015 solely in Nangarhar Province and implied the group had little to no
operations in Parwan Province.429 In December 2016, the Department of Defense maintained that
ISIS-K’s operational reach was limited to a few districts in Nangarhar and lacked the capability to
coordinate attacks in multiple provinces.430 Also formed in 2015, the Rasool Shura, based in western
Afghanistan, unlikely expanded its reach eastward to Parwan by the end of 2016.431 Additionally, I
found no evidence that there was significant HIG presence in Parwan Province during this time.

Western Afghanistan. This is the area of Afghanistan which borders Iran and Turkmenistan. It
includes Nimruz, Farah, Herat, Baghdis, Ghor, and Faryab provinces.




                                                      Badghis Province

When the attacks at issue in Badghis Province occurred in 2010 and 2011, I conclude for two reasons
that the Taliban very likely exercised area of operations dominance. First, primary and secondary
sources indicated that the Taliban controlled parts of the province and conducted attacks in the
province around the time when the attacks at issue occurred. According to Giustozzi, the Taliban
established a foothold in Badghis starting in 2007, and it controlled or gained the freedom to operate
in large parts of the province by 2009.432 The Taliban then claimed responsibility for at least two attacks
in 2010 and 2011. The Taliban claimed responsibility for an August 25, 2010 insider attack against


427 Fazul Rahim, Mushtaq Yusufzai and F. Brinley Bruton, “Analysis: Why Afghanistan Peace Prospects Look Worse After

Mansour's Death,” NBC News, June 7, 2016, https://www.nbcnews.com/news/world/analysis-why-afghanistan-peace-
prospects-look-worse-after-mansour-s-n585186.
428    Afghanistan:    Explosion     hits    US    airbase    in    Bagram,”      Reuters,     November          12,   20016,
https://www.aljazeera.com/news/2016/11/12/afghanistan-explosion-hits-us-airbase-in-bagram.
429 United Nations Assistance Mission in Afghanistan, Afghanistan Annual Report 2015: Protection of Civilians in Armed Conflict

(February                                  2016),                                p.                                    56-57,
https://unama.unmissions.org/sites/default/files/poc_annual_report_2015_final_14_feb_2016.pdf.
430 Department of Defense, Enhancing Security and Stability in Afghanistan, (December 2016), p. 23-24.

https://www.hsdl.org/?view&did=797662.
431 Antonio Giustozzi, “Afghanistan: Taliban’s Organization and Structure,” (Oslo: Norwegian Country of Origin

Information Centre, 2017), p. 7, https://landinfo.no/asset/3589/1/3589_1.pdf.
432 Antonio Giustozzi, “The Taliban’s Marches: Herat, Farah, Baghdis and Ghor,” Decoding the New Taliban, ed. Antonio

Giustozzi (New York: Columbia University Press, 2009), p. 222-223.



                                                             71
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 78 of 143



Spanish troops.433 The New York Times and Foreign Policy reported that this attack killed two Spanish
“police trainers.”434 The Taliban also claimed responsibility for an October 2011 suicide bombing in
the Murghab District.435 Second, I found no evidence of a HIG presence in the province during the
period when the attacks at issue in this case occurred.




                                                   Farah Province

Primary and secondary sources indicate that the Taliban very likely maintained area of operation
dominance in Farah Province when the attack at issue occurred in 2011. Farah was “an historic
hotbed of Taliban activity” according to an unclassified U.S. Central Command investigation which
led to the governor of Farah requesting military support in April 2009.436 In early 2011, the
International Security Assistance Force, the NATO-led multinational support force in Afghanistan,
announced the capture of a Taliban leader in Farah who was coordinating attacks from the province.437
Additionally, the Taliban kidnapped 31 demining workers in Farah and killed 4 of them, releasing the
rest with a warning to stop their work with foreign organizations.438 The Taliban also claimed
responsibility for an attack on an Afghan police outpost in the province in 2012.439 Furthermore, I
also found no evidence of HIG presence during this timeframe.




433 “Afghan Taliban Claims Connection with Afghan who Killed Spanish,” SITE Intelligence Group, August 25, 2010,

https://ent.siteintelgroup.com/Jihadist-News/site-intel-group-8-25-10-at-spanish-badghis.html (Ex. VV).; Bill Roggio
and Lisa Lundquist, “Green-on-Blue Attacks in Afghanistan: The Data,” Real Clear Defense, March 21, 2017,
https://www.realcleardefense.com/articles/2017/03/21/green-on-blue_attacks_in_afghanistan_the_data_111015.html.
434 Rod Nordland, “Afghan Police Trainee Kills Two Spanish Soldiers,” The New York Times, August 25, 2010,

https://www.nytimes.com/2010/08/26/world/asia/26afghan.html; Katherine Tiedemann, “Daily Brief: Afghan Kills 2
Spanish Officers,” Foreign Policy, August 25, 2010, https://foreignpolicy.com/2010/08/25/daily-brief-afghan-kills-2-
spanish-officers/.
435 “Afghan Taliban Claims Suicide Attacks in Badghis, Paktia,” SITE Intelligence Group, October 19, 2011,

https://ent.siteintelgroup.com/Jihadist-News/afghan-taliban-claims-suicide-attacks-in-badghis-paktia.html (Ex. WW).
436 USCENTCOM, Unclassified Executive Summary (June 18, 2009), p. 3, https://www.hsdl.org/?view&did=35748.
437 “Afghan,      coalition forces detain Taliban leader in Farah province” DVIDS, January 2, 2011,
https://www.dvidshub.net/news/62880/afghan-coalition-forces-detain-taliban-leader-farah-province.
438 “Taliban Kills 4 Workers from Demining Group, Frees 27 Others,” CNN, July 11, 2011.
439 “At Least Eight Killed in Taliban Attack on Afghan Police Outpost,” Radio Free Europe/Radio Liberty, April 4, 2012.




                                                          72
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 79 of 143



                                                              The Taliban very likely maintained area
                                                              of operations dominance in Faryab
                                                              Province when the attacks at issue
                                                              occurred in 2010 and 2012. Both
                                                              primary and secondary sources provide
                                                              evidence that the Taliban launched
                                                              attacks in the province during this time
                                                              and had a presence in this province.
                                                              Giustozzi finds that the Taliban
                                                              established itself in Faryab by 2010,
                                                              writing that “the Taliban also used
                                                              Baghdis in 2007-2008 as a platform for
                                                              infiltrating the neighboring province of
Faryab.”440 The Taliban claimed responsibility for at least one attack during the time period: a suicide
bombing on April 4, 2012 in the city of Maimana, which killed three American soldiers.441 I also found
no evidence that suggested a HIG presence in the Faryab Province during the period when these
attacks occurred.

When the attacks at issue occurred in 2009 in
Herat Province, the Taliban very likely held
area of operations dominance. I reach this
conclusion for two reasons. First, primary
and secondary sources point to Taliban
control over the province in 2009. As of that
year, the Taliban had a substantial presence
in the southern part of the province,
specifically in Shindand District, and the
ability to strike urban centers such as Herat
City.442 The Taliban also claimed
responsibility for at least one attack during
the time period: an attack in Karukh District
on March 3, 2009.443

Second, rival groups had little footprint in the province at the time. Giustozzi acknowledged that “by
2008, there were signs that Hizb-i-Islami itself was trying to reorganize in Herat province at least” but
stressed that the HIG networks “among non-Pashtuns were not very strong in the west” — where


440 Antonio Giustozzi, “The Taliban’s Marches: Herat, Farah, Baghdis and Ghor,” Decoding the New Taliban, ed. Antonio

Giustozzi (New York: Columbia University Press, 2009), p. 223.
441 “Afghan Taliban Claims Killing 28 in Faryab Suicide Bombing,” SITE Intelligence Group, April 4, 2012,
https://ent.siteintelgroup.com/Jihadist-News/afghan-taliban-claims-killing-28-in-faryab-suicide-bombing.html (Ex. XX).
Matthew Rosenberg, “6 Afghans and 3 G.I.’s Are Killed by Bomber,” New York Times, April 4, 2012.
442 Antonio Giustozzi, “The Taliban’s Marches: Herat, Farah, Baghdis and Ghor,” Decoding the New Taliban, ed. Antonio

Giustozzi (New York: Columbia University Press, 2009), p. 226, 219-221.
443 “Taliban Harvest Report; Strikes American, Afghan Forces,” SITE Intelligence Group, March 6, 2009,

https://ent.siteintelgroup.com/Jihadist-News/site-intel-group-3-6-09-taliban-harvest-report-strikes-american-afghan-
forces.html (Ex. YY).



                                                         73
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 80 of 143



Herat is located.444 Based on this information, it is highly unlikely that HIG managed to rival the
Taliban as the top insurgent group in the province.

Conclusion. This section has overviewed insurgent control over provinces where attacks at issue
occurred. With the exception of post-2015 Kabul and Nangarhar, I assess that the Taliban either likely
or very likely exercised area of operations dominance in these provinces where attacks at issue
occurred. This assessment should not come as a surprise. The Taliban, as previously mentioned, has
been the dominant insurgent group in Afghanistan since the U.S. invasion. With a few years in power,
the Taliban was able to leverage extensive networks of commanders and fighters to build its
insurgency. As discussed in the prior section, the Taliban also became an increasingly effective
insurgent group over time. At the same time, HIG reportedly struggled financially.445 ISIS-K and the
Rasool Shura emerged relatively late in the course of the insurgency. As a result of these factors, the
Taliban asserted itself as the dominant insurgent group in these provinces.

VIII. Iranian Support of the Taliban through Drug Trafficking

Prior sections of this report have mentioned some of the ways in which Iran has supported the
Taliban. This support has included weapons, training, and funding.446 I understand that Mr. Roggio is
extensively addressing these forms of Iranian support in a separate report, so I will not belabor them
here. This section of the report, however, details an often-overlooked element of Iranian support to
the Taliban: drug trafficking. It first outlines the Taliban’s dependence on drug trafficking as a major
source of revenue. It then discusses how Iran used the drug trade to provide material support to the
Taliban.

The Taliban and Drug Trafficking. Afghanistan is the world’s foremost producer of opium, a narcotic
drug that comes from opium poppy plants and can be turned into heroin and morphine. A 2016 report
by the U.N. Office of Drugs and Crime concluded that Afghanistan “accounted for almost two thirds
of the global area under illicit opium poppy cultivation.”447 Furthermore, journalist Steve Coll writes,
“more than half of the poppy crop [in Afghanistan] grew in the irrigated river belts of Helmand and
Kandahar, the Taliban heartland.”448 Southern Afghanistan, however, is more than a hub for growing
opium plants. There, illicit laboratories also process opium poppy plants and turn them into drugs like
opium, morphine, and heroin. The U.N. Office of Drugs and Crime explains that “in Afghanistan,
opium production and processing are concentrated in the southern provinces, such as Hilmand and
Kandahar, where the insurgency and lack of Government control provide the ideal cover for these
illicit activities.”449 The map below visualizes that concentration of Afghanistan’s heroin processing
activity in its southernmost provinces.


444 Antonio Giustozzi, “The Taliban’s Marches: Herat, Farah, Baghdis and Ghor,” Decoding the New Taliban, ed. Antonio

Giustozzi (New York: Columbia University Press, 2009), p. 228.
445 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 1908.
446     U.S.     Defense         Intelligence   Agency,       Iran      Military     Power     (August      2019),    p.    63,
https://www.dia.mil/Portals/27/Documents/News/Military%20Power%20Publications/Iran_Military_Power_LR.pdf.
447    United Nations Office on Drugs and Crime, World Drug Report (2016), p. xii,
https://www.unodc.org/documents/scientific/WORLD_DRUG_REPORT_2016_web.pdf.
448 Steve Coll, Directorate S: The CIA and America’s Secret Wars in Afghanistan and Pakistan (United States of America, Penguin

Press, 2018), p. 266.
449 United Nations Office of Drugs and Crime, The Global Afghan Opium Trade: A Threat Assessment (July 2011), p. 142,

https://www.unodc.org/documents/islamicrepublicofiran/Afghan_Opiate_Threat_Assessment.pdf.


                                                             74
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 81 of 143




            Reported heroin lab activity in Afghanistan by Province – U.N. Office of Drugs and Crime450

The concentration of a large portion of the world’s opium production and processing in the Taliban
heartland has provided the Taliban with an invaluable opportunity to finance its insurgency.

Although the Taliban’s relationship with opium evolved substantially over the last twenty years, the
Taliban eventually took full advantage of this opportunity. While in power, the Taliban once led a
successful effort to eliminate poppy production, which decreased Afghanistan’s opium output by an
estimated 90 percent.451 However, the U.S. invasion forced the Taliban to reconsider its position. With
reduced aid from Pakistan and Gulf States after 9/11, the Taliban needed to increase its financial
independence.452 To do so, it turned in part to opium. Despite its prior stance that opium production
was “un-Islamic,” the Taliban rationalized its involvement in opium production by claiming that it
was mostly Europeans who consumed the drug.453

Following the Taliban’s decision to pursue drug trafficking as a source of funding, the group took an
active role in all aspects of the drug trade. As Gretchen Peters from the U.S. Institute of Peace notes,

450 United Nations Office of Drugs and Crime, The Global Afghan Opium Trade: A Threat Assessment (July 2011), p. 145,

https://www.unodc.org/documents/islamicrepublicofiran/Afghan_Opiate_Threat_Assessment.pdf.
451    Craig Whitlock, “Overwhelmed by Opium” The Washington Post, December 9, 2019,
https://www.washingtonpost.com/graphics/2019/investigations/afghanistan-papers/afghanistan-war-opium-poppy-
production/.
452 Steve Coll, Directorate S: The CIA and America’s Secret Wars in Afghanistan and Pakistan (United States of America, Penguin

Press, 2018), p. 268.
453 Steve Coll, Directorate S: The CIA and America’s Secret Wars in Afghanistan and Pakistan (United States of America, Penguin

Press, 2018), p. 268.



                                                             75
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 82 of 143



“traffickers and Taliban also appear to collaborate to dictate farm output. They began distributing
night letters, or shabnamah, in 2004 offering protection to farmers who grew poppy and threatening
dire consequences for anyone who did not.”454 As production increased, the Taliban initially used taxes
and other fees to profit from the drug trade. Peters writes that “a central source of Taliban revenue
comes from the ushr, the 10 percent tithe collected from poppy farmers in kind, since few of them
hold hard currency.”455 The Taliban also collected zakat, a religious wealth tax, which allowed the
Taliban to collect additional revenue from those who work in the drug trade.456 In addition to taxing
opium production, the Taliban earned an estimated “tens of millions of dollars a year in protection
fees” for guarding or permitting the safe passage of drug shipments.457 The Taliban, however, did not
stop there.

There is some evidence that the Taliban went even further in its involvement in opium production.
Steve Coll writes, “reporting from the D.E.A. office in Kabul showed that the Taliban commanders
had shifted from providing protection services to morphine labs in Afghanistan to actually running
labs.”458 Peters similarly cites a senior Afghan security official who indicated that major Taliban
commanders have their own mobile refineries.459 As a result, the Taliban became a central player in
the Afghan drug trade.

While some of this revenue stays with local Taliban commanders, Peters also describes how this
poppy-related revenue trickles up through the Taliban hierarchy: “Each sub-commander has to pay a
percentage of the proceeds he collects to his military commander at the district level, who in turn pays
off the district-level Taliban governor. A portion of these funds—still often in the form of raw or
partially refined opium—then filters up the Taliban chain of command to the provincial commander,
who will hand over a portion to the Taliban’s central financial committee.”460

While it is challenging to accurately estimate the amount of revenue garnered by an insurgent group
through illicit, often clandestine activity, there is little doubt that the Taliban has earned a substantial
amount of its revenue from the drug trade. The U.N. Office on Drugs and Crime estimated that the
Taliban earned $155 million from the drug trade in 2009.461 The U.N. Analytical Support and Sanctions
Monitoring Team, citing Afghan officials, estimated that the Taliban garnered around $100 million, a



454 Gretchen Peters, “The Taliban and the Opium Trade,” in Decoding the New Taliban, ed. Antonio Giustozzi (New York:

Columbia University Press, 2009), p. 10.
455 Gretchen Peters, “The Taliban and the Opium Trade,” in Decoding the New Taliban, ed. Antonio Giustozzi (New York:

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456 Steve Coll, Directorate S: The CIA and America’s Secret Wars in Afghanistan and Pakistan (United States of America, Penguin

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457 Gretchen Peters, “The Taliban and the Opium Trade,” in Decoding the New Taliban, ed. Antonio Giustozzi (New York:

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458 Steve Coll, Directorate S: The CIA and America’s Secret Wars in Afghanistan and Pakistan (United States of America, Penguin

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459 Gretchen Peters, “The Taliban and the Opium Trade,” in Decoding the New Taliban, ed. Antonio Giustozzi (New York:

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460 Gretchen Peters, “The Taliban and the Opium Trade,” in Decoding the New Taliban, ed. Antonio Giustozzi (New York:

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461 United Nations Office on Drugs and Crime, The Global Afghan Opium Trade: A Threat Assessment (Vienna, July 2011), p.

5, www.unodc.org/documents/data-andanalysis/Studies/Global_Afghan_Opium_Trade_2011-web.pdf.



                                                             76
         Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 83 of 143



quarter of the group’s total revenue, from the opium trade between March 2011 and March 2012.462
According to Steve Coll, one DEA estimate of Taliban revenue from the drug trade was far higher:
$500 million per year.463 Giustozzi then cites Taliban sources who claim that the “southern Taliban
made 40 percent of their income from the drug trade” in 2012 and that the Taliban made $285 million
in “drug revenue” from Kandahar and Helmand Provinces from 2014 to 2015.464 Regardless of the
precise amount, these resources undoubtedly helped fuel the Taliban’s insurgency, and this major
stream of revenue existed partially due to Iranian help.

Iran-Taliban Drug Trafficking Nexus. The Islamic Republic of Iran has played a pivotal role in the success
of the Taliban’s drug trafficking operation. As this section will show, the Iranian government has
facilitated Taliban drug shipments, exploited the drug trade to arm the Taliban, and worked with drug
smugglers to coordinate Taliban attacks on NATO troops. However, to understand the full value of
Iranian support to the Taliban through drug trafficking, it is important to understand Iran’s strategic
position vis-a-vis the Afghan drug trade.

Two of the three opium transit routes from Afghanistan to external markets identified by the United
Nations and the U.S. Special Inspector General for Afghanistan Reconstruction (SIGAR) transit
through Iran.465 An estimated 60% of Afghanistan’s heroin and morphine passes through Iran along
these two routes to reach foreign markets.466 These routes allow smugglers to transport opium to
lucrative markets in Europe and the Gulf with relative ease. According to American University
Professor John Calabrese, “the Iranian passageway is attractive to drug traffickers for the simple
reason that they must cross just two borders to get to the European market.”467 Drug traffickers can
also reach Gulf markets by a boat ride from Iran across the Persian Gulf.

The map below from the U.N. Office of Drugs and Crime outlines how heroin passes through Iran.




462 United Nations Analytical Support and Sanctions Monitoring Team, First report of the Analytical Support and Sanctions

Implementation Monitoring Team submitted pursuant to resolution 1988 (2011) concerning the Taliban and associated individuals and entities,
(March      2012),      p.     13-14,    http://www.securitycouncilreport.org/atf/cf/%7B65BFCF9B-6D27-4E9C-8CD3-
CF6E4FF96FF9%7D/s_2012_683.pdf.
463 Steve Coll, Directorate S: The CIA and America’s Secret Wars in Afghanistan and Pakistan (United States of America, Penguin

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464 Antonio Giustozzi, The Taliban at War: 2001-2018, Kindle ed., loc. 4546.
465 United Nations Office on Drugs and Crime, Afghan Opiate Trafficking Along the Northern Route (June 2018), p. 1; U.S.

Special Inspector General for Afghanistan Reconstruction, Counternarcotics, p. 14.
466 John Calabrese, Iran’s War on Drugs: Holding the Line?, (Washington, D.C.: Middle East Institute, December 1, 2007),

https://www.mei.edu/publications/irans-war-drugs-holding-line.
467 John Calabrese, Iran’s War on Drugs: Holding the Line?, (Washington, D.C.: Middle East Institute, December 1, 2007),

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                                                                   77
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 84 of 143




         Heroin trafficking routes through the Islamic Republic of Iran – U.N. Office of Drugs and Crime468

As seen on the map, heroin enters Iran through its Khorasan and Sistan and Baluchistan Provinces.
Some of the heroin comes from Afghan provinces with substantial Taliban presences like Nimroz,
Farah, and Herat.469 Other heroin shipments originate in southern Afghanistan, pass through Pakistan,
and then cross into Iran. According to Calabrese, “Zahedan, the capital of the Iranian province of
Sistan va Baluchistan, is a vital staging point for opiates trafficking.”470 Interestingly, Zahedan is also
the reported site of a Taliban office and Iranian training camp for Taliban fighters.471 While Iran’s
border with Afghanistan is large and porous, the scope of the drug trade passing through Iran, coupled


468 United Nations Office on Drugs and Crime, Afghan Opiate Trafficking Through the Southern Route (June 2015), p. 48,

https://tile.loc.gov/storage-services/service/gdc/gdcovop/2017332109/2017332109.pdf.
469   Sune Engel Rasmussen, “On the Edge of Afghanistan,” Foreign Policy, September 12, 2017,
https://foreignpolicy.com/2017/09/12/on-the-edge-of-afghanistan-taliban-iran-war-united-states/; Thomas Ruttig, Why
Farah?: A Short History of the Local Insurgency, (Kabul, Afghanistan: Afghanistan Analysts Network, June 7, 2018),
https://www.afghanistan-analysts.org/en/reports/war-and-peace/why-farah-a-short-history-of-the-local-insurgency-ii/.
470 John Calabrese, Iran’s War on Drugs: Holding the Line?, (Washington, D.C.: Middle East Institute, December 1, 2007),

https://www.mei.edu/publications/irans-war-drugs-holding-line.
471 Bill Roggio, “Taliban Leader, Police Link Iran to Attacks in Afghanistan,” Long War Journal, February 2, 2011; Giustozzi,

The Taliban at War, loc. 1830.



                                                            78
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 85 of 143



with Iran’s support to the Taliban, naturally raises questions about the Iranian government’s
complicity in the Taliban’s drug trafficking operations.

To be fair, the Iranian government has taken some measures to limit drug trafficking. It has sent law
enforcement officials to the border and constructed walls and barricades.472 It has also claimed to have
lost many soldiers and police battling drug cartels. However, these efforts are a political show in an
attempt to claim the moral high ground. It is clear that Iran’s drug enforcement operations are not
only selective but also that the Iranian government is actively involved in the drug trade, which it
claims to fight.

Two secondary sources provide a good overview of Iranian government involvement in the drug
trade. Gretchen Peters again provides a good summary:

        There is considerable evidence, according to Western officials and smugglers along the
        border, that corrupt Iranian intelligence agents protect traffickers, even moving drug
        shipments in their vehicles, which have special plates and do not get searched by Iran’s
        anti-drug police. Sources along the border also identified a handful of major traffickers,
        mainly ethnic Baluchis, who cooperate with Iranian secret agents to coordinate Taliban
        attacks on NATO troops.473

A report by Sami Kronenfeld and Yoel Guzansky of the Institute for National Security Studies, an
Israeli think tank, confirms much of Peters’ reporting. It concludes that:

        The Revolutionary Guards also seem to run their own autonomous apparatus for the
        production and distribution of heroin. Members of the organization bring tremendous
        quantities of raw opium from Afghanistan to Iran, which are processed into heroin
        and other opiates in local labs. These drugs are then transported westwards through
        the extensive smuggling network established by the Revolutionary Guards, which
        consists of large fleets of ships and planes, straw companies, and secret bank
        accounts.474

Peters, Kronenfeld, and Guzansky indicate that the Iranian government is not merely turning a blind
eye to smuggling in return for bribes. Instead, it actively facilitates the drug trade, allowing the Taliban
to reap the financial rewards of its opium production and processing. Crucially, U.S. sanctions
corroborate some of this reporting and analysis and provide additional details on Iran’s use of drug
traffickers to smuggle weapons to the Taliban.

The U.S. Department of the Treasury has helped detail the relationship between the Islamic
Revolutionary Guards Corps (IRGC), an elite branch of the Iranian military and arguably the most
powerful institution in Iranian society, and the drug trade. In 2012, the Treasury Department

472  Alireza Nader et al, Iran’s Influence in Afghanistan (Washington, D.C.: RAND Corporation, 2014), p. 19,
https://www.rand.org/content/dam/rand/pubs/research_reports/RR600/RR616/RAND_RR616.pdf.
473 Gretchen Peters, “The Taliban and the Opium Trade,” in Decoding the New Taliban, ed. Antonio Giustozzi (New York:

Columbia University Press, 2009), p. 17.
474 Sami Kronenfeld and Yoel Guzansky, “The Revolutionary Guards and the International Drug Trade,” Military and

Strategic Affairs 5:2 (September 2013), p. 111, https://www.inss.org.il/wp-content/uploads/systemfiles/MASA5-
2Eng6_KronenfeldGuzansky.pdf.



                                                         79
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 86 of 143



sanctioned the IRGC’s Gen. Gholamreza Baghbani, the head of the IRGC in the town of Zahedan,
for his role in using drug trafficking to aid the Taliban.475 Gen. Baghbani allowed narcotics traffickers
to move opium and heroin precursor chemicals through Iran in return for transporting weapons to
the Taliban.476 When the Treasury Department announced the sanctions, Undersecretary of the
Treasury for Terrorism and Financial Intelligence David Cohen stated, “Today’s action exposes
IRGC-[Quds Force] involvement in trafficking narcotics, made doubly reprehensible here because it
is done as part of a broader scheme to support terrorism.”477 Other U.S. officials have echoed the
Treasury Department’s assessment about Iran and the drug trade.

Dr. Barnett Rubin, a leading expert on Afghanistan at New York University who previously worked
for the U.S. State Department, reached a similar conclusion. He wrote:

         Iran’s relations with Taliban on the border seem to be mainly channeled through
         commanders belonging to [Mullah] Mansour’s Ishaqzai tribe, who are deeply involved
         in the drug trade. There are reports that elements of the Islamic Revolutionary Guard
         Corps are complicit in the trade, and perhaps one should not credit even the piety of
         the defenders of the Islamic Republic with the capacity to make that country the only
         one between Karachi and Moscow where the security forces have not been corrupted
         by contraband billions.478

Some local officials in Afghanistan agree with Rubin. For example, Dadullah Qani, a member of the
Farah provincial council, told a U.S. government-funded publication in Afghanistan that “Iranian drug
traffickers smuggle narcotics with the collusion of the Iranian government, including its intelligence
services.”479

While American and Afghan efforts to call out nefarious Iranian activities should come as no surprise,
Iranian officials are surprisingly open about the links between the Iranian government and drug
smuggling. Mahdi Karroubi, a former speaker of the Iranian parliament, accused the IRGC “of being
involved in illicit activities.”480 Mahmoud Ahmadinejad, a former Iranian president and one-time ally
of the IRGC, implied that Iran’s Revolutionary Guards have been involved in illegal smuggling
activities.481 And former Iranian officials also confirmed the Revolutionary Guards’ involvement in
the drug trade to a British newspaper.482 These sources, in total, point to clear Iranian government
involvement in smuggling operations and the drug trade in order to benefit the Taliban.

475 U.S. Department of Treasury, press release, “Treasury Designates Iranian Qods Force General Overseeing Afghan

Heroin      Trafficking    Through      Iran,”   March      7,    2012,   https://www.treasury.gov/press-center/press-
releases/Pages/tg1444.aspx.
476 Ibid.
477 Ibid.
478 Barnett Rubin, “A New Look at Iran’s Complicated Relationship with the Taliban,” War on the Rocks, September 16,

2020, https://warontherocks.com/2020/09/a-new-look-at-irans-complicated-relationship-with-the-taliban/.
479 Sulaiman, “Iran teams up with Taliban in narcotics ring in western Afghanistan,” Salaam Times (Afghanistan), April 11,

2018, https://afghanistan.asia-news.com/en_GB/articles/cnmi_st/features/2018/04/11/feature-01.
480 Alireza Nader et al, Iran’s Influence in Afghanistan (Washington, D.C.: RAND Corporation, 2014), p. 20,

https://www.rand.org/content/dam/rand/pubs/research_reports/RR600/RR616/RAND_RR616.pdf.
481 Alireza     Nader, “Ahmadinejad vs. the Revolutionary Guards,” RAND Corporation, July 11, 2011,
https://www.rand.org/blog/2011/07/ahmadinejad-vs_-the-revolutionary-guards.html.
482 “Iran’s elite Guard ‘runs global crime network pushing heroin to West’,” The Times (London), November 17, 2011,

https://www.thetimes.co.uk/article/irans-elite-guard-runs-global-crime-network-pushing-heroin-to-west-nd9bjv3xxrz.



                                                           80
        Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 87 of 143




While some of this involvement appears linked to corruption, the Treasury sanctions and Peters’
reporting indicate that Iran has also strategically used the drug trade to purposefully support the
Taliban. To summarize, this support has come in three forms. First, as the U.S. sanctions note, Iran
has facilitated the shipment of opium products in exchange for drug smugglers’ help in transporting
Iranian arms directly to the Taliban.483 This arrangement allows Iran to further its geopolitical goal of
countering “U.S. and Western influence in Afghanistan” and retain a degree of plausible deniability,
which is crucial for Iran to maintain cordial relations with the government in Kabul.484 Second, Iran
uses drug smugglers to help “coordinate Taliban attacks on NATO troops.”485 More specifically, a
handful of major drug traffickers (mainly ethnic Baluchis) have cooperated with Iranian secret agents.
Once again, this approach allows Iran to undermine the U.S. in Afghanistan while retaining plausible
deniability. Third, the Iranian government’s role in facilitating the drug trade makes it substantially
easier for the Taliban’s drugs to reach foreign markets, thus generating substantial profits for the
group. As previously mentioned, passing through Iran is the easiest route for Afghan drugs to reach
Europe, as drug smugglers only need to pass from Iran through Turkey to reach European markets.486
Other routes require drug smugglers to cross more borders. As a result, Iran can bolster the Taliban’s
finances, while once again retaining a degree of plausible deniability. This role in getting Taliban-linked
drugs to market is not the IRGC’s first foray into narcoterrorism. It is part of a broader pattern.

The IRGC’s elite Quds Force, a special operations unit designated by the U.S. as a foreign terrorist
organization, has some links to drug trafficking in the U.S. In an interview with the magazine Politico,
Dr. David Asher, a Department of Defense expert on illicit finance, said that a DEA investigation
during the Obama administration discovered “an entire Quds Force network” in the U.S. “laundering
money, moving drugs and illegally smuggling Bell helicopters, night-vision goggles and other items for
Iran.”487 According to a criminal complaint filed in the Southern District of New York, one Quds
Force agent (along with an Iranian-American co-conspirator) paid a DEA confidential source posing
as a drug trafficker to kill the Saudi Ambassador to the U.S.488 The Iranian-American co-conspirator
was sentenced to 25 years in prison for his role in the plot, while the Quds Force member, Gholam
Shakuri, remains at large.489 The links between the IRGC and drug trafficking do not stop there.




483 U.S. Department of Treasury, press release, “Treasury Designates Iranian Qods Force General Overseeing Afghan

Heroin      Trafficking    Through       Iran,”    March       7,   2012,     https://www.treasury.gov/press-center/press-
releases/Pages/tg1444.aspx.
484     U.S.     Defense      Intelligence      Agency,      Iran    Military     Power    (August    2019),     p.     63,
https://www.dia.mil/Portals/27/Documents/News/Military%20Power%20Publications/Iran_Military_Power_LR.pdf.
485 Gretchen Peters, “The Taliban and the Opium Trade,” in Decoding the New Taliban, ed. Antonio Giustozzi (New York:

Columbia University Press, 2009), p. 17.
486 John Calabrese, Iran’s War on Drugs: Holding the Line?, (Washington, D.C.: Middle East Institute, December 1, 2007),

https://www.mei.edu/publications/irans-war-drugs-holding-line.
487 Josh Meyer, “The secret backstory of how Obama let Hezbollah off the hook,” Politico, December 2017,

https://www.politico.com/interactives/2017/obama-hezbollah-drug-trafficking-investigation/.
488 Department of Justice Office of Public Affairs, press release, “Two Men Charged in Alleged Plot to Assassinate Saudi

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alleged-plot-assassinate-saudi-arabian-ambassador-united-states.
489 U.S. Department of Justice, press release, “Manssor Arbabsiar Sentenced in New York City Federal Court to 25 Years

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May 30, 2013.



                                                           81
         Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 88 of 143



Hezbollah, an Iranian proxy in Lebanon with close ties to the IRGC and another foreign terrorist
organization, has used the drug trade to finance its operations for decades.490 The DEA investigation
referenced by Dr. Asher found that Hezbollah had gotten “directly involved in the global cocaine
trade.”491 The investigation led European authorities to arrest some members of Hezbollah’s business
branch involved in drug trafficking in 2016.492 Iran’s role in drug trafficking to help the Taliban, links
to drug trafficking in the U.S., and close relationship with a narco-terrorist organization like Hezbollah
outline a clear record of involvement in the drug trade by Iran and its proxies to finance their terrorist
efforts.

Conclusion. As this section has shown, the Taliban relies on opium cultivation and processing for a
sizeable portion of its funding. Most Afghan-produced opium passes through Iran, often with the
help of the Iranian government. More broadly, the Iranian government has used the drug trade to
finance, arm, and coordinate attacks with the Taliban. As a result, the material support provided by
the Iranian government to the Taliban via the drug trade is reasonably connected to all aspects of
Taliban operations, including the attacks at issue in this case.

IX.       Conclusion

Thus, relying upon substantial evidence commonly used by experts in the relevant fields, it is my
expert opinion that:

      1. The Taliban is a cohesive organization, which includes the Haqqani Network. The Taliban’s
         central leadership sets the high-level objectives for Taliban fighters, leverages a set of tools to
         influence the behavior of Taliban fighters throughout Afghanistan, and generally avoids
         micromanaging operations around the country. While empowered to manage and execute
         operations in support of Taliban objectives, Taliban councils and commanders have pledged
         allegiance to the Taliban’s leadership and coordinate with other elements of the Taliban on
         myriad operational and organizational elements, including financing. As a result, the Taliban
         is a singular, coherent entity.

      2. The Taliban, including the Haqqani Network, has used IEDs, small arms attacks, RPGs, anti-
         aircraft weapon attacks, suicide bombings, complex attacks, and insider attacks to kill and
         wound American service members to accomplish its terrorist goals.

      3. In the provinces where the attacks described in the complaint occurred, and during the time
         periods in which they occurred, the Taliban likely or very likely maintained area of operations
         dominance and were the primary actor establishing a monopoly on the use of violence. It is,
         therefore, more likely than not that the Taliban carried out each attack listed in the complaint.

      4. During the period in question, Iran provided both direct and indirect support to the Taliban
         including through its involvement in drug trafficking and other forms of smuggling that Iran


490    U.S.  Defense      Intelligence   Agency,   Iran    Military    Power    (August     2019), p. 33-34,
https://www.dia.mil/Portals/27/Documents/News/Military%20Power%20Publications/Iran_Military_Power_LR.pdf.
491 Josh Meyer, “The secret backstory of how Obama let Hezbollah off the hook,” Politico, December 2017,

https://www.politico.com/interactives/2017/obama-hezbollah-drug-trafficking-investigation/.
492 Josh Meyer, “The secret backstory of how Obama let Hezbollah off the hook,” Politico, December 2017,

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                                                     82
Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 89 of 143



enabled. In particular, Iran has allowed drugs from Taliban-held areas to pass through Iran,
used drug traffickers to transport arms to the Taliban, and worked with drug smugglers to
coordinate Taliban attacks on NATO troops.




                                        83
       Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 90 of 143




        My opinions in this report are based on the information available to me as of the date of
this report and my analysis to date. I reserve the right to revise and expand my opinions based
on additional information.

Dated: October 4, 2021



                                                      Dr. Colin Clarke
Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 91 of 143




            Appendix A
      Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 92 of 143




                                                                             October 2021

                                       Curriculum Vitae

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Areas of Interest
Transnational terrorism, international organized crime, counter-narcotics, intelligence, threat
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Education
Ph.D., Foreign Policy & International Security Policy, University of Pittsburgh, 2012
M.S., Global Affairs, concentration in International Relations, New York University, 2007
B.A., Communication, Loyola University Maryland, 2002
National University of Ireland, Galway (NUIG), semester abroad, Fall 2001

Employment
Director of Policy and Research, The Soufan Group, 2021-present
Assistant Teaching Professor, Carnegie Mellon University, 2018-2021
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Lecturer, Carnegie Mellon University, Institute for Politics and Strategy, 2015-2018
Associate Political Scientist, RAND, Pittsburgh, PA 2013-2016
Project Associate III, RAND, Pittsburgh, PA, 2010-2013
Adjunct Professor, Carnegie Mellon University, Social & Decision Sciences, 2014-2015
Adjunct Professor, Duquesne University, Spring 2015
Adjunct Professor, University of Pittsburgh, Pittsburgh, PA, 2011-2016
Adjunct Researcher RAND, Pittsburgh, PA, 2009-2010
Summer Research Associate, RAND, Pittsburgh, PA, 2008 & 2009
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Management Dept. Coordinator, NYU Stern School of Business, New York, NY, 2004-2007
Media Analyst II, Time Warner Inc., New York, NY, 2002-2004



COLIN P. CLARKE, Ph.D., Curriculum Vitae                                                    Page 1
      Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 93 of 143




Concurrent/Affiliate Positions
Editorial Board Member, Terrorism and Political Violence, 2020-present
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Editorial Board Member, Studies in Conflict and Terrorism, 2019-present
Associate Fellow, Global Network on Extremism & Technology (GNET), 2019-present
Advisory Board Member, International Counter-Terrorism Review (ICTR), 2019-present
RESOLVE Network, Research Advisory Council, 2019-present
Visiting Editor, Homeland Security Today, 2019-present
Senior Research Fellow, The Soufan Center, 2018-present
Fellow, Program on Extremism, George Washington University, 2018
Senior Fellow, Foreign Policy Research Institute, Program on National Security, 2017-present
Associate Fellow, International Center for Counter-Terrorism—The Hague, 2016-present
Global Initiative Against Transnational Organized Crime, Network of Experts, 2017-present
Associate, Pardee RAND Graduate School (PRGS), 2017-2018
Associate, Initiative for the Study of Emerging Threat, NYU Global Affairs Center, 2015-present

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COLIN P. CLARKE, Ph.D., Curriculum Vitae                                                     Page 21
      Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 113 of 143




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“Islamic State Financing,” presented to the Joint Improvised Threat Defeat Organization (JIDO),
Reston, VA, 6/17
Welcome and Introductory Remarks, RAND Conference on “The Evolving Terrorism Threat:
Implications for Global Security,” Arlington, VA 6/17,
https://www.rand.org/pubs/conf_proceedings/CF370.conference-welcome.html
Remarks delivered to Global Counter Terrorism Forum (GCTF) conference on protecting soft
targets from terrorist attack, Brussels, Belgium, 6/17
“Strategic Adaptation of Al Qaeda,” presented at CENTRA Technologies workshop on
“Anticipating Adaptation and Innovation in Terrorist External Attack Planning,” 5/17
“The Russian Firehose of Falsehood” presented to Center for Middle East Public Policy
(CMEPP) Advisory Board, 5/17
“The Russian Firehose of Falsehood” presented to FFRDC/UARC Roundtable, Strategic
Command (STRATCOM), Omaha, NE, 3/17
“An Examination of Salafi-Jihadists in the Caucasus,” presented to the Joint Improvised Threat
Defeat Organization (JIDO), Reston, VA, 3/17
“Funding Terrorism Through Criminal Means” Presentation to the Course on Dynamics of
International Terrorism, Hurlburt Field, 3/17


COLIN P. CLARKE, Ph.D., Curriculum Vitae                                                    Page 22
     Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 114 of 143




“Countering Political Violence, Terrorism and Insurgency,” a presentation to the Pittsburgh
World Affairs Council, Pittsburgh, PA, 2/17
“The Russian Firehose of Falsehood” presented to information operations workshop in
Wiesbaden, Germany at U.S. Army Europe, 11/16
“Diasporas as Critical Non-State Actors: From Terrorism to Peacemaking,” presented at the 10th
Annual Society of Terrorism Research (STR) International Conference, The Hague, The
Netherlands, 11/16
“Lessons Learned and Best Practices from Demobilization, Disarmament and Reintegration
(DDR)” weeklong series of lectures at the Naval Postgraduate School (NPS) in Monterey, CA,
9/16
“Terrorism, Inc.: The Financing of Terrorism, Insurgency and Irregular Warfare,” Presented to
the Contemporary Insurgent Warfare Course via VTC, USAF Special Operations School,
Hurlburt Field, FL, 8/16.
“Paths to Victory: Lessons from Modern Insurgencies,” Presented to the Contemporary Insurgent
Warfare Course via VTC, USAF Special Operations School, Hurlburt Field, FL, 8/16.
“Making Sense of the Madness: Future Challenges in the Middle East,” presented to a group of
450 military officers (mostly LTCs and Colonels) at the US Army War College, Carlisle
Barracks, PA, 7/16.
“How Do Terrorist Groups Fund Their Organizations and Operations?” Presentation to the
Course on Dynamics of International Terrorism, Hurlburt Field, 7/16.
“Countering the Financing of Terrorism: A Global Perspective,” Presentation to the George C.
Marshall European Center for Security Studies , Garmisch, Germany, 3/16.
“How Terrorists Raise and Spend Funds,” Presentation to the Carnegie Mellon University
Software Engineering Institute (SEI), 3/16.
“Paths to Victory: Lessons from Modern Insurgencies,” Presented to the Contemporary Insurgent
Warfare Course via VTC, USAF Special Operations School, Hurlburt Field, FL, 2/16.
“The Future of Terrorism Financing,” National Security Colloquium on Next Generation
Terrorism at the University of Texas El Paso (UTEP), 2/16.
“ISIS, Russia and What Comes Next in Syria,” annual John T. Ryan Lecture at the Pittsburgh
World Affairs Council, 11/15.
“Cutting Funding Flows from Resource Exploitation: Analogies for Responding to ISIL
Resource Exploitation,” presentation to the United States Government, conference hosted by
Booz Allen Hamilton, McClean, VA, 11/15.
“Terrorism, Inc.: The Financing of Terrorism, Insurgency and Irregular Warfare,” presentation
on book project at Carnegie Mellon University, 11/15.


COLIN P. CLARKE, Ph.D., Curriculum Vitae                                                 Page 23
      Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 115 of 143




“Assessing Efforts to Inform, Influence and Persuade,” JIOWC Industry Day, San Antonio, TX,
9/15.
“Megacities, Urbanization & Instability,” presented at “Containing Threat Convergence,
Exploiting Threat Divergence: U.S. Strategy in Dealing with Emerging Threats,” University of
Pittsburgh, Pittsburgh, PA, 9/15.
“Terrorism, Inc.: The Financing of Terrorism, Insurgency & Irregular Warfare,” Presented at
New York University’s Center for Global Affairs “Bad Company” series on transnational
organized crime in New York City, NY, 9/15.
“14 Years After 9/11: The Past, Present and Future of Transnational Terrorism” presented to
Legg Mason, San Francisco, CA, 9/15.
“Paths to Victory: Lessons from Modern Insurgencies,” Presented to the Contemporary Insurgent
Warfare Course via VTC, USAF Special Operations School, Hurlburt Field, FL, 8/15.
“The Islamic State in Iraq and Syria: Building a Caliphate in the Levant,” presented to a group of
450 military officers (mostly LTCs and Colonels) at the US Army War College, Carlisle
Barracks, PA, 7/15
“Anatomy of a Terrorist Attack in the U.S.: A Case Study of the Boston Marathon Bombers”
presented at a conference on “Countering Violent Extremism in the United States and the
European Union,” University of Pittsburgh European Studies Center and European Union Center
of Excellence (EUCE/ESC) at the University Center for International Studies (UCIS), 4/15
“Addressing Corruption: CGA Alumni Response from The Field” talk on nexus of corruption,
transnational crime and terrorism at New York University Center for Global Affairs, 4/15
The Illicit Trade in Illegal Narcotics, presented to the Organization for Economic Cooperation
and Development (OECD), 3/15
The Islamic State: What We Know, What We Think We Know, What We Don’t Know,
University of Pittsburgh, Intelligence Seminar, 3/15
Keynote speech on global threat environment delivered to Carnegie Mellon University Model
United Nations, 3/15
“Financing Terrorism: The Islamic State in Iraq and Syria (ISIS)” presented to Suspicious
Activity Report (SAR) team at the Banks of New York (BNY) Mellon, 1/15
“From Stalemate to Settlement: The Master Narrative of Negotiated Settlements and
Implications for the Afghan Political Process,” presented with Seth G. Jones and James Dobbins
to the President’s Special Assistant for Afghanistan and Pakistan, National Security Council
(NSC), 1/15
“How Democracies Counter Insurgencies and Asymmetric Warfare,” presentation at workshop
co-hosted by RAND and the Israel Democracy Institute titled “The Challenged for Democracies
Facing Asymmetric Conflicts,” Washington D.C., December 2014


COLIN P. CLARKE, Ph.D., Curriculum Vitae                                                  Page 24
     Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 116 of 143




“What is the Islamic State of Iraq and Syria (ISIS)? A Comprehensive Analysis of ISIS’s
Origins, Fundraising and Tactics,” community presentation to The Library Place at Pittsburgh
Mills, November 2014
“The Islamic State of Iraq and Syria (ISIS): An Overview and Assessment of Its Evolution,”
presented at the University of Pittsburgh, November 2014.
“ISIS: Its Rise, Current Dynamics and the Nature of the Threat,” presented to RAND
Corporation donors and potential donors at The Mansions on Fifth, Pittsburgh, PA, October 2014
“Lessons from Insurgency and Insurgency End Games,” Presented to the Contemporary
Insurgent Warfare Course via VTC, USAF Special Operations School, Hurlburt Field, FL, 10/14
“Insurgency Endgames and Prospects for Afghanistan Post Retrograde,” RAND Corporation
Pittsburgh Office National Security Seminar Series, 4/14.
“Paths to Victory: Lessons from Modern Insurgencies,” Presented to the Contemporary Insurgent
Warfare Course via VTC, USAF Special Operations School, Hurlburt Field, FL, 6/14.
“From Stalemate to Settlement: Lessons for Afghanistan from Historical Insurgencies Ending in
a Negotiated Settlement,” presented with Christopher Paul to the President’s Special Assistant
for Afghanistan and Pakistan, National Security Council (NSC), 4/14
“How Insurgencies End,” Intelligence and Security Challenges: Retrospect and Prospect,
University of Pittsburgh, 3/14, http://www.youtube.com/watch?v=gdUUxiRUg-o
“US Counterterrorism Strategy Against Non-State Actors,” The National Security Briefing for
Teachers, Heinz History Center and World Affairs Council Pittsburgh, 1/14.
“Paths to Victory: Lessons from Modern Insurgencies,” Presented to the Contemporary Insurgent
Warfare Course via VTC, USAF Special Operations School, Hurlburt Field, FL, 10/13.
“Paths to Victory: Lessons from Modern Insurgencies,” Presented at the Contemporary Insurgent
Warfare Course, USAF Special Operations School, Hurlburt Field, FL, 8/13.
“Insurgency Endgames and Negotiated Settlements: Implications for Afghanistan,” Office of the
Secretary of Defense (OSD) Policy, 7/13.
“Throwing in the Towel: Why Insurgents Negotiate.” Presented at RAND Corporation,
Pittsburgh Office National Security Brown Bag Series,” 12/12.
“US Security in South Asia and Implications for Afghanistan, Pakistan, and India.” Presented at
the course, “Muslims in a Global Context,” co-sponsored by the University of Pittsburgh Global
Studies Center and Carnegie Mellon University’s Office of the Provost and Division of Student
Affairs, 11/12.
“What Works and What Doesn’t? Sources of Success and Failure in Counterinsurgency Since
World War II.” Presented at the Contemporary Insurgent Warfare Course, USAF Special
Operations School, Cannon Air Force Base, in Clovis, NM, 11/12.


COLIN P. CLARKE, Ph.D., Curriculum Vitae                                                 Page 25
      Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 117 of 143




“Ending Insurgency Through Negotiated Settlements: Implications for Afghanistan.” Presented
at the Board of Directors meeting at the University of Pittsburgh’s Graduate School of Public
and International Affairs in Pittsburgh, PA, 4/12.
“A Deadly Nexus: Crime, Corruption, and Conflict in Afghanistan.” Presented at New York
University’s Center for Global Affairs “Bad Company” series on transnational organized crime
in New York City, NY, 3/12.
“Victory Has a Thousand Fathers: Sources of Success in Counterinsurgency.” Presented at the
Contemporary Insurgent Warfare Course, USAF Special Operations School, Cannon Air Force
Base, in Clovis, NM, 10/11.
“September 11: Threats, Opportunities, and Challenges Ten Years Later.” Presented at the
University of Pittsburgh in Pittsburgh, PA, 9/11.
“A World Without Osama bin Laden: Reflections on the Future of Al Qaeda and Implications for
US Foreign Policy.” Presented at the World Affairs Council of Pittsburgh in Pittsburgh, PA,
5/11.
“‘On the Take’: How Corruption is Undermining Counterinsurgency in Afghanistan.” Presented
at the University of Pittsburgh’s Graduate School of Public & International Affairs in Pittsburgh,
PA, 4/11.
“The Future of Violent Armed Groups.” Presented at conference on “Violent Armed Groups: A
Global Challenge,” co-sponsored by Ridgway Center and U.S. Army War College at the
University of Pittsburgh in Pittsburgh, PA, 9/10.
“Threat Financing: How Financial Resources Contribute to Insurgent Longevity.” Presented at
the Defense Intelligence Agency (DIA) in Crystal City, VA, 4/10.
“Victory Has a Thousand Fathers: Sources of Success in Counterinsurgency.” Presented
with Dr. Christopher Paul, as part of RAND/Ridgway “brown bag” series at the University of
Pittsburgh, in Pittsburgh, PA, 3/10.
“Insurgency: From Violence to Politics.” Presented at the International Security Student
Workshop at the University of Pittsburgh, GSPIA, in Pittsburgh, PA, 1/10.
“Homegrown Terrorism: The Najibullah Zazi Plot.” Presented at the International Security
Student Workshop at the University of Pittsburgh, GSPIA, in Pittsburgh, PA, 1/10.
“Strategic Communication in Counterinsurgency: Preliminary Results from 30 Cases.” Presented
at the RAND Corporation in Pittsburgh, PA, 8/09.
“Evolution of British Intelligence & Counterinsurgency Policy: Northern Ireland, 1969-1998.”
Presented at the International Intelligence Ethics Association (IIEA), Johns Hopkins University,
in Baltimore, MD, 2/09.
“The Impact of Strategic Communication on Counterinsurgency Operations.” Presented at the
RAND Corporation in Pittsburgh, PA, 7/08.


COLIN P. CLARKE, Ph.D., Curriculum Vitae                                                   Page 26
     Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 118 of 143




“Do Repressive Measures Reduce Terrorist Violence? A Multivariate Analysis.” Presented to the
Matthew B. Ridgway Center in Pittsburgh, PA, 4/08.
“The Assassination of Benazir Bhutto and Implications for U.S. Foreign Policy in Pakistan.”
Presented to the Matthew B. Ridgway Center for International Security Studies (March 2008)
Consultancies/Peer-Review
Advisory Board Member, Praeger Security International and ABC-CLIO for books on terrorism
Selected as a reviewer for: Oxford University Press; Routledge Military, Strategic and Security
Studies; Terrorism and Political Violence; International Journal of Conflict and Violence;
Behavioral Sciences of Terrorism and Political Aggression; Journal of Strategic Security;
European Journal of Criminology; The Middle East Journal; International Security
United States Agency for International Development (USAID) on “Organized Crime, Violent
Conflict & Fragility” 2014-2015
Organization for Economic Cooperation and Development (OECD) Task Force on Charting
Illicit Trade (TF-CIT) 2015-


Honors and Awards
Military Operations Research Journal Award for Article of the Year (2013) for “Qualitative
       Comparative Analysis of 30 Insurgencies, 1978-2008,” with Christopher Paul and Beth
       Grill, Military Operations Research, Volume 17, Number 2, 2012, pp.19-40.

University Press Books Selection (2012) The Challenge of Violent Drug Trafficking
       Organizations selected by the 22nd edition of the University Press Books Selected for
       Public and Secondary School Libraries which is distributed to 13,000 libraries across the
       country
University Press Books Selection (2011) Victory Has a Thousand Fathers selected by the 21st
       edition of the University Press Books Selected for Public and Secondary School Libraries
       which is distributed to 13,000 libraries across the country
Military Operations Research Society (MORS) Richard H. Barchi Prize Runner Up
       Victory Has a Thousand Fathers: Sources of Success in Counterinsurgency awarded
       runner up prize for best paper presented at the 2011 MORS Symposium
University of Pittsburgh Dean’s High Merit Fellowship for Academic Excellence and
       Achievement, 2009-2010; 2010-2011
Matthew B. Ridgway Center for International Security Studies Associate/Affiliated Scholar
      Appointed as Ridgway Center Associate Scholar for 2009-2010 (reappointed for 2010-
      2011 and 2011-2012) and affiliated scholar (2013-present)
High Pass on Foreign and Security Policy Comprehensive Examination (Honors Distinction)
      (January 2009)


COLIN P. CLARKE, Ph.D., Curriculum Vitae                                                 Page 27
     Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 119 of 143




University of Pittsburgh Full Tuition Scholarship for Doctoral Studies, 2007-2009
Professional Memberships/Affiliations
Member, International Studies Association (ISA)
Associate, Initiative on the Study of Emerging Threats (ISET), New York University
Affiliated Scholar, Ridgway Center
American Institute of Afghanistan Studies (AIAS)
American Middle East Institute
World Affairs Council Pittsburgh
Member of the Decision Science and Politics Seminar
Google Scholar Citation Indices (908 citations as of July 2020)
https://scholar.google.com/citations?user=NXdrq0EAAAAJ&hl=en




COLIN P. CLARKE, Ph.D., Curriculum Vitae                                             Page 28
      Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 120 of 143



                            Appendix B – List of Materials Considered


Books:

Abdullah Anas and Tam Hussein, To the Mountains: My Life in Jihad from Algeria to Afghanistan (London,
United Kingdom: Hurst Publishers, 2019)

Sippi Azarbaijani-Moghaddam, “Norther Exposure for the Taliban,” in Decoding the New Taliban, ed.
Antonio Giustozzi, (New York, NY: Columbia University Press, 2009)

Thomas Barfield, Afghanistan: A Cultural and Political History (Princeton, NJ: Princeton University Press,
2010)

Peter Bergen, Holy War, Inc.: Inside the Secret World of Osama bin Laden (New York, NY: The Free Press,
2001)

Peter Bergen, The Longest War: The Enduring Conflict Between America and Al-Qaeda (New York:, NY Free
Press, 2011) Kindle edition

Vahid Brown and Don Rassler, Fountainhead of Jihad: The Haqqani Nexus, 1973-2012 (New York, NY:
Oxford University Press, 2013)

Sarah Chayes, The Punishment of Virtue: Inside Afghanistan After the Taliban (London, United Kingdom,
Penguin Books, 2007)

Steve Coll, Directorate S: The CIA and America’s Secret Wars in Afghanistan and Pakistan (United States of
America, Penguin Press, 2018)

Amb. James F. Dobbins, After the Taliban: Nation-Building in Afghanistan (Sterling, VA: Potomac Books,
2008)

Mohammed Elias, “The Resurgence of the Taliban in Kabul: Logar and Wardak,” in Decoding the New
Taliban, ed. Antonio Giustozzi, (New York, NY: Columbia University Press, 2009)

C. Christine Fair, Keith Crane, Christopher S. Chivvis, Samir Puri, and Michael Spirtas, Pakistan: Can
the United States Secure an Insecure State (Santa Monica, CA: RAND Corporation, 2010)

Gregory Feifer, The Great Gamble: The Soviet War in Afghanistan (New York, NY: Harper Perennial,
2009)

Antonio Giustozzi, “The Taliban’s Marches: Herat, Farah, Baghdis and Ghor,” in Decoding the New
Taliban, ed. Antonio Giustozzi, (New York, NY: Columbia University Press, 2009)

Antonio Giustozzi (Eds), Decoding the New Taliban: Insights from the Afghan Field (New York, NY: Oxford
University Press, 2012)




                                                   B-1
      Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 121 of 143



Antonio Giustozzi, The Taliban at War: 2001-2018 Kindle ed. (New York, NY: Oxford University
Press, 2019)

Larry P. Goodson, Afghanistan’s Endless War: State Failure, Regional Politics, and the Rise of the Taliban
(United States of America: University of Washington Press, 2001)

Thomas Hegghammer, The Caravan: Abdallah Azzam and the Rise of the Global Jihad (Cambridge, United
Kingdom: Cambridge University Press, 2020)

Thomas Johnson, Taliban Narratives: The Use and Power of Stories in the Afghanistan Conflict (New York,
NY: Oxford University Press, 2018)

Seth G. Jones, In the Graveyard of Empires: America’s War in Afghanistan (New York, NY: W. W. Norton,
2010)

David Kilcullen, “Taliban and Counter-Insurgency in Kunar,” in Decoding the New Taliban, ed. Antonio
Giustozzi, (New York, NY: Columbia University Press, 2009)

David Loyn, In Afghanistan: Two Hundred Years of British, Russian, and American Occupation (New York,
NY: St. Martin’s Press, 2009)

Peter Marsden, The Taliban: War, Religion and the New Order in Afghanistan (London, United Kingdom:
Zed Books, 1998)

Joanna Nathan, “Reading the Taliban,” in Decoding the New Taliban, ed. Antonio Giustozzi, (New York,
NY: Columbia University Press, 2009)

Neamatollah Nojumi, The Rise of Taliban: Mass Mobilization, Civil War, and the Future of the Region (London,
United Kingdom: Palgrave Macmillian, 2002)

Gretchen Peters, “The Taliban and the Opium Trade,” in Decoding the New Taliban, ed. Antonio
Giustozzi, (New York, NY: Columbia University Press, 2009)

Gretchen Peters, Seeds of Terror: How Drugs, Thugs, and Crime Are Reshaping the Afghan War (London,
United Kingdom: One World, 2010)

Ahmed Rashid, Taliban: Militant Islam, Oil and Fundamentalism in Central Asia (New Haven, CT: Yale
University Press, 2000)

Ahmed Rashid, Descent into Chaos: The U.S. and the Disaster in Pakistan, Afghanistan, and Central Asia
(London, United Kingdom: Penguin Books, 2009)

Bruce Riedel, The Search for al Qaeda: Its Leadership, Ideology, and Future (Washington, DC: Brookings
Institution Press, 2008)

Thomas Ruttig, “Loya Paktia’s Insurgency, Part I,” in Decoding the New Taliban, ed. Antonio Giustozzi,
(New York, NY: Columbia University Press, 2009)



                                                   B-2
      Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 122 of 143



Chad Serena, It Takes More than a Network: The Iraqi Insurgency and Organizational Adaptation (Palo Alto,
CA: Stanford Security Studies, 2014)

Alex Strick van Linschoten and Felix Kuehn, An Enemy We Created: The Myth of the Taliban/Al-Qaeda
Merger in Afghanistan, 1970-2010 (London, United Kingdom: Hurst Publishers, 2012)

Alex Strick van Linschoten and Felix Kuehn (Eds.), The Taliban Reader: War, Islam and Politics in their
Own Words (New York, NY: Oxford University Press, 2018)

Stephen Tanner, Afghanistan: A Military History from Alexander the Great to the War Against the Taliban
(Philadelphia, PA: Da Capo Press, Inc., 2009)

Martine van Biljert, “Unruly Commanders and Violent Power Struggles: Taliban Networks in
Uruzgan,” in Decoding the New Taliban, ed. Antonio Giustozzi, (New York, NY: Columbia University
Press, 2009)

Bing West, The Wrong War: Grit, Strategy, and the Way out of Afghanistan (New York, NY: Random House
Trade Paperbacks, 2012)

Abdul Awwal Zabulwal, “Taliban in Zabul: A Witness Account,” in Decoding the New Taliban, ed.
Antonio Giustozzi, (New York NY: Columbia University Press, 2009)

Government Documents:

United Nations Security Council, “ABDUL QADEER BASIR ABDUL BASEER,” First listed on
January                                       25,                                       2001,
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qadeer-basir-abdul-baseer

U.S. Department of State, “U.S. Engagement with the Taliban on Usama bin Laden,” June 2001,
https://nsarchive2.gwu.edu/NSAEBB/NSAEBB343/osama_bin_laden_file11.pdf

The          9/11             Commission       Report               (July           22,           2004),
https://govinfo.library.unt.edu/911/report/911Report.pdf

USCENTCOM,           Unclassified  Executive              Summary           (June         18,     2009),
https://www.hsdl.org/?view&did=35748

U.S. Army Aviation Center of Excellence and Fort Rucker, “Wanat, Battle of (13 July 2008),” May 26,
2020, https://rucker.army.libguides.com/c.php?g=861328

“One ISAF Soldier Killed, One Wounded in Southern Afghanistan,” International Security Assistance
Force, August 27, 2007, https://www.nato.int/isaf/docu/pressreleases/2007/08-august/pr070827-
615.html

U.S. Department of the Treasury, press release, “Treasury Targets Al Qaida Operatives in Iran,”
January 16, 2009, https://www.treasury.gov/press-center/press-releases/pages/hp1360.aspx



                                                  B-3
       Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 123 of 143



Peter Bergen, “Al Qaeda, the Taliban, and other Extremist Groups in Afghanistan and Pakistan,”
Testimony before the U.S. Senate Committee on Foreign Relations, May 24, 2011,
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Terrorism, July 31, 2012, https://2009-2017.state.gov/j/ct/rls/crt/2011/195547.htm

International Security Assistance Force Joint Command, press release, “Forces kill insurgents in
Afghanistan                 airstrike,”            March                29,               2011,
https://www.army.mil/article/53963/forces_kill_insurgents_in_afghanistan_airstrike

National Counterterrorism Center, 2010 Report on Terrorism (April                                          30,     2011),
https://www.dni.gov/files/documentsJuly 1/2010_report_on_terrorism.pdf

United Nations Office of Drugs and Crime, The Global Afghan Opium Trade: A Threat Assessment (July
2011),
https://www.unodc.org/documents/islamicrepublicofiran/Afghan_Opiate_Threat_Assessment.pdf

Counter Insurgency Targeting Program – Afghanistan, Iranian Influence in Uruzgan (Mar. 8, 2011)
(attached hereto as Ex. G)

U.S. Department of Treasury, press release, “Treasury Designates Iranian Qods Force General
Overseeing    Afghan     Heroin      Trafficking    Through     Iran,”  March    7,   2012,
https://www.treasury.gov/press-center/press-releases/Pages/tg1444.aspx

United Nations Analytical Support and Sanctions Monitoring Team, First report of the Analytical Support
and Sanctions Implementation Monitoring Team submitted pursuant to resolution 1988 (2011) concerning the Taliban
and associated individuals and entities (2012), https://digitallibrary.un.org/record/733640?ln=en

United Nations Office on Drugs and Crime, Afghan Opiate Trafficking Through the Southern Route (June
2015), https://tile.loc.gov/storage-services/service/gdc/gdcovop/2017332109/2017332109.pdf

U.S. Department of Justice, press release, “Manssor Arbabsiar Sentenced in New York City Federal
Court to 25 Years in Prison for Conspiring with Iranian Military Officials to Assassinate the Saudi
Arabian Ambassador to the United States,” May 30, 2013, https://www.justice.gov/opa/pr/manssor-
arbabsiar-sentenced-new-york-city-federal-court-25-years-prison-conspiring-iranian

United Nations Analytical Support and Sanctions Monitoring Team, Fourth report of the Analytical
Support and Sanctions Monitoring Team submitted pursuant to resolution 2082 (2012) concerning the Taliban and
other associated individuals and entities constituting a threat to the peace, stability and security of Afghanistan (2014),
https://digitallibrary.un.org/record/772632?ln=en

United Nations Analytical Support and Sanctions Monitoring Team, Fifth Report of the Analytical Support
and Sanctions Monitoring Team, Submitted Pursuant to Resolution 2160 (2014) Concerning the Taliban and Other
Associated Individuals and Entities Constituting a Threat to the Peace, Stability and Security of Afghanistan (2014),
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                                                           B-4
      Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 124 of 143



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in                Armed                  Conflict                 (February                      2016),
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U.S. Department of the Treasury, press release, “Treasury Sanctions Taliban and Haqqani Network
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releases/sm0265

U.S. Department of the Treasury, press release, “Treasury and the Terrorist Financing Targeting
Center Partners Sanction Taliban Facilitators and their Iranian Supporters,” October 23, 2018,
https://home.treasury.gov/news/press-releases/sm532

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and Other Associated Individuals and Entities Constituting a Threat to the Peace, Stability and Security of
Afghanistan (2019), https://www.securitycouncilreport.org/atf/cf/%7B65BFCF9B-6D27-4E9C-
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https://unama.unmissions.org/sites/default/files/unama_annual_protection_of_civilians_report_2
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U.S. Department of State, “Rewards for Justice: Sirajuddin Haqqani,” accessed on July 11, 2019,
https://rewardsforjustice.net/english/sirajuddin_haqqani.html

United States Army, ADP 6-0: Mission Command: Command and Control of Army Forces (July 2019),
https://armypubs.army.mil/epubs/DR_pubs/DR_a/ARN18314-ADP_6-0-000-WEB-3.pdf

U.S.    Defense     Intelligence  Agency,   Iran    Military Power   (August      2019),
https://www.dia.mil/Portals/27/Documents/News/Military%20Power%20Publications/Iran_Mili
tary_Power_LR.pdf

Department of Defense, Enhancing Security and Stability in Afghanistan (December 2019),
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      Case 1:19-cv-03835-JDB Document 59-2 Filed 10/04/21 Page 125 of 143



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